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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION



   CLASSIC SOFT TRIM, INC. and
   ROADWIRE, LLC,

   Plaintiffs,

   v.                                                   Case No. 6:18-cv-01237-WWB-GJK

   ROSS ALBERT, KATZKIN LEATHER,
   INC., a Delaware corporation,

   Defendants.
   ______________________________/


             PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST DEFENDANT
                      ROSS ALBERT AND COURTNEY WILSON

          Plaintiffs, Classic Soft Trim, Inc. (“CST”) and Roadwire, LLC (“Roadwire”) (collectively,

   “Plaintiffs”), pursuant to Local Rule 3.01 (M.D. Fla.) and Fed. R. Civ. P. 37(b)(2)(i)(ii) (iii) and

   (vi) move for sanctions against Defendant Ross Albert (“Albert”) for willful violation of the

   Court’s orders contained in Dkts. 350 and 366. Under section 37(b)(2)(iii) Plaintiffs seek an order

   striking Albert’s answer, Dkt. 361, and directing that Plaintiffs may proceed by default. Rule

   37(b)(2)(vi). Alternatively, under section 37(b)(2)(ii) Plaintiffs seek an order prohibiting Albert

   from opposing the claims in the Second Amended Complaint (Dkt. 109) Claim One, Breach of

   Fiduciary Duty/Breach of Loyalty, and specifically prohibiting Albert from denying the allegations

   in paragraphs 67-83, and an order prohibiting Albert from opposing the claims in the second

   Amended Complaint (Dkt. 109) Claim Six, for violation of the Computer Fraud and Abuse Act

   and specifically prohibiting Albert from denying the allegations in paragraphs 244-261.
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   Alternatively, Plaintiffs seek an Order under section 37(b)(2)(i) directing that specific designated

   facts, identified herein, be established for this action as to Plaintiffs’ claims. Plaintiffs additionally

   seek monetary sanctions under Rule 37(b)(2)(C) against defendant Albert jointly with his attorney

   Courtney Wilson, who has advised Defendant to disobey the Court’s orders in Dkts. 350 and 366.

   Plaintiffs request that after a ruling, the Court allow a reasonable time for the Plaintiffs to file a

   supplemental declaration of the amount of expenses and attorneys’ fees caused by the failure of

   Albert to comply with the subject orders.

           I.      INTRODUCTION

           Two critical orders were violated in bad faith by Albert, the first compelling Albert to

   search for specific ESI (Dkt. 350) and a second order compelling Albert to produce access to all

   of his ESI so that Plaintiffs could independently search for responsive records. Plaintiffs’ Second

   Amended Complaint contains two claims against Albert, Claim One for breach of fiduciary duty

   and loyalty to Plaintiffs, and Claim Six for Albert’s violation of the Computer Fraud and Abuse

   Act. (18 U.S.C. 1030). Plaintiffs seek Rule 37 sanctions for these violations.

           a.      Summary of Complaint Claims. Claim One is based on breaches of duty

   committed by Albert who was the general manager of Plaintiffs’ most profitable leather installation

   branch in Orlando for Sixteen (16) years. Albert was a trusted, highly compensated fiduciary. This

   trust was shattered by Albert starting no later than nine months prior to his termination on March

   18, 2016. During those nine months, Albert engaged with Defendant Katzkin Leather, Inc.

   (“Katzkin”) and former Defendant Classic Design Automotive (“CDA”) to divert all of Plaintiffs’

   car dealerships from buying Roadwire leather, to buying Katzkin leather. Albert spent months

   negotiating with Katzkin for a One Million dollar ($1,000,000) two year compensation package in

   exchange for delivering all of Plaintiffs’ Orlando customers and branch employees to CDA and in


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   exchange for Albert conspiring with CST’s Vice President Greg Vogel, who managed Plaintiffs’

   Cincinnati Ohio Branch, for Vogel to resign and destroy the Cincinnati branch profits. At stake

   was millions of dollars of annual revenue Katzkin schemed to receive from CST’s losses. On

   February 12, 2016 Katzkin and Albert executed Albert’s employment agreement, the next week

   Vice President Vogel resigned, and based on Albert’s conduct, by April 1, 2016 both the CST

   Orlando branch and Cincinnati branch lost over 90% of their customers.

          b.      History of Proceedings. On August 22, 2017 in Florida state court, CST sued

   Albert and former employee Daniel Valencia, along with competing Orlando restyler Classic

   Design Automotive (CDA) alleging Albert, Valencia and CDA principals John Held and John

   Donellan had conspired to divert all Orlando customers to CDA. In June 2018 Valencia confessed

   and signed a declaration that revealed Katzkin had orchestrated the entire scheme and had actively

   participated with Albert in soliciting CST customers and employees, and had orchestrated CDA

   expanding its operations to become the primary recipient of all of CST’s customers with an

   arrangement CDA would only install Katzkin leather. On July 31, 2018 the state action was

   removed by Albert to this court, and on December 27, 2018, Plaintiff Roadwire, LLC was added,

   and Plaintiffs added Defendant Katzkin and its owner ClearLight Partners, alleging they had

   induced Albert to breach his duties of loyalty and his fiduciary duties, and they intentionally

   interfered with CST employment and customer contracts with unfair and illegal business practices.

   On August 13, 2020, Dkt. 347 dismissed CLP and several claims against Katzkin.

          c.      History of Discovery and Orders. Plaintiffs served Albert with three Rule 34

   document demands seeking the substantial ESI Albert had between him and numerous Katzkin,

   CDA and former CST employees, including detailed requests for phone records, text messages

   and emails known to have existed between July 2015 and January 2017. Albert refused to produce


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   any records forcing Plaintiffs to file several motions to compel (Dkts. 302, 305) and defending

   Albert’s motion to strike cell phone company subpoenas. (Dkt. 342). Plaintiffs’ motions addressed

   three Rule 34 demands that sought discovery related to Albert’s pre-termination breach of duties

   of loyalty as general manager by engaging in tortious conduct against Plaintiffs, and discovery

   related to post-termination illegal use of Plaintiffs’ confidential information and trade secrets up

   to the current date. (Id.). Plaintiffs defended their cell phone company subpoenas based on known

   text messages and phone calls that Albert denied sending and making, seeking independent proof

   to impeach him and support forensic examination of Albert’s ESI. (Dkt. 353). Albert filed (Dkt

   302), a Motion to Strike Plaintiffs’ Dkt. 305 motion and continued to refuse any production. The

   Court responded to these motions by initially providing Albert an additional seven (7) days to meet

   and confer on Dkt. 302, and provided fourteen additional days for Albert to oppose Dkt. 305. (Dkt.

   344). Albert failed to produce any records, and on August 18, 2020 the Court substantially granted

   Plaintiffs’ first motion, Dkt. 302, and ordered Albert to comply with the Rule 34 demands within

   fourteen (14) days, i.e. on or before September 1, 2020. Those subject Rule 34 demands included

   detailed instructions on ESI searches Albert was ordered to comply with. The Court made no

   modifications to the instructions. (Dkt. 350). Albert opposed Dkt. 305, and on September 2, 2020,

   eight (8) days after the discovery cut off, the Court substantially granted Dkt. 305 and ordered

   Albert “to comply” with the Rule 34 demands at issue (two requests for independent ESI searches)

   and ordered Albert to further “produce the relevant devices for forensic imaging within fourteen

   (14) days.” (Dkt. 366). The Court made no modifications to the Rule 34 ESI search instructions,

   but did narrow Request No. 2 from records between March 22, 2016 and January 1, 2018. (Id.)

          d.      Summary of Violations. On September 1, 2020, the last day of the deadline to

   comply with Dkt. 302, Albert filed a motion to enlarge the deadline, confirming he understood the


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   breadth of the order which covered “almost sixty categories over a time period of almost six years”.

   (Dkt. 364, emphasis in the original). Albert claimed he was “diligently searching” and needed

   “five more business days”. (Id at p.2). On September 16, 2020 the Court extended Albert’s

   deadline to September 9, 2020. (Dkt. 375). On September 9, 2020 Albert willfully violated order

   350 by failing to produce any responsive records for the critical time frame of July 2015 to January

   1,    2017.     Not      one     single    email      from     Theeleatherman@gmail.com          or

   classicdesignleather@gmail.com was produced and not one text messages for the critical time

   frame of January 1, 2015 to January 1, 2017 was produced. (Declaration of Douglas L. Mahaffey).

   Attorney Wilson responded to the Court’s order by placing conditions on the imaging, demanding

   NDA agreements, demanding new protocols for handling purported privileged documents and

   claiming “Mr. Albert has no other devices the he used during the applicable time frame.” (Wilson

   September 14, 2020 email, attached hereto as Exhibit “11”). Wilson attempted to convince

   Plaintiffs’ counsel that “you do not actually need, and will not get, any documents from a search

   of the laptop that you do not already have in your possession from our recent production.” (Wilson

   September 11, 2020 email, attached as part of Exhibit “11”).

          Albert willfully violated Dkt. 366 and withheld access to numerous locations of ESI,

   including Albert’s current iPhone 8, iPad Pro, and backup ESI storage located in his iCloud and

   Google accounts.      Attorney Wilson was correct that the laptop had none of the relevant

   theeleatherman@gmail.com emails, (and none were produced) a fact that was confirmed by

   Plaintiffs’ IT consultant, who declares the laptop had been sanitized with back up folders deleted.

   (Brian Chase declaration attached as Exhibit “10”, para. 11). Further violations were confirmed

   by records produced on October 27, 2020 from AT&T and Verizon which had been subpoenaed

   on July 29, 2020. As declared by IT expert Brian Chase, those phone records reveal thousands of


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   concealed SMS messages during the relevant time frame, and prove Albert engaged in hours of

   calls with Katzkin and CDA agents during the months leading up to his termination. (Exhibit “10”,

   Chase, para. 40). Chase’s investigation and the AT&T records, combined with Wilson’s admitted

   decision to withhold Albert’s iPhone 8 and iPad Pro, support that Albert has violated Dkts. 350

   and 366 with conduct that meets the 11th Circuit definition of “bad faith.”

           e.      Summary of Requested Relief. Based on the March 1, 2021 trial date, the expired

   August 24, 2020 discovery cut-off, and the imminent pre-trial conference deadlines, Albert’s bad

   faith violations support the most severe Rule 37(b)(2) sanctions. Even if Albert fully complied

   today, Plaintiffs cannot start over with deposing the twelve (12) witnesses allowed by numerous

   hard-fought court orders. Under the CMSO order, without extraordinary relief, Plaintiffs have no

   remaining opportunity to conform their pleadings and pre-trial ordered documents to include the

   mountain of concealed evidence that existed on Albert’s destroyed devices, or likely exist today

   in his iCloud and Google accounts. There have been three extensions of the CMSO deadlines.

           The only fair resolution is for the Court to strike Albert’s answer and order a default prove

   up pursuant to Rule 37(b)(2)(iii) and (vi). This is the relief Plaintiffs seek. A less fair but

   alternative option is for the Court to issue Rule 37(b)(i) or (ii) directives heavily restricting Albert’s

   defenses. This is the alternative relief Plaintiffs seek. This lesser alternative would still leave

   Plaintiffs severely prejudiced as Katzkin has benefitted from Albert’s obstruction, and any order

   short of striking Albert’s answer with a default judgment confirming his conspiracy with Katzkin

   to violate his fiduciary duties to Plaintiffs, will reward Katzkin for their behind the scenes

   orchestration of Albert’s order violations. Katzkin has controlled Albert through its joint counsel

   Courtney Wilson, and the additional relief sought by this motion is Plaintiffs’ attorneys’ fees

   related to Albert’s failure to comply with Dkts. 350 and 366, awarded against Albert and Wilson


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   jointly.

              f. Summary of Wilson’s Involvement. It is attorney Wilson serving two masters, one of

   which (Katzkin) is paying his bills, who has orchestrated this bad faith disobedience. Wilson’s

   history of advising Albert to engage in bad faith conduct is extensive. Wilson has listened to a

   phone recording that proves Albert has committed perjury, but Wilson refuses to comply with

   ethical mandates and cause Albert to remediate the record. Wilson attempted desperately to

   intercept Albert’s phone records with a disingenuous filing that claimed he would “compromise”

   the AT&T and Sprint subpoena return, by obtaining the records and then (after screening them)

   produce them to Plaintiffs, who he claimed was only concerned with the academic “need for a

   court order to obtain the records”. (Dkt. 357, emphasis in the original). Wilson attached one email

   from Plaintiffs’ counsel out of multiple ones, which Plaintiffs argued in their response was

   blatantly misleading as Plaintiffs had steadfastly refused for Wilson to screen these phone records.

   (Dkt. 360). Wilson never did obtain and produce them, a direct violation of Dkt. 350. Wilson

   inserted numerous conditions on Dkt. 366 with no leave of Court, including numerous demands

   of confidentiality agreements, the presence of third parties at the imaging, and a complete self-

   serving assessment that only the laptop had relevant ESI. (Exhibit “11”). Despite multiple efforts

   to convince Wilson to comply with Dkt. 366 by turning over Albert’s iPhone, iPad and

   coordinating access to Albert’s ESI backup, Wilson refused to offer any solution. (See Exhibit

   “12”). Wilson’s conflicted loyalty to Katzkin’s best interest is of course the reason for his bad

   faith advice to Albert, as the destroyed and concealed ESI implicate Katzkin. Thus Albert, at

   Wilson’s direction, is now taking the fall to protect Katzkin and CLP.

              Based on this record, this Court should strike Albert’s answer. Lesser sanctions, although

   available, do not protect the solemnity of the federal rules that Albert and his counsel have


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   blasphemed with conscious and premediated disobedience of these two final critical discovery

   orders. Without the evidence Albert has destroyed or concealed, Plaintiffs cannot obtain a fair

   trial. The Court should also award Rule 37(b)(2)(C) all reasonably related attorneys’ fees in a sum

   according to proof, against Albert and Wilson.

          II.     ALBERT DESTROYED THREE CELL PHONES, ONE LAPTOP, AND
                  CONCEALED ONE CELL PHONE, ONE IPAD AND TWO CLOUD
                  ACCOUNTS.

          Albert has known since March 18, 2016 when he received a Cease and Desist letter from

   CST, he had a duty to preserve all of devices and ESI. (Exhibit 1). Katzkin’s counsel has guided

   Albert from the first interview in July 2015, and independently had a duty to cause their employee

   Albert to preserve his ESI. (See Exhibit 2, Katzkin privilege log showing counsel’s engagement

   on March 16, 2016, see also Exhibit 8 preservation letter sent October 17, 2018 “Preservation

   Letter”). Katzkin’s counsel was providing legal advice to Albert the same day Albert was recorded

   by Aaron Forrister in the damning confession call. (See Exhibit 3, March 18, 2016, text message

   to Albert from Sheffler relaying Katzkin’s legal advice to Albert in the middle of the confrontation:

   “Resign, say as little as possible”.) Albert’s four-year electronic trail is on ten (10) ESI locations,

   comprised of four cell phones, two laptops, one iPad, two Google cloud accounts, and one iCloud

   account. All ten of the ESI sources were ordered to be searched by Dkt. 350 and all seven devices

   produced for forensic imaging by Dkt. 366. He violated both orders by only searching and by

   producing only his laptop which had been carefully sanitized with substantial relevant ESI deleted.

   (See Ex. 11, declaration of Chase, para. 40).

                          a. Albert Destroyed his 2016 Motorola Cell Phone.

          In 2016, the first device Albert was texting from was a Motorola cell phone which has been

   destroyed. When asked where it was, Albert admitted it was “probably in an incinerator” based


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   on his claimed destruction of it on March 18, 2016. (See Albert Deposition Excerpts “Albert” at

   Exhibit 91 at 11:13-18; 15:3-9; 16:19-20; 17:1-4)2 He claimed he did not extract any text messages

   from it. (Albert, 11:23-25; 24:8).

                          b. Albert “Lost” his Replacement 2016 Nokia Flip Phone and Failed
                             to Preserve any ESI.

          The second cell phone used in March 2016, a Nokia cell phone, was allegedly “lost” in the

   middle of this litigation with no backup. Albert testified that on March 18, 2016, he transferred

   all of “his contacts” from his Motorola cell phone to a Nokia cell phone, stating “I got a Nokia flip

   phone to replace my other flip phone, because my other flip phone was Sprint with no cell towers.”

   (Albert 19:2-6).3 He then testified he “lost it” in a rental car and that “somebody at Fox Rent a

   Car now owns that phone”. (Albert 19:14-20). He admitted that he did not turn it over to his

   attorneys or preserve any ESI from it (Exhibit “8” preservation letter demanded a litigation hold)

   and admitted he had the Nokia phone up until June 2018, or possibly as late as December 2018. “I

   lost it about a year and half ago—no two years ago.” (Albert 20:10-16, 21-25, 25:3-5). All 2016-

   2017 ESI on that cell phone has been destroyed and no cell phone records from it were produced4.

   Katzkin agents Ron Leslie and Dave Sheffler texted and called Albert in 2015 and 2016 on Albert’s

   Nokia phone. (See Exhibit “13”, AT&T records).5




   1
     Pursuant to Local Rule 3.03(c), Plaintiffs will file the complete transcript of Ross Albert upon
   request. The excerpts from the deposition referenced herein are Exhibit “9”.
   2
     This was the same date Albert learned that CST had uncovered the Defendants’ scheme and he
   mistakenly called Roadwire executive Dave Edmondson’s cell phone instead of Katzkin executive
   Dave Sheffler’s cell phone. See Albert Depo. at 149:11-20.
   3
     The laptop imaging located that transfer, and it contains CST’s entire proprietary customer list
   Albert transferred to Katzkin’s computers, iPads and cell phones.
   4
     Albert has two numbers, 407-466-8294 that he used with his flip phones, and 407-748-0132 that
   he used with his iPhones serviced by AT&T.
   5
     A separate Rule 37(b)(2) motion against Katzkin includes they too concealed or destroyed these
   SMS messages in violation of Dkt. 296.
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                          c. Albert Destroyed all ESI from his Panasonic Laptop.

          His third device, a Panasonic laptop used while at CST, was first sanitized and then

   destroyed. (Albert 29:7-11). Albert admits that “when Katzkin gave me a new computer” “I threw

   it (the Panasonic) away”. (Albert 29:11-13). Albert claims he did this “sometime toward the end

   of March [2016] or the beginning of April [2016].” (Albert 29:13-16 (emphasis added)). He

   admitted he had two email addresses at that time, theeleatherman@gmail.com and a CST email.

   (Albert, 30:2-5). He further admitted he deleted “over the weekend when he resigned” all of the

   Panasonic’s “CST data”. (Albert 62:18- 63:21). No ESI has been produced from Albert from this

   computer and no preservation of any ESI from it occurred.

                          d. Albert destroyed his 2016 iPhone 6.

          Albert received at least five days before he commenced employment with Katzkin, a 2016

   iPhone 6 from Katzkin. (Albert 19:7-9, Chase para. 17, Exhibit 10). Albert had that iPhone for

   several years and ultimately upgraded it to an iPhone 8, which came out in late 2017. Albert did

   not preserve that iPhone 6 despite active litigation, a preservation letter and despite knowing since

   March 16, 2016 litigation against him was imminent. Records recovered from AT&T show that

   Albert used that iPhone 6 to extensively text and email. IT expert Brian Chase analyzed those

   records and dissected data from the single laptop produced, confirming that nine thousand nine

   hundred and fifty three SMS messages were sent or received by that iPhone 6, with over three

   thousand (3,000) of them going to or from phone numbers, as opposed to AT&T sending data

   notices which comprise the balance. (Chase Decl. para. 40-43.) Mr. Chase compared numbers

   from several of the text messages sent from the iPhone 6 during the exact events surrounding

   Albert’s resignation and confirmed that each category of the specified list of witnesses sought by

   Request #3 existed. Specifically, he identified text messages in the critical time frame from Albert


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   to car dealerships, Dave Sheffler, John Held and other Katzkin employees. (See highlighted phone

   records attached to Chase Decl. as Exhibit “A”). Albert destroyed this iPhone 6, produced none of

   these text messages, or the thousands of other text messages he sent during the subject Court-

   ordered time frame. IT expert Chase declares he must have that iPhone 6 to potentially recover

   and examine all of these text messages. The Court order was for ALL work text messages during

   that two-year time frame January 1, 2015 to January 1, 2017, (Rule 34 request #3), and any

   personal ones were to be logged. Albert did not one produce even one responsive text message

   during that time frame, he produced no log and he has destroyed the only source they existed on.

                         e. Albert Concealed the Classicdesignleather@gmail.com account.

          Dkt. 350’s order also included all email accounts and cloud storage back up. (Rule 34

   demands, nos. 3, 4, and 5). When this order was issued, Albert knew he had two cloud-based

   email accounts he used between the dates of January 1, 2015 and January 1, 2017, one hosted at

   Google and one hosted at iCloud. He also knew he used and accessed a third cloud account,

   Classicdesignleather@gmail.com, that was set up weeks before his March 18, 2016 resignation to

   aid CDA in diverting all of CST’s customers, orders, scheduling procedures and related details.

   The Rule 34 requests 3, 4, and 5 ordered in Dkt. 350 squarely required all three of these accounts

   to be searched, and responsive documents produced. (See Exhibit “4” March 11, 2016 Google

   email confirming the account set up and note reference to “Ross” in header subject on 10:49

   email.). As the Declaration of ESI expert Chase reveals, Albert violated this order and produced

   nothing from any of them for the time frame at issue. Chase Decl. para. 37-39.

          The concealment of the Classicdesignleather@gmail.com account is one of Albert’s most

   egregious acts. By the time it was discovered, the discovery cut off had expired and critical cross

   examination of John Held, Ron Leslie, Dave Sheffler, Tim Clyde, Bill North and Brooks Mayberry


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   did not include any questions on this concealed email and its contents. Throughout his deposition,

   Albert adamantly denied conspiring with Dave Sheffler of Katzkin, CST’s operation manager,

   Danny Valencia and CST office administrator Naiomy Soto to set up a clone of CST’s operations

   with competitor Classic Design Automotive (CDA). (Albert, 42:10-43:4, 68:11-69:18, 72:4-11,

   79:4-80:22, 86:3-7). These lies have now been fully exposed by the discovery of this concealed

   Google email account, named classicdesignleather@gmail.com. This account and its numerous

   records and emails was fully responsive to the Dkt. 350. (See example of an Albert email from

   Classicdesignleather@gmail.com (leather classic) to Theeleatherman@gmail.com (Ross Albert)

   to email address attaching CST forms, converted to CDA’s logo, attached at Exhibit “5”, see also

   Exhibit “4”). The associated Google account contains several years of spreadsheets starting in

   2016, that scheduled CST customer dealerships for CDA to install Katzkin leather kits. (See one

   example of hundreds of scheduling sheets, attached Exhibit “6” which was the first 5 spreadsheet

   schedule cars of 100+ CST customers diverted to CDA for installations during the last ten days of

   March 2016). Albert willfully violated the Court’s order by not producing any emails to or from

   it, or any records in it. When asked point blank about it in his deposition he repeatedly lied and

   denied using it to email back and forth documents and other information. (Albert 31:9-25).

                         f. Albert      Concealed     and               Withheld         Numerous
                            theeleatherman@gmail.com emails.

          Plaintiffs have also been deprived of highly probative 2015-2017 emails from Albert’s

   Google account, theeleatherman@gmail.com. It was through this email he stole and transmitted

   CST’s proprietary forms and customer list to the Classicdesigleather@gmail.com account.

   Exhibits 5 and 6 prove this as does the contact list discovered on his laptop and the dates it was

   created on March 17 and 18, 2016. (See Chase Decl. para. 17-21; note also the email “Ross Albert”

   when clicked on in the original goes to theeleatherman@gmail.com). Depriving Plaintiffs of any

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   use of the concealed emails in their claims and discovery against Katzkin, Albert has blocked all

   access to this account, and never conducted any ESI search in it. His obstruction was plainly pre-

   mediated    as   confirmed    by   IT   expert   Chase    who    verifies   that   none   of   these

   theeleatherman@gmail.com emails were on the laptop he searched, and the 2018 created backup

   folder was empty. (Chase Decl. para. 12, 34-38).

                      g. Albert Concealed an Entire iCloud Account and iCloud Email.

       Albert also has an email account known as theeleatherman@iCloud.com. This hidden email

   account was fully responsive to Dkt. 350 for the same reasons the two Google accounts were

   responsive. IT expert Chase found proof of its existence on Albert’s laptop, but none of its content

   could be recovered. (Chase Decl. para. 26-31.) Concealing a complete iCloud backup account

   and hiding its existence and refusing to provide its passwords, is further convincing evidence that

   Albert willfully disregarded in bad faith the Court’s orders.6

       III.    ALBERT HAS WILLFULLY VIOLATED TWO DISCOVERY ORDERS.

          On August 18, 2020, the Court issued Dkt. 350 which ordered Albert to serve responses to

   two Rule 34 demands, one contained in a deposition notice (the “deposition demand”), and one

   served independently (the “Rule 34 demand”). The Court only limited three requests, #s 1, 9 and

   10 of the Rule 34 demand to the time frame of January 1, 2015 to January 1, 2018, otherwise all

   twenty-three (23) Rule 34 requests, and all twenty-eight (28) deposition requests were found

   relevant. Albert was ordered to provide responsive records within 14 days, on or before September

   1, 2020. The Court did not modify any of these requests or instructions, nor did Albert object to



   6
     iCloud accounts come standard with all iPhones and they back up all data to this account which
   also automatically creates an iCloud email for the user. Using iCloud backup is how Albert
   transferred his data from his iPhone 6 to his iPhone 8. It is unknown if attorney Wilson instructed
   Albert to preserve this account or they both know it was deleted once the Court issued Dkt. 366.
   Wilson refuses to assist in accessing it.
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   the ESI search instructions. Here are three of the Court ordered Rule 34 requests that Albert

   blatantly violated (italics added):


           Request no. 3: “All YOUR work-related text messages for the time frame of January 1,
   2015 to January 1, 2017 that show all your text messages you sent or received, including but not
   limited to those related to car dealerships, CST employees (former or then current) Katzkin
   employees, John Held, John Donnellan, other restylers, and all other text messages during that
   time frame.” Note of you claim any text message was strictly personal, you must log that call and
   identify the person and general description of the personal nature of the text. “You also must search
   all computers, back up storge, cell phone data storage through ESI recovery tools so that both
   deleted and existing text messages from all cell phones you used during the subject time frame are
   searched for.”

           Request no. 4: “All YOUR work-related emails for the time frame of January 1, 2015 to
   January 1, 2017 that show all your emails, including deleted emails, including but not limited to
   those related to car dealerships, CST employees, Katzkin employees, John Held, John Donnellan
   and all other emails from any device during this time frame. You also must search all computers,
   back up storage, email data storage through ESI recovery tools so that both deleted and existing
   emails from all electronic devices you used during the subject time frame are searched for”.

           Request No. 5: “All documents and communications regarding any orders for work, or
   inquires about work to be performed by CST which YOU diverted or otherwise caused to be
   directed to CDA, John Held, John Donnellan, or any other entity, from the period of January 1,
   2015to January 1, 2017. Note this includes the orders you sent as images or image files to your
   wife in March 2016.

          No responsive documents were produced to these three requests, and numerous similar

   ones targeting this date range. Responsive ESI created between these dates did exist, but Albert

   engaged in willful acts both before and after the order, to destroy and conceal all responsive

   documents. The SMS messages on the backup, and originally on the iPhone 6, were between

   Albert and Katzkin, Held and CST customers, which would reveal the full extent of the conspiracy

   to steal Plaintiffs’ customers, forms, and trade secrets. This conduct supports Rule 37(b)(2)(iii)

   and (vi) sanctions. (Striking Albert’s answer and rendering a default judgment against Albert).




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       IV.     ALBERT WILLFULLY VIOLATED DKT. 366.

          Dkt. 366 ordered Albert to produce all of his devices, yet all he produced was a single

   laptop. [Dkt. 366]. He withheld an iPhone 8 and an iPad Pro that he still has possession of. He

   admitted he turned these over to his attorneys “possibly over two years ago” (Albert 26:10 – 27:9).

   Albert admitted he searched his iPad with a Katzkin IT person and claims that he forwarded some

   documents from it (Albert 27:13-20). Attorney Wilson orchestrated these refusals. (Ex. “12”).

          The Court granted the imaging order after it analyzed the protracted history of discovery,

   citing to Dkt. 350, and it granted the requests for an independent search of all of Albert’s devices

   and backup ESI storage, with the only limitation being a time limitation up to January 1, 2018. It

   provided 14 days for Albert to produce the relevant devices for forensic images. The destroyed

   2016 iPhone and iPad were the source of a CST work orders that were illegible and that were the

   subject of Dkt. 350. The Court analyzed the emails and illegible orders, overruled the spousal

   privilege objections, and compelled these emails. (Dkt. 350:11). The Court then compelled the

   devices they were sent on to be produced, but Albert refused to turn them over, and has never

   produced any legible copies of the CST orders he stole even though they were emailed to his wife’s

   phone. Both actions willfully violated the Court’s order.

          These two devices and their affiliated Google and iCloud accounts contain relevant ESI, as

   proven by event logs created on the laptop on August 24, 2020. (Chase, 13-17). Selected data was

   backed up to the laptop, including a history of contacts that date back to March 17 and 18, 2016,

   proving there is some ESI trail left from the destroyed Nokia and Motorola flip phones. But to

   track these deletions, Mr. Chase needs these actual iPhone and iPad devices and passwords. (Chase

   Decl. para. 13-17). This willful violation also has deprived Plaintiffs from obtaining direct

   evidence of the full extent of Albert’s ESI deletions. (Chase Decl. para 16). With the devices


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   destroyed or unavailable, the ESI content cannot be obtained. (See Exhibit “7” sample of AT&T

   SMS data and note the extensive text messaging starting on March 18, 2016 – March, 21, 2016.

   None of these were produced.

       V.       ALBERT HAS NOT RETRACTED HIS PERJURY.

            During Albert’s deposition, Albert repeatedly lied under oath with attorney Wilson

   refusing to remediate the record once the truth was exposed.7 Albert’s perjury is proven by the

   recording compared to numerous denials he gave in his deposition:

                  Q[Counsel]. Did you ever say to any person that you had spoken to
                  all the dealerships, and they said they were all going to come with
                  you prior to March 18?

                  A[Albert]. Absolutely not. . .
                        (Albert at 71)

                  From the Recording: Q[Counsel]. Did you talk to any of the
                  dealerships that were doing work at CST prior to March 18, 2016
                  [the day Albert technically left CST to go work for Katzkin Leather],
                  and discuss with them switching their business at CDA?

                  A[Albert]. Absolutely not. 100% no.
                  (Albert at 72).

                  Q [Counsel]. Are you denying that you made the statement to Aaron
                  Forrister that you had talked to dealers?

                  A [Albert]. I did not talk to dealers while I was working for Classic
                  Soft Trim.
                  (Albert at 258).



   7
     A district court may impose sanctions pursuant to its inherent authority where a party destroys
   or conceals evidence or commits perjury. Flury, 427 F.3d at 944-45 (discussing the imposition of
   sanctions for spoliation of evidence); Qantum Commc'ns Corp. v. Star Broad., Inc., 473 F. Supp.
   2d 1249, 1269 (S.D. Fla. 2007) ("[T]he inherent powers doctrine is most often invoked where a
   party commits perjury or destroys or doctors evidence."). Moreover, several federal courts have
   held that "the need for sanctions is heightened when the misconduct relates to the pivotal or
   'linchpin' issue in the case." Qantum Commc'ns Corp., 473 F. Supp. 2d at 1269.


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           “Well what are the dealers thinking?” as follows:

                   Well the few I have talked to say they are going to stay with me,
                  but if they start calling the stuff in and it takes two weeks to get it
                  and they call Classic “yeah we will pick it up today,” it’s going to
                  be an issue. I mean Dave, I just went to Reed Nissan, “Oh no, yeah
                  we will use you.” Well they all say that and that’s all good, but
                  dealers want to turn cars around too. Yeah, we were doing 80 to 100
                  cars a week like butter you know, You pick it up one day and bring
                  it back the next. It sounds to me now, if this Shit goes the way it is,
                  With five or Six guys, I can’t put this kind of stuff up, Even the door
                  panel guy is still there, Man its looking ugly.


          Combined with the contents of the concealed classicdesignleather@gmail.com account and

   the concealed text messages and contents discovered on CDA’s devices, and the recent phone

   records, his perjury and obstruction of this Court’s orders is untenable. Attorney Wilson’s

   response to this blatant perjury was to advise Albert to file two motions against Mr. Mahaffey to

   disqualify him for using the recording and requesting Albert “come clean” as part of a settlement

   discussion. [Dkts. 316 and 373].8 This should be the final straw and the Court should exercise its

   broad discretion and issue Rule 37(b)(2)(iii) and (iv) sanctions striking Albert’s answer and enter

   a default judgment.

                                 I.      MEMORANDUM OF LAW

          Based on this record, Albert’s willful violation of Dkts. 350 and 366 support severe

   sanctions under Rule 37(b)(2)(iii); Lambert v. Worldwide Marketing Technologies Corporation,

   708 Fed. Appx. 559 (11th Cir. 2017). In Lambert, the Court dismissed Plaintiff’s case as she

   refused to allow inspection of her computer in violation of a court order of discovery and

   committed perjury by denying, at a hearing, that she had improperly contacted Defendants’




   8
    The one-sided consent by Arron Forrister to record his own conversation was fully legal under
   Federal law and this case includes a federal claim. (See Dkt. 329, analyzing 18 USC 2511(2)(d)).
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   customers.    As in the present case, there was independent confirmation of her perjury, as

   Defendants in Lambert were able to obtain surveillance videos identifying Plaintiff as the

   individual who had mailed the packages to Defendant’s customers. Lambert held, “[T]he district

   court did not abuse its discretion by dismissing Lambert's complaint with prejudice as a sanction

   for her misconduct. Lambert willfully violated the order directing her to produce her computer for

   examination. She disregarded warnings that she would be sanctioned for her failure to comply with

   the order, obstinately refused to cooperate with Worldwide, and challenged the meaning of the

   order during the sanctions hearing.” “Lambert's deceitfulness and disrespect of the district court

   justified dismissing her complaint with prejudice.” Id. at 562.

           a. Rule 37(b)(2)(A) Supports Sanctions

           Rule 37(b)(2)(A) of the Federal Rules of Civil Procedure provides that if a party fails to

   obey a discovery order, the court where the action is pending may issue "further just orders" such

   as: “(i) directing that the matters embraced in the order or other designated facts be taken as

   established for purposes of the action, as the prevailing party claims; (ii) prohibiting the

   disobedient party from supporting or opposing designated claims or defenses, or from introducing

   designated matters in evidence; (iii) striking pleadings in whole or in part, (vi) rendering a default

   judgment against the disobedient party.” Fed. R. Civ. Pro. 37(b)(2)(A). Courts enjoy "substantial

   discretion in deciding whether and how to impose sanctions under Rule 37." Chudasama v.

   Mazada Motor Corp., 123 F.3d. 1353, 1366 (11th Cir. 1997). In imposing sanctions, the Court

   may consider "the unsuitability of another remedy, the intransigence of a party, and the absence of

   an excuse." Watkis v. Payless ShoeSource, Inc., 174 F.R.D. 113, 116 (M.D. Fla. 1997). "Although

   dismissal with prejudice is the most severe Rule 37 sanction, dismissal may be appropriate when

   a [party's] recalcitrance is due to willfulness, bad faith or fault." Id. The courts find bad faith when


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   a party delays or disrupts the litigation or hampers enforcement of a court order. In re Sunshine Jr.

   Stores, Inc., 456 F.3d 1291, 1304 (11th Cir. 2006); Marcelle v. Am. Nat'l Delivery, Inc., No. 3:09-

   cv-82-J-34MCR, 2010 WL 1655537, at 4 (M.D. Fla., Apr. 23, 2010) (holding that the defendant's

   failure to attend the depositions and comply with the court's discovery order was part of a pattern

   of willful disobedience and warranted a sanction of default judgment). "[D]ismissal upon disregard

   of an order, especially where the litigant has been forewarned, generally is not an abuse of

   discretion." Watkis, 174 F.R.D. at 116.

          b. The Record Supports a Bad Faith Finding Supporting 37(b)(2)(iii) and (vi)
             sanctions.

          Whether noncompliance with an order was intentional or in bad faith, must be determined

   to justify terminating sanctions. See Societe Internationale Pour Participations Industrielles et

   Commerciales v. Rogers, 357 U.S. 197, 212, 78 S.Ct. 1087, 1096, 2 L.Ed.2d 1255 (1958); Searock

   v. Stripling, 736 F.2d 650, 653 (11th Cir. 1984). “Violation of a discovery order caused by simple

   negligence, misunderstanding, or inability to comply will not justify a Rule 37 default judgment

   or dismissal.” Malautea v. Suzuki Motor Co., 987 F.2d 1536, 1542 (11th Cir. 1993). Here there is

   no misunderstanding. Albert willfully destroyed both the source and actual relevant ESI justifying

   terminating sanctions under Rule 37(b)(2)(iii). “Spoliation” is “the intentional destruction,

   mutilation, alteration, or concealment of evidence.” Black's Law Dictionary 1437 (8th ed. 2004).

   “Generally spoliation is established when the party seeking sanctions proves that (1) the missing

   evidence existed at one time; (2) the alleged spoliator had a duty to preserve the evidence; and, (3)

   the evidence was crucial to the movant being able to prove its prima facie case or defense.” Floeter

   v. City of Orlando, 2007 U.S. Dist. LEXIS 9527, at 15 (M.D. Fla. Feb. 9, 2007). Wooden v.

   Barringer, 3:16-CV-446-MCR-GRJ, 2017 WL 5140518, at *7 (N.D. Fla. Nov. 6, 2017)). If the

   Court finds a party acted “with the intent to deprive another party of the information's use in the

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   litigation,” the Court may impose the harsher sanctions--including entry of a default judgment--as

   delineated in Rule 37(e)(2). Id. Albert knew by March 18, 2016 when he received the cease and

   desist letter, litigation was “reasonably foreseeable.” Graff v. Baja Marine Corp., 310 Fed. Appx

   298, 301 (11th Cir. 2009). This is an objective standard and considers whether a party should

   reasonably have anticipated litigation. See Alabama Aircraft Industries v. the Boeing Co, 319

   F.R.D. 730, 742 (N.D. Ala. 2017). The Eleventh Circuit holds that the “bad faith” standard and

   the “intent to deprive” standard in Rule 37(e) are connected.” ML Healthcare Services v. Publix

   Super Markets, Inc., 881 F.3d 1293, 1308 (11th Cir. 2018)); Alabama Aircraft Indus. 319 F.R.D.

   at 746). Where there is evidence of bad faith in the destruction of evidence, it may be inferred that

   missing evidence was unfavorable and that there was prejudice. See Southeastern Mechanical

   Services, Inc., 657 F.Supp. 2d at 1300. In making this determination, courts necessarily consider

   the context of the destruction. See Telectron, Inc. v. Overhead Door Corp., 116 F.R.D. 107, 110

   (S.D. Fla. 1987) (noting that alleged spoliator's contention that no significant prejudice resulted

   from destruction to be unconvincing).

          Albert did not comply as Katzkin prohibited it. Katzkin has mocked the truth with its

   “separate counsel” position. (See Dkt. 283-1: “As to those (Rule 34 demands) directed at Mr.

   Albert’s devices…Plaintiffs chose to name Mr. Albert as a defendant, and he has separate counsel.

   Defendants will not in such circumstances come between Mr. Albert and his counsel” (emphasis

   added). Albert and Wilson agreed to protect Katzkin and gambled that by Albert’s systematic

   destruction of all earlier devices, his concealment of emails he never expected Plaintiffs to find

   (classicdesignleather@gmail.com), Albert’s willingness and ability to lie his way out of all

   liability, Albert would escape being caught. If he was exposed, Albert not Katzkin, would take

   the fall. It was not a misunderstanding or in ability to comply, it was premediated strategy. This


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   record supports striking Albert’s answer and directing a default prove up to entry of a default

   judgment. (37(b)(2)(vi)).

          c. Rule 37(b)(2)(i) and (ii) Sanctions Are Not Required First before 37(b)(2)(iii)

          Rule 37 sanctions are intended to prevent unfair prejudice to the litigants and insure the

   integrity of the discovery process. Gratton v. Great Am. Commc'n, 178 F.3d 1373, 1374 (11th Cir.

   1999) (per curiam). "[T]he severe sanction of a dismissal or default judgment is appropriate only

   as a last resort, when less drastic sanctions would not ensure compliance with the court's orders."

   Malautea, 987 F.2d at 1542. A district court is not required to first impose lesser sanctions if the

   lesser sanction would be ineffective. Id. at 1544. A district court does not abuse its discretion in

   dismissing a claim under Rule 37(b) if it finds that a party willfully failed to comply with the

   opposing party's discovery request, even if we would have imposed a lesser sanction. OFS Fitel,

   LLC v. Epstein, Becker Green, P.C., 549 F.3d 1344, 1367 (11th Cir. 2008). In Ins. Corp. of Ireland

   v. Compagnie des Bauxites de Guinee, 456 U.S. 694 (1982), the Supreme Court affirmed sanctions

   under Rule 37(b)(2)(A)(i), determining that after defendants raised the defense of lack of personal

   jurisdiction but failed to comply with court orders to produce documents which related to the issue,

   it was deemed established that defendant had contacts with Pennsylvania, such that they were

   subject to personal jurisdiction. The only “test” the Supreme Court provided was that any sanction

   must be “just” and must be “specifically related to the particular ‘claim’ which was at issue in the

   order to provide discovery.” In Mystique, Inc. v. 138 Int'l, Inc., No. 07-22937-CIV, 2011 WL

   13173601, at *6 (S.D. Fla. Aug. 31, 2011), report and recommendation adopted, No. 10-21421-

   CIV, 2011 WL 13173603 (S.D. Fla. Dec. 19, 2011), the Plaintiff obtained a judgment against

   Defendant in a trademark infringement action. Plaintiff then initiated proceedings supplementary

   against South Beach Corp. and two individuals, asserting they were Defendant’s alter egos and


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   thus their assets were subject to execution on the final judgment. After Defendant, South Beach

   Corp, and the two individuals violated multiple discovery orders to produce documents, Plaintiff

   sought a finding under Rule 37(b)(2) that South Beach Corp. and the individuals were Defendant’s

   “alter ego” The Court found that Defendant, South Beach Corp., and the two individuals “willfully

   and intentionally withheld documents” in “direct violation” of multiple discovery orders . The

   Court noted that under Rule 37(b)(2), the sanction must be “just” and “specifically related to the

   particular ‘claim’ which was at issue in the order to provide discovery,” and further held that the

   remedy should “correlate[] specifically to the discovery violations at issue.” The court held

   “Plaintiff’s inability to develop the record regarding the whereabouts of [Defendant’s] assets was

   caused directly by Defendant’s and the Impleaded Defendant’s discovery-related conduct.

   Because the defense has thwarted Plaintiff’s ability to determine whether the Implead Defendants

   are or were in possession of any of [Defendant’s] assets, we will impose an adverse inference that

   South Beach is the alter ego of [Defendants],” meaning the burden would be on them at trial to

   disprove the inference. The Court held this adverse inference “directly addresses the discovery

   failures of the defense.”

          37(b)(2)(ii) Alternative. Under 37(b)(2)(ii) the Court could issue an order prohibiting

   Albert from opposing the claims in the Second Amended Complaint (Dkt. 109) Claim One,

   Breach of Fiduciary Duty/Breach of Loyalty, and specifically prohibiting Albert from denying

   the allegations in paragraphs 67-83, and a companion order prohibiting Albert from opposing the

   claims in the Second Amended Complaint (Dkt. 109) Claim Six for violation of the Computer

   Fraud and Abuse Act and specifically prohibiting Albert from denying the allegations in

   paragraphs 244-261. This would then send Albert to a jury for a damages trial. The ESI

   concealed and destroyed included key text messages and emails that were on dates and times


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   (February to March 2016) that would confirm Albert was in a premediated conspiracy with

   Katzkin to breach his duties to Plaintiffs. The thousands (1000s) of concealed SMS messages

   revealed on the AT&T records would prove how Albert continued after termination to exploit

   Plaintiffs’ trade secrets to benefit Katzkin. Why else would Albert and his attorney lie, conceal,

   violate two major Court orders and destroy such a large quantity of devices and ESI? Likely the

   content is so offensive a jury would easily assess liability and award substantial punitive

   damages. The big picture is that Wilson is co-counsel for both CLP -a billion dollar backed

   private equity Newport Beach, CA mogul- and Katzkin has over $125,000,000 in annual sales.

   The order dismissing CLP was without prejudice (Dkt. 347) and Wilson is fully aware discovery

   of the CLP IT expert is still in progress. (Dkt. 388). The logical inferences are that concealing

   Albert’s damning ESI that fully exposes Katzkin and CLP’s involvement to destroy Plaintiffs’

   two most profitable branches, protects Wilson’s deep pocket clients. If Albert is punished as the

   “fall guy”, so be it, but at all costs Wilson and his co-counsel cannot allow Katzkin, and/or CLP

   to be exposed to punitive damages. Thus, the inferences from Wilson’s conduct are that

   concealment, ESI spoliation and order violations, even with the risk of Rule 37(b)(2) sanctions,

   was the strategy Wilson advised. Claim One paragraphs 67-83 contain detailed facts that the

   Court can infer the concealed ESI proves.

          Claim Six centers on Albert hacking in and accessing without authorization, CST’s

   computer data to aid Katzkin and CDA in diverting customers, existing orders, and scheduling

   new orders at CDA. By destroying his 2016 laptop and cell phones, his access to information

   that an IT expert could have located to prove the dates and times of his access, to correlate with

   the hidden classicdesignleather@gmail.com email, is now non discoverable. The Court could

   direct paragraphs 244-261in Claim five be deemed admitted as the inference is that Albert


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   destroyed these devices to prevent discovery of his illegal access to CST’s computers and his

   causation of damages which violated the Computer Fraud and Abuse Act.

          37(b)(2)(i) Alternative. Alternatively, and as the least just solution, the Court could order

   under section 37(b)(2)(i) specific designated facts be established for this action as to Plaintiffs’

   claims. Because of the timing of the concealed or destroyed, devices, email and text messages,

   (January 1, 2015 to January 1, 2017) the Court could direct the following facts:


          1. Between July 1, 2015 and March 18, 2016 Defendant Ross Albert and Defendant
              Katzkin Leather, Inc. communicated with each other to develop a detailed plan for Ross
              Albert to illegally divert CST customers and employees to Classic Design Automotive
              to increase Katzkin leather kit sales and to aid their goal to dominate the Orlando
              automotive leather aftermarket.
          2. Those communications discussed in detail and contained admissions that Ross Albert
              and Ron Leslie, Dave Sheffler and Tim Clyde of Katzkin, and Joseph Schmidt of CLP,
              specifically discussed diverting CST customers and installation orders.9 Each party to
              the communications participated and agreed to the diversion, and CLP and Katzkin
              agreed to compensate Albert with substantial money if he successfully completed this
              scheme.
          3. Communications between Albert, and Katzkin and CLP agents confirm that the illegal
              scheme successfully diverted CST customers to CDA for the benefit of Katkzin, and
              the scheme caused Katzkin to increase its Orlando leather sales by millions of dollars
              a year.
          4. Content on Albert’s destroyed 2016 laptop and 2016 cell phone prove that Albert and
              Katzkin both illegally accessed CST computers to transmit Plaintiffs’ proprietary
              information to CDA and Katzkin, and they admitted that they knew their conduct would
              cause Plaintiffs’ substantial losses of sales and profits.




   9
     Defense counsel admits that during the subject time frame, Joseph Schmidt a partner CLP
   traveled to Orlando to meet with Albert, (Dkt. 283-1, p.2 under Defendants position).
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   These facts are the minimum facts Albert concealed by his withholding of the responsive ESI.

          A. THE COURT SHOULD AWARD ALL FEES AGAINST ALBERT AND
             WILSON.

          Fed. R. Civ. P. 37(b)(2)(C) states, “I[n]stead of or in addition to the orders above, the court

   must order the disobedient party, the attorney advising that party, or both to pay the reasonable

   expenses, including attorney's fees, caused by the failure, unless the failure was substantially

   justified or other circumstances make an award of expenses unjust.” Plaintiffs seek an order that

   allows them to file a separate memorandum and supporting evidence for all the fees and costs

   caused by Albert’s willful violation of this Court’s orders and his spoilation of evidence. Attorney

   Wilson has guided each step of the way and should be jointly liable. Albert’s bad faith, premediated

   conduct cannot be “substantially justified.”

                  CERTIFICATE OF GOOD FAITH PURSANT TO LOCAL RULE 3.01(g).

          The undersigned conferred with counsel for Albert and Katzkin, and they oppose the relief

   requested in this motion. The final meet and confer was set at the same time as the pretrial

   conference on October 14, 2020 but Mr. Wilson failed to attend. Voice messages were left and he

   has not responded. He did speak to Kevin Shaughnessy and Wilson did email confirming he would

   not oppose this motion based on any alleged Rule 3.01(g) noncompliance. The relief sought was

   discussed in multiple emails to him. (Exhibit “12”).

   Dated: November 1, 2020                        Respectfully submitted,



                                                  By: /s/ Douglas L. Mahaffey

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                         DECLARATION OF DOUGLAS L. MAHAFFEY

          I, Douglas L. Mahaffey, declare as follows:

          1.      I am an attorney licensed to appear before all the Courts of the United States of

   America and I have been been admitted to appear in this matter pro hac vice. I am the principal

   of Mahaffey Law Group, counsel of record for Plaintiffs Classic Soft Trim Inc. and Roadwire LLC

   in this matter. The following is based on my own personal knowledge and if called upon to testify

   I would state as follows:

          2.      On September 9, 2020 Albert willfully violated Dkt. 350 by failing to produce

   any responsive records for the critical time frame of July 2015 to January 1, 2017. Not one

   single email from Theeleatherman@gmail.com or classicdesignleather@gmail.com was

   produced and not one text messages for the critical time frame of January 1, 2015 to January 1,

   2017 was produced.



          I declare under penalty of perjury under the laws of the United States of America that the

   forgoing is true and correct and that this was executed on November 1, 2020 in Broker Arrow,

   Oklahoma.

                                        ________________________________________
                                                Douglas L. Mahaffey, Esq.




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                     EXHIBIT 1




                     EXHIBIT 1
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               sn.rr TRM1                                                 Sheffler Ex. "28"
  Raymond Graham, Esq.
  SVP Genoral Counsol
  Classic Soft Trlm 1 Inc.
  4516 Seton Center Pkwy, Ste 135
  Austin, TX 78759




                                                        March 18, 2016


  MR. ROSS ALBERT
  3068 Kentshire Blvd.
  Ocoee, Fl,   34761

  CEASE AND DESIT DEMAND
  Greetings:


  Initially I must inform you that, upon information and belief, the telephone number,
  407.831.8283 is Classic's property. ( I understand that it has been in place before you
  were employed at the Orlando branch. If in fact you have personally paid all of the
  phone service and equipment bills on this line for the last 16 years, then you may argue
  that it is your property, and you must tender to me all proof of ownership and payments)

  Otherwise, the phone number is property of Classic and your diversion of calls to your
  personal cell phone is tantamount to civil theft, and flagrant misappropriation of a
  corporate asset. You are hereby demanded to cease and desist from using such
  telephone number immediately.

  I am general counsel to Classic Soft Trim, Inc. rc1assic") which owns and operates a
  branch office in Orlando, Florida, and by this letter am placing Ross Albert, Danny
  Valencia, three other former Classic employees who voluntarily terminated their
  employment of Friday, March 18, 2016 together with, Classic Designs Automotive "LLC " 1
  John P. Held, John C. Donnellan, Jr., and all of Classic's shareholders, directors, officers,
  and employees, (collectively, "CD") on notice that Classic has sufficient reason to believe
  that various rights of Classic are, and will be in the upcoming hours and days,
  transgressed by CD. Moreover, on legally sutticient information and belief, Classic
  maintains that other rights of Classic are, or will be, transgressed by CD working in
  tandem with certain current employees of Classic, specifically, Mr. Ross Albert, and Mr.
  Danny Valencia, and others. Given the valuable and irreplaceable rights which are now


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                                                                                       Katzkin 000018
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                     EXHIBIT 2




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Bates    Identity   Identity    Date            Description            Subject Matter                  Purpose   Privilege   Present
Number   and        and                                                                                          Claimed     Location
         Position   Position of
         of Author  Recipient
CLP      Brooks     Marcia      7/9/2015        Email to               Correspondence from             Legal     Attorney-   Counsel
000570   Mayberry   Sugrue                      outside counsel        Katzkin employee to             advice    client      for
         (Katzkin   (outside                    Marcia Sugrue          outside counsel re:             from      privilege   Katzkin
         employee)  counsel at                                         request for legal               outside
                    Finn Dixon                                         advice, copying other           counsel
                    & Herling                                          Katzkin employees
                    LLP), Peter
                    Kim
                    (Katzkin
                    employee),
                    and Tim
                    Clyde
                    (Katzkin
                    employee)
CLP      Alfred     Brooks      3/16/2016       Thread of              Correspondence to and           Legal     Attorney-   Counsel
000571   Pavlis     Mayberry                    multiple emails        from outside counsel            advice    client      for
to CLP   (outside   (Katzkin                    from Katzkin           regarding Katzkin               from      privilege   Katzkin
000573   counsel at employee),                  employees to           solicitation of legal           outside
         Finn Dixon Susan Dixon                 outside counsel        advice                          counsel
         & Herling  (outside                    at Finn Dixon &
         LLP)       counsel at                  Herling LLP and
                    Finn Dixon                  emails from
                    & Herling                   outside counsel
                    LLP),                       at Finn Dixon &
                    Marcia                      Herling LLP to
                    Sugrue                      Katzkin
                    (outside                    employees
                    counsel at
                    Finn Dixon
                          Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 35 of 184 PageID 16332

Bates    Identity    Identity    Date           Description            Subject Matter                  Purpose   Privilege   Present
Number   and         and                                                                                         Claimed     Location
         Position    Position of
         of Author   Recipient
                     & Herling
                     LLP), Tim
                     Clyde
                     (Katzkin
                     employee),
                     and Peter
                     Kim
                     (Katzkin
                     employee)
CLP      Brooks      Susan Dixon 3/16/2016      Thread of              Correspondence from             Legal     Attorney-   Counsel
000574   Mayberry    (outside                   multiple emails        Katzkin employee to             advice    client      for
to CLP   (Katzkin    counsel at                 from Katzkin           outside counsel re:             from      privilege   Katzkin
000576   employee)   Finn Dixon                 employees to           request for legal               outside
                     & Herling                  outside counsel        advice, copying other           counsel
                     LLP),                      at Finn Dixon &        Katzkin employees
                     Alfred                     Herling LLP and
                     Pavlis                     emails from
                     (outside                   outside counsel
                     counsel at                 at Finn Dixon &
                     Finn Dixon                 Herling LLP to
                     & Herling                  Katzkin
                     LLP),                      employees,
                     Marcia                     duplicative of
                     Sugrue                     email thread
                     (outside                   above at
                     counsel at                 CLP000571 to
                     Finn Dixon                 CLP000573
                     & Herling
                     LLP), Tim
                          Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 36 of 184 PageID 16333

Bates    Identity   Identity    Date      Description                  Subject Matter                  Purpose   Privilege   Present
Number   and        and                                                                                          Claimed     Location
         Position   Position of
         of Author  Recipient
                    Clyde
                    (Katzkin
                    employee),
                    and Peter
                    Kim
                    (Katzkin
                    employee)
CLP      Ron Leslie Brooks      March 21, Email and                    Correspondence from             Ongoing   Attorney-   Counsel
000577   (Katzkin   Mayberry    2016      attachment from              Katzkin employee to             legal     client      for
to CLP   employee)  (Katzkin              Katzkin                      Katzkin employee re:            advice    privilege   Katzkin
000581              employee),            employee                     subject of Katzkin              from
                    Susan Dixon           directed at                  request for legal               outside
                    (outside              outside counsel              advice, copying                 counsel
                    counsel at            and other                    outside counsel and
                    Finn Dixon            Katzkin                      other Katzkin
                    & Herling             employees                    employees
                    LLP), Tim             regarding
                    Clyde                 subject of
                    (Katzkin              Katzkin request
                    employee),            for legal
                    Peter Kim             advice
                    (Katzkin
                    employee),
                    Marcia
                    Sugrue
                    (outside
                    counsel at
                    Finn Dixon
                    & Herling
                          Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 37 of 184 PageID 16334

Bates    Identity    Identity    Date           Description            Subject Matter                  Purpose   Privilege   Present
Number   and         and                                                                                         Claimed     Location
         Position    Position of
         of Author   Recipient
                     LLP),
                     Alfred
                     Pavlis
                     (outside
                     counsel at
                     Finn Dixon
                     & Herling
                     LLP)
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 38 of 184 PageID 16335



                     EXHIBIT 3




                     EXHIBIT 3
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   Direction: Incoming

   Date and time: 3/18/2016 11:22

   Message: “Please call asap.”

   To/From: Dave Sheffler

   Bate Number: Katzkin008149



   Direction: Outgoing

   Date and time: 3/18/2016 11:25

   Message: “Resign. Say as little as possible “

   To/From: Dave Sheffler

   Bate Number: Katzkin008149
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                     EXHIBIT 4




                     EXHIBIT 4
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 41 of 184 PageID 16338


    From:           classicdesignleather@gmail.com
    To:             classicdesignleather@gmail.com
    Subject:        Order entry form - Ross
    Date:           Friday, March 11, 2016 10:49:18 AM




    Order Entry Form

    I've invited you to fill out the form Classic Design Response Order Form. To fill it out, visit:
    https://docs.google.com/forms/d/1FXUZxQG6qJ1-
    Mpkbxuucznjpss_t7hjtQZ_T7BJVJu4/viewform?c=0&w=1&usp=mail_form_link
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 42 of 184 PageID 16339



                     EXHIBIT 5




                     EXHIBIT 5
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 43 of 184 PageID 16340


    From:           leather classic
    To:             Ross Albert
    Subject:        Fwd: Order entry form - Ross
    Date:           Monday, March 14, 2016 4:59:16 AM




    ---------- Forwarded message ----------
    From: <classicdesignleather@gmail.com>
    Date: Friday, March 11, 2016
    Subject: Order entry form - Ross
    To: classicdesignleather@gmail.com



    Order Entry Form

    I've invited you to fill out the form Classic Design Response Order Form. To fill it out, visit:
    https://docs.google.com/forms/d/1FXUZxQG6qJ1-
    Mpkbxuucznjpss_t7hjtQZ_T7BJVJu4/viewform?c=0&w=1&usp=mail_form_link
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 44 of 184 PageID 16341
                                                                 Order Form




             Classic Design Response Order
             Form
             Order Entry Form

             * Required




             Customer/Dealership *


             Your answer




             Contact *


             Your answer




https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1   1/8
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 45 of 184 PageID 16342
                                                                 Order Form




             Date of pickup *


             Your answer




             Vehicle Year *

                   2020

                   2019

                   2018

                   2017

                   2016

                   Other:




                   Option 1




             Stock or Sold *

                   Stock

                   Sold




https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1   2/8
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 46 of 184 PageID 16343
                                                                 Order Form




             Vehicle Make *


                Choose




             Vehicle Model *


             Your answer




             Trim Level *


             Your answer




             Stock Number *


             Your answer




https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1   3/8
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 47 of 184 PageID 16344
                                                                 Order Form




             Seat Specifics

                   Bucket

                   Bench

                   Power

                   Non Power

                   Flip

                   Fold

                   Side Air Bags

                   Quad Buckets

                   Other:




https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1   4/8
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 48 of 184 PageID 16345
                                                                 Order Form




             Vehicle Type

                   1 Row

                   2 Row

                   3 Row 7 Passenger

                   3 Row 8 Passenger

                   Regular Cab

                   Crew/Quad Cab

                   Extended/ Super cab

                   Other:




             Factory Color *


             Your answer




             Classic Design Color *


             Your answer




https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1   5/8
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 49 of 184 PageID 16346
                                                                 Order Form




             Two Tone *


             Your answer




             Perforation Placement ONLY !!

                   Placement A / insert

                   Placement B / combo

                   Placement C / body

                   Placement D / center

                   CCS - Reticulated Foam Only

                   Placement X / 2 tone face

                   Other:




             Embroidery


             Your answer




https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1   6/8
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 50 of 184 PageID 16347
                                                                 Order Form




             Stitching

                   Visible

                   Contrast

                   Other:




             Stitching Thread Color


             Your answer




             Piping


             Your answer




             Special Intructions


             Your answer




             Leather Pricing to Customer


             Your answer



https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1   7/8
      Case
8/10/2020    6:18-cv-01237-WWB-GJK Document  395
                                         Classic     Filed
                                                 Design     11/02/20
                                                        Response          Page 51 of 184 PageID 16348
                                                                 Order Form




             Electronics & Safety


             Your answer




             Submit


       Never submit passwords through Google Forms.

           This content is neither created nor endorsed by Google. Report Abuse - Terms of Service - Privacy
                                                         Policy


                                                                     Forms




https://docs.google.com/forms/d/e/1FAIpQLScyIE6SfTKyxgr9mDNa-nvacaBIfUV9MjM2BMiWhvQanKlvRg/viewform?c=0&w=1    8/8
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 52 of 184 PageID 16349



                     EXHIBIT 6




                     EXHIBIT 6
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 53 of 184 PageID 16350


    From:                 leather classic
    To:                   Jpheld@hotmail.com
    Subject:              Fwd: Classic Design Board Response - Invitation to edit
    Date:                 Saturday, March 19, 2016 8:14:31 AM




    ---------- Forwarded message ----------
    From: leather classic (via Google Sheets) <classicdesignleather@gmail.com>
    Date: Friday, March 11, 2016
    Subject: Classic Design Board Response - Invitation to edit
    To: classicdesignleather@gmail.com




                   leather classic has invited you to edit the following spreadsheet:

                         Classic Design Board Response


                     Open in Sheets




               Google Sheets: Create and edit spreadsheets online.
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                     EXHIBIT 7




                     EXHIBIT 7
                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 56 of 184 PageID 16353
2986012.005                                                                (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes      Apn            IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
1      03/14/16 22:05:49 14077480132         0:12           0           0 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [180033545:703256:-80.69117:28.35883:120:-
                                                                            hone                                                         1.0]
2      03/14/16 22:06:00 14077480132         0:01           0           0 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [180033545:703256:-80.69117:28.35883:120:-
                                                                                                                                         1.0]
3      03/14/16 22:06:08 14077480132        60:00    23022       41426 nxtgenp      3520170716611011   310410878641885   APPLE   IPHONE6 [180033545:703256:-80.69117:28.35883:120:-
                                                                         hone                                                            1.0,
                                                                                                                                         180033538:703256:-80.69117:28.35883:120:-
                                                                                                                                         1.0,
                                                                                                                                         180033545:703256:-80.69117:28.35883:120:-
                                                                                                                                         1.0,
                                                                                                                                         181594377:709353:-
                                                                                                                                         80.6537194:28.3592806:120:-1.0,
                                                                                                                                         179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                         1.0]
4      03/14/16 22:06:09 14077480132        60:00    39145       34355     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [180033545:703256:-80.69117:28.35883:120:-
                                                                                                                                         1.0,
                                                                                                                                         180033538:703256:-80.69117:28.35883:120:-
                                                                                                                                         1.0,
                                                                                                                                         180033545:703256:-80.69117:28.35883:120:-
                                                                                                                                         1.0,
                                                                                                                                         181594377:709353:-
                                                                                                                                         80.6537194:28.3592806:120:-1.0,
                                                                                                                                         179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                         1.0]
5      03/14/16 23:06:08 14077480132        60:00       618         210 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                           1.0]
6      03/14/16 23:06:09 14077480132        60:00      5624        2680 ims         3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                         1.0]
7      03/15/16 00:06:08 14077480132        60:00       450         210 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                           1.0]
8      03/15/16 00:06:09 14077480132        60:00      5640        2680 ims         3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                         1.0]
9      03/15/16 01:06:08 14077480132        60:00       615         315 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                           1.0]
10     03/15/16 01:06:09 14077480132        60:00      8444        4020 ims         3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                         1.0]
11     03/15/16 02:06:08 14077480132        60:00      1090         840 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                           1.0]
12     03/15/16 02:06:09 14077480132        60:00      5640        2680 ims         3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                         1.0]
13     03/15/16 03:06:08 14077480132        60:00       410         210 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                           1.0]
14     03/15/16 03:06:09 14077480132        60:00      8460        4336 ims         3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                         1.0]



                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                       Page 1
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

                              The information contained here is for use by authorized persons only and is not for general distribution.
                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 57 of 184 PageID 16354
2986012.005                                                            (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
15     03/15/16 04:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
16     03/15/16 04:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
17     03/15/16 05:06:08 14077480132        60:00       615       315 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
18     03/15/16 05:06:09 14077480132        60:00      8444      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
19     03/15/16 06:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
20     03/15/16 06:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
21     03/15/16 07:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
22     03/15/16 07:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
23     03/15/16 08:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
24     03/15/16 08:06:09 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
25     03/15/16 09:06:08 14077480132        60:00       615       315 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
26     03/15/16 09:06:09 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
27     03/15/16 10:06:08 14077480132        60:00      1832      8554 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
28     03/15/16 10:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
29     03/15/16 11:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
30     03/15/16 11:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
31     03/15/16 12:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
32     03/15/16 12:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
33     03/15/16 13:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
34     03/15/16 13:06:09 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
35     03/15/16 14:06:08 14077480132        60:00    16463     88613 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                       hone                                                          1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 2
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 58 of 184 PageID 16355
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
36     03/15/16 14:06:09 14077480132        60:00      8460      4020   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
37     03/15/16 15:06:08 14077480132        60:00      3039      8095 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
38     03/15/16 15:06:09 14077480132        60:00      7456      4780 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
39     03/15/16 16:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
40     03/15/16 16:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
41     03/15/16 17:06:08 14077480132        60:00       615       315 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
42     03/15/16 17:06:09 14077480132        60:00      8444      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
43     03/15/16 18:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
44     03/15/16 18:06:09 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
45     03/15/16 19:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
46     03/15/16 19:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
47     03/15/16 20:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
48     03/15/16 20:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
49     03/15/16 21:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
50     03/15/16 21:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
51     03/15/16 22:06:08 14077480132        60:00    32400    177791 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                       hone                                                          1.0]
52     03/15/16 22:06:09 14077480132        60:00      5624     2680 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
53     03/15/16 23:06:08 14077480132        60:00       615       315 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
54     03/15/16 23:06:09 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
55     03/16/16 00:06:08 14077480132        60:00      6490   101135 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                       hone                                                          1.0]
56     03/16/16 00:06:09 14077480132        60:00      8460     4228 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 3
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 59 of 184 PageID 16356
2986012.005                                                            (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
57     03/16/16 01:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
58     03/16/16 01:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
59     03/16/16 02:06:08 14077480132        60:00      1090       840 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
60     03/16/16 02:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
61     03/16/16 03:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
62     03/16/16 03:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
63     03/16/16 04:06:08 14077480132        60:00       615       315 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
64     03/16/16 04:06:09 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
65     03/16/16 05:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
66     03/16/16 05:06:09 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
67     03/16/16 06:06:08 14077480132        60:00      1884      8564 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
68     03/16/16 06:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
69     03/16/16 07:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
70     03/16/16 07:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
71     03/16/16 08:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
72     03/16/16 08:06:09 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
73     03/16/16 09:06:08 14077480132        60:00       615       315 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
74     03/16/16 09:06:09 14077480132        60:00      8444      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
75     03/16/16 10:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]
76     03/16/16 10:06:09 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                     1.0]
77     03/16/16 11:06:08 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                        hone                                                         1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
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                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 4
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 60 of 184 PageID 16357
2986012.005                                                                 (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes       Apn         IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
78     03/16/16 11:06:09 14077480132        60:00      5640        2680     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
79     03/16/16 12:06:08 14077480132        60:00       410         210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                         1.0]
80     03/16/16 12:06:09 14077480132        60:00      5640        2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
81     03/16/16 13:06:08 14077480132        60:00       410         210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                         1.0]
82     03/16/16 13:06:09 14077480132        60:00      5640        2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
83     03/16/16 14:06:08 14077480132        60:00       410         210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                         1.0]
84     03/16/16 14:06:09 14077480132        60:00      5640        2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
85     03/16/16 15:06:08 14077480132        60:00       615         315 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                         1.0]
86     03/16/16 15:06:09 14077480132        60:00      8460        4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
87     03/16/16 16:06:08 14077480132        60:00       410         210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                         1.0]
88     03/16/16 16:06:09 14077480132        60:00      8460        4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
89     03/16/16 17:06:08 14077480132        60:00       410         210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                         1.0]
90     03/16/16 17:06:09 14077480132        60:00      5624        2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
91     03/16/16 18:06:08 14077480132        60:00       410         210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                          hone                                                         1.0]
92     03/16/16 18:06:09 14077480132        60:00      5640        2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0]
93     03/16/16 19:06:08 14077480132        56:51      3438      17129 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                         hone                                                          1.0,
                                                                                                                                       180033545:703256:-80.69117:28.35883:120:-
                                                                                                                                       1.0,
                                                                                                                                       180001553:703131:-80.81728:28.38445:240:-
                                                                                                                                       1.0]
94     03/16/16 19:06:09 14077480132        56:50      8460        4020     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179971849:703015:-80.613858:28.357458:120:-
                                                                                                                                       1.0,
                                                                                                                                       180033545:703256:-80.69117:28.35883:120:-
                                                                                                                                       1.0,
                                                                                                                                       180001553:703131:-80.81728:28.38445:240:-
                                                                                                                                       1.0]
95     03/16/16 20:02:59 14077480132         1:50           0           0   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [27394/21122:-80.968335:28.453389:120:-1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                     Page 5
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 61 of 184 PageID 16358
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
96     03/16/16 20:02:59 14077480132         1:50      8946    12689 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [27394/21122:-80.968335:28.453389:120:-1.0]
                                                                       hone
97     03/16/16 20:04:49 14077480132        60:00    13960    206247 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179484688:701112:-80.96839:28.45336:120:-
                                                                       hone                                                          1.0,
                                                                                                                                     179459336:701013:-81.24861:28.52806:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
98     03/16/16 20:04:49 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179484688:701112:-80.96839:28.45336:120:-
                                                                                                                                     1.0,
                                                                                                                                     179459336:701013:-81.24861:28.52806:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
99     03/16/16 21:04:49 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                        hone                                                         1.0]
100    03/16/16 21:04:49 14077480132        60:00      8444      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
101    03/16/16 22:04:49 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
102    03/16/16 22:04:49 14077480132        60:00      9250    47327 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                       hone                                                          1.0]
103    03/16/16 23:04:49 14077480132        60:00       410      210 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                       hone                                                          1.0]
104    03/16/16 23:04:49 14077480132        60:00      5640     2680 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
105    03/17/16 00:04:49 14077480132        60:00      3096      9152 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                        hone                                                         1.0]
106    03/17/16 00:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
107    03/17/16 01:04:49 14077480132        60:00    14196       9360   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
108    03/17/16 01:04:49 14077480132        60:00    31675    134266 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                       hone                                                          1.0,
                                                                                                                                     179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
109    03/17/16 01:20:12 14077480132         0:16    17652     24488    ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
110    03/17/16 02:04:49 14077480132        60:00      2392    11359 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 6
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 62 of 184 PageID 16359
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
111    03/17/16 02:04:49 14077480132        60:00      8460      4336   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
112    03/17/16 03:04:49 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
113    03/17/16 03:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
114    03/17/16 04:04:49 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
115    03/17/16 04:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
116    03/17/16 05:04:49 14077480132        60:00       462       302 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
117    03/17/16 05:04:49 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
118    03/17/16 06:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
119    03/17/16 06:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
120    03/17/16 07:04:49 14077480132        60:00      7492    29727 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0]
121    03/17/16 07:04:49 14077480132        60:00      8460     4228 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
122    03/17/16 08:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
123    03/17/16 08:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
124    03/17/16 09:04:49 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
125    03/17/16 09:04:49 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
126    03/17/16 10:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
127    03/17/16 10:04:49 14077480132        60:00      5624      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
128    03/17/16 11:04:49 14077480132        60:00      1548      5332 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
129    03/17/16 11:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
130    03/17/16 12:04:49 14077480132        60:00      2242      5949 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
131    03/17/16 12:04:49 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 7
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 63 of 184 PageID 16360
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
132    03/17/16 13:04:49 14077480132        60:00      3390     19440 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
133    03/17/16 13:04:49 14077480132        60:00      7440      4764 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
134    03/17/16 14:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
135    03/17/16 14:04:49 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
136    03/17/16 15:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
137    03/17/16 15:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
138    03/17/16 16:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
139    03/17/16 16:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
140    03/17/16 17:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
141    03/17/16 17:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
142    03/17/16 18:04:49 14077480132        60:00    23964      17136   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
143    03/17/16 18:04:49 14077480132        60:00   269454    1262038 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
144    03/17/16 18:40:41 14077480132         0:16    35467      34199   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
145    03/17/16 19:04:49 14077480132        60:00   119348    2036509 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
146    03/17/16 19:04:49 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 8
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 64 of 184 PageID 16361
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
147    03/17/16 20:04:49 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
148    03/17/16 20:04:49 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
149    03/17/16 21:04:49 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
150    03/17/16 21:04:49 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
151    03/17/16 22:04:49 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
152    03/17/16 22:04:49 14077480132        60:00      9339     49767 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
153    03/17/16 23:04:49 14077480132        60:00      1679      8062 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
154    03/17/16 23:04:49 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
155    03/18/16 00:04:49 14077480132        60:00      2179      5817 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
156    03/18/16 00:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
157    03/18/16 01:04:49 14077480132        60:00       462       302 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
158    03/18/16 01:04:49 14077480132        60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
159    03/18/16 02:04:49 14077480132        60:00    13496       9876   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
160    03/18/16 02:04:49 14077480132        60:00   773974    1152100 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
161    03/18/16 02:56:05 14077480132         0:01      2267      4692 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
162    03/18/16 03:04:49 14077480132        60:00      2097      6157 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
163    03/18/16 03:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
164    03/18/16 04:04:49 14077480132        60:00    62601      52655 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
165    03/18/16 04:04:49 14077480132        60:00      8460      4228 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]



                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 9
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 65 of 184 PageID 16362
2986012.005                                                            (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
166    03/18/16 05:04:49 14077480132        60:00       494      1035 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
167    03/18/16 05:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
168    03/18/16 06:04:49 14077480132        60:00       309       289 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
169    03/18/16 06:04:49 14077480132        60:00      8444      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
170    03/18/16 07:04:49 14077480132        60:00       257       197 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
171    03/18/16 07:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
172    03/18/16 08:04:49 14077480132        60:00       447       694 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0]
173    03/18/16 08:04:49 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
174    03/18/16 09:04:49 14077480132        48:41   233312    3206795 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179460616:701018:-81.53722:28.54889:0:-1.0,
                                                                                                                                     181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                     1.0,
                                                                                                                                     179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                     1.0,
                                                                                                                                     179465482:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                     179483393:701107:-81.4184:28.50584:0:-1.0,
                                                                                                                                     179467793:701046:-81.41132:28.5475:270:-1.0,
                                                                                                                                     179487247:701122:-81.39775:28.53367:60:-1.0,
                                                                                                                                     179482383:701103:-81.38349:28.5505:0:-1.0,
                                                                                                                                     179490313:701134:-81.38389:28.59417:120:-
                                                                                                                                     1.0,
                                                                                                                                     179491343:701138:-81.39288:28.608683:0:-1.0,
                                                                                                                                     181519376:709060:-81.4:28.629:120:-1.0,
                                                                                                                                     179503625:701186:-81.39914:28.6424:120:-1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 10
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                               MOBILITY
                              Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 66 of 184 PageID 16363
2986012.005                                                             (with cell location)
09/26/2020                         AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                   AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                   UTC.


Run Date:                  09/27/2020
Run Time:                  01:16:28
Data Usage For:            (407)748-0132

Item    Conn.      Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date       Time         Number                Up        Dn
                   (UTC)
175    03/18/16 09:04:49 14077480132         60:00    81776     61728   ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                      1.0,
                                                                                                                                      179467793:701046:-81.41132:28.5475:270:-1.0,
                                                                                                                                      179487247:701122:-81.39775:28.53367:60:-1.0,
                                                                                                                                      179490313:701134:-81.38389:28.59417:120:-
                                                                                                                                      1.0,
                                                                                                                                      179490319:701134:-81.38389:28.59417:0:-1.0,
                                                                                                                                      181590544:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0,
                                                                                                                                      179491343:701138:-81.39288:28.608683:0:-1.0,
                                                                                                                                      181519376:709060:-81.4:28.629:120:-1.0,
                                                                                                                                      179503625:701186:-81.39914:28.6424:120:-1.0,
                                                                                                                                      179476232:701079:-81.38953:28.68067:0:-1.0]
176    03/18/16 09:47:52 14077480132          0:46   110309     95831   ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179490319:701134:-81.38389:28.59417:0:-1.0]
177    03/18/16 09:48:50 14077480132          0:29    32231     37055   ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179491343:701138:-81.39288:28.608683:0:-
                                                                                                                                      1.0]
178    03/18/16 09:49:31 14077480132          0:20    23101     41342 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [181519376:709060:-81.4:28.629:120:-1.0]
179    03/18/16 09:53:30 14077480132          0:29    18922     60052 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179476232:701079:-81.38953:28.68067:0:-1.0]
180    03/18/16 09:53:30 14077480132         60:00     3155     16149 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179476232:701079:-81.38953:28.68067:0:-1.0,
                                                                        hone                                                          179531784:701296:-81.3429:28.7139:0:-1.0]
181    03/18/16   09:54:02   14077480132      0:21    16649     23572 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179476232:701079:-81.38953:28.68067:0:-1.0]
182    03/18/16   09:54:38   14077480132      0:26    20263     25818 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179476232:701079:-81.38953:28.68067:0:-1.0]
183    03/18/16   09:55:08   14077480132      0:10    17695     18101 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179476232:701079:-81.38953:28.68067:0:-1.0]
184    03/18/16   10:04:49   14077480132     60:00     8460      4020 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179466250:701040:-81.3575:28.69694:240:-
                                                                                                                                      1.0,
                                                                                                                                      179531784:701296:-81.3429:28.7139:0:-1.0]
185    03/18/16 10:53:30 14077480132         60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179531784:701296:-81.3429:28.7139:0:-1.0]
                                                                         hone
186    03/18/16 11:04:49 14077480132         60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179531784:701296:-81.3429:28.7139:0:-1.0]
187    03/18/16 11:53:30 14077480132         60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179531784:701296:-81.3429:28.7139:0:-1.0]
                                                                         hone
188    03/18/16 12:04:49 14077480132         60:00      8460      4020 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179531784:701296:-81.3429:28.7139:0:-1.0]
189    03/18/16 12:53:30 14077480132         60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179531784:701296:-81.3429:28.7139:0:-1.0]
                                                                         hone
190    03/18/16 13:04:49 14077480132         60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179531784:701296:-81.3429:28.7139:0:-1.0,
                                                                                                                                      179466248:701040:-81.3575:28.6969389:0:-1.0]
191    03/18/16 13:53:30 14077480132         59:09      9199    51571 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179531784:701296:-81.3429:28.7139:0:-1.0,
                                                                        hone                                                          179466248:701040:-81.3575:28.6969389:0:-1.0,
                                                                                                                                      179465481:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                      179481601:701100:-81.400563:28.542976:0:-
                                                                                                                                      1.0]




                                                                              AT&T Proprietary
                                                   The AT&T network constantly communicates with internet enabled devices
                                               when they are powered on. These communications will show as data usage on the
                                            customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 11
                                             AT&T does not retain records that can definitively show whether a transaction was
                                                    customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 67 of 184 PageID 16364
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
192    03/18/16 14:04:49 14077480132        47:50      8460      4228   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179466248:701040:-81.3575:28.6969389:0:-
                                                                                                                                     1.0,
                                                                                                                                     179465481:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                     179481601:701100:-81.400563:28.542976:0:-
                                                                                                                                     1.0]
193    03/18/16 14:52:39 14077480132        60:00      3261      4081 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179459088:701012:-81.4257:28.56693:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179467793:701046:-81.41132:28.5475:270:-1.0,
                                                                                                                                     179531786:701296:-81.3429:28.7139:240:-1.0]
194    03/18/16 14:52:42 14077480132        60:00    12697       8870   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179467793:701046:-81.41132:28.5475:270:-
                                                                                                                                     1.0,
                                                                                                                                     179531784:701296:-81.3429:28.7139:0:-1.0,
                                                                                                                                     179531786:701296:-81.3429:28.7139:240:-1.0]
195    03/18/16 15:52:39 14077480132        60:00       205       157 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179476232:701079:-81.38953:28.68067:0:-1.0,
                                                                        hone                                                         179467786:701046:-81.41132:28.5475:270:-1.0]
196    03/18/16 15:52:42 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179476232:701079:-81.38953:28.68067:0:-1.0,
                                                                                                                                     179456264:701001:-81.38378:28.52581:0:-1.0,
                                                                                                                                     179459081:701012:-81.4257:28.56693:120:-1.0,
                                                                                                                                     179467786:701046:-81.41132:28.5475:270:-1.0]
197    03/18/16 16:52:39 14077480132        60:00      3267    19077 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179459081:701012:-81.4257:28.56693:120:-
                                                                       hone                                                          1.0,
                                                                                                                                     179519512:701248:-81.71889:28.54694:240:-
                                                                                                                                     1.0]
198    03/18/16 16:52:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179459081:701012:-81.4257:28.56693:120:-
                                                                                                                                     1.0,
                                                                                                                                     179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179519512:701248:-81.71889:28.54694:240:-
                                                                                                                                     1.0]
199    03/18/16 17:52:39 14077480132        60:00      3191    16236 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179519512:701248:-81.71889:28.54694:240:-
                                                                       hone                                                          1.0]
200    03/18/16 17:52:42 14077480132        60:00      5640     2680 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179519512:701248:-81.71889:28.54694:240:-
                                                                                                                                     1.0,
                                                                                                                                     181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                     1.0,
                                                                                                                                     179519512:701248:-81.71889:28.54694:240:-
                                                                                                                                     1.0]
201    03/18/16 18:52:39 14077480132        60:00    28704     70097 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179519512:701248:-81.71889:28.54694:240:-
                                                                       hone                                                          1.0,
                                                                                                                                     181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                     1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 12
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 68 of 184 PageID 16365
2986012.005                                                               (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes     Apn          IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
202    03/18/16 18:52:42 14077480132        60:00   101884       83924    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593090:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0,
                                                                                                                                      179519512:701248:-81.71889:28.54694:240:-
                                                                                                                                      1.0,
                                                                                                                                      181593090:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0,
                                                                                                                                      181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
203    03/18/16 19:13:19 14077480132         0:11    27276       28509    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179519512:701248:-81.71889:28.54694:240:-
                                                                                                                                      1.0]
204    03/18/16 19:28:52 14077480132         0:03      3422        9652   ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
205    03/18/16 19:29:13 14077480132         1:00   160679       97130    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
206    03/18/16 19:30:36 14077480132         0:04           0      1765   ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
207    03/18/16 19:31:34 14077480132         2:53   477773      408185    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
208    03/18/16 19:41:44 14077480132         2:14   212553      164160    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
209    03/18/16 19:44:24 14077480132         0:53    74793      100777    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
210    03/18/16 19:47:40 14077480132         0:04      2319      14545    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
211    03/18/16 19:48:18 14077480132         6:03   626306      339373    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
212    03/18/16 19:52:39 14077480132        60:00    10198       14455 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                         hone                                                         1.0]
213    03/18/16 19:52:42 14077480132        60:00    55296       41356 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0,
                                                                                                                                      181593104:709348:-
                                                                                                                                      81.7188889:28.5469389:120:-1.0,
                                                                                                                                      179550473:701369:-81.64736:28.54817:120:-
                                                                                                                                      1.0,
                                                                                                                                      179486474:701119:-81.59389:28.55861:240:-
                                                                                                                                      1.0,
                                                                                                                                      181534473:709119:-
                                                                                                                                      81.5938889:28.5586111:120:-1.0]
214    03/18/16 20:00:29 14077480132         1:43   200432      271772    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [181593111:709348:-81.71889:28.54694:120:-
                                                                                                                                      1.0]
215    03/18/16 20:43:34 14077480132         0:12    14593       30370    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179550473:701369:-81.64736:28.54817:120:-
                                                                                                                                      1.0]
216    03/18/16 20:44:44 14077480132         2:53   484984      513549    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179550473:701369:-81.64736:28.54817:120:-
                                                                                                                                      1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                    Page 13
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 69 of 184 PageID 16366
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
217    03/18/16 20:48:55 14077480132         1:59   282217     225028   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179486474:701119:-81.59389:28.55861:240:-
                                                                                                                                     1.0]
218    03/18/16 20:52:39 14077480132        48:04   479754 19521144 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [181534473:709119:-
                                                                      hone                                                           81.5938889:28.5586111:120:-1.0,
                                                                                                                                     179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
219    03/18/16 20:52:42 14077480132        60:00    53424      47280   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [181534473:709119:-
                                                                                                                                     81.5938889:28.5586111:120:-1.0,
                                                                                                                                     179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
220    03/18/16 21:24:06 14077480132         2:17   244818     410430   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
221    03/18/16 21:27:52 14077480132         2:09   305945     327319   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
222    03/18/16 21:32:42 14077480132         4:01   798037     561293   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
223    03/18/16 21:37:01 14077480132         0:29      6748     28895   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
224    03/18/16 21:40:43 14077480132         3:33   520448 19484070 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                      hone                                                           1.0,
                                                                                                                                     179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
225    03/18/16 21:44:16 14077480132         6:19    414249 19589881 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0]
226    03/18/16 21:50:35 14077480132         3:36   2769927 17241238 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0]
227    03/18/16 21:52:42 14077480132        60:00    148016   120772 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
228    03/18/16 21:54:11 14077480132        60:00   970257    5825788 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
229    03/18/16 22:05:33 14077480132         2:54   433675     437381   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]



                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 14
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 70 of 184 PageID 16367
2986012.005                                                               (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:28
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
230    03/18/16 22:11:40 14077480132         0:22     54274       40883   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
231    03/18/16 22:12:41 14077480132         1:17    203903      178857   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
232    03/18/16 22:15:54 14077480132         2:16    475962      273440   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
233    03/18/16 22:18:33 14077480132         3:25    502067      703482   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
234    03/18/16 22:24:30 14077480132         2:35    307734      475680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
235    03/18/16 22:33:17 14077480132         3:24    596606      526973   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
236    03/18/16 22:44:01 14077480132         0:38     16916       84415   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
237    03/18/16 22:45:41 14077480132         2:34    235065      391768   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
238    03/18/16 22:48:19 14077480132         0:24      2812       12872   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
239    03/18/16 22:49:03 14077480132         0:23     39087       46729   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
240    03/18/16 22:50:12 14077480132         0:04           0      2390   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
241    03/18/16 22:50:59 14077480132         0:33     24380       68942   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
242    03/18/16 22:52:26 14077480132         2:03    300485      360481   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
243    03/18/16 22:52:42 14077480132        17:53     42408       39092   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0,
                                                                                                                                       179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
244    03/18/16 22:54:11 14077480132        16:27   2004191     1625488 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0]
245    03/18/16 22:54:37 14077480132         0:05           0      7370 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
246    03/18/16 22:54:48 14077480132         0:04           0      3899   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
247    03/18/16 22:55:33 14077480132         0:03           0      3455   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
248    03/18/16 22:55:48 14077480132         0:03           0      1314   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
249    03/18/16 22:57:36 14077480132         1:18    227200      184702   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]



                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                     Page 15
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 71 of 184 PageID 16368
2986012.005                                                               (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
250    03/18/16 23:16:40 14077480132        60:00   1449045     5614843 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0]
251    03/18/16 23:16:42 14077480132        60:00     45873       37950 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0,
                                                                                                                                       179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
252    03/18/16 23:26:39 14077480132         2:51    534450      402556   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
253    03/18/16 23:47:35 14077480132         7:37   1773758      584904   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
254    03/18/16 23:57:49 14077480132         0:47    104144       84471   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
255    03/19/16 00:04:11 14077480132         0:13           0     19549   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
256    03/19/16 00:16:40 14077480132        60:00   1065628     5594820 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0,
                                                                                                                                       179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
257    03/19/16 00:16:42 14077480132        60:00     29804       26624   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0,
                                                                                                                                       179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0,
                                                                                                                                       179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
258    03/19/16 00:26:28 14077480132         0:06           0     10790   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
259    03/19/16 00:27:23 14077480132         0:21           0     34908   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
260    03/19/16 00:30:37 14077480132         0:20           0     34111   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
261    03/19/16 00:34:30 14077480132         1:29    229377      229846   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
262    03/19/16 01:16:40 14077480132        60:00     16185       69665 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0,
                                                                                                                                       179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
263    03/19/16 01:16:42 14077480132        60:00      5640        2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
264    03/19/16 02:16:40 14077480132        60:00      5576        7978 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0,
                                                                                                                                       179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                     Page 16
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 72 of 184 PageID 16369
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
265    03/19/16 02:16:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
266    03/19/16 03:16:40 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
267    03/19/16 03:16:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
268    03/19/16 04:16:40 14077480132        60:00      2943       209 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
269    03/19/16 04:16:42 14077480132        60:00    11280       5676   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
270    03/19/16 05:16:40 14077480132        60:00       410       262 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
271    03/19/16 05:16:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
272    03/19/16 06:16:40 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
273    03/19/16 06:16:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
274    03/19/16 07:16:40 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
275    03/19/16 07:16:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
276    03/19/16 08:16:40 14077480132        60:00      6868      7912 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
277    03/19/16 08:16:42 14077480132        60:00    11280       5568   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
278    03/19/16 09:16:40 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
279    03/19/16 09:16:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 17
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 73 of 184 PageID 16370
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
280    03/19/16 10:16:40 14077480132        60:00       205       105 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
281    03/19/16 10:16:42 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
282    03/19/16 11:16:40 14077480132        60:00     53967    142058 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
283    03/19/16 11:16:42 14077480132        60:00     51356     38608   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
284    03/19/16 11:42:46 14077480132         2:11    326477    340701   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
285    03/19/16 11:45:20 14077480132         0:33     81947     64196   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
286    03/19/16 11:46:42 14077480132         7:42   1234346   1721786   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
287    03/19/16 12:01:32 14077480132         0:56    119731    127495   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
288    03/19/16 12:03:10 14077480132         0:39     70445    128217   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
289    03/19/16 12:16:40 14077480132        60:00    107445    159295 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470088:701055:-
                                                                                                                                     81.5050306:28.5173889:345:-1.0,
                                                                                                                                     181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                     1.0,
                                                                                                                                     179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                     1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 18
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 74 of 184 PageID 16371
2986012.005                                                            (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes    Bytes     Apn         IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up       Dn
                  (UTC)
290    03/19/16 12:16:42 14077480132        60:00    72856     64804   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                  1.0,
                                                                                                                                  179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                  1.0,
                                                                                                                                  179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                  1.0,
                                                                                                                                  179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                  1.0,
                                                                                                                                  179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                  1.0,
                                                                                                                                  179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                  1.0,
                                                                                                                                  181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                  1.0,
                                                                                                                                  179470088:701055:-
                                                                                                                                  81.5050306:28.5173889:345:-1.0,
                                                                                                                                  179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                  1.0,
                                                                                                                                  179465482:701037:-81.45358:28.55047:0:-1.0]
291    03/19/16 12:46:14 14077480132         2:21   555230    225473   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                  1.0,
                                                                                                                                  179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                  1.0]
292    03/19/16 12:50:09 14077480132         8:54   818247   2106323   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                  1.0,
                                                                                                                                  179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                  1.0]
293    03/19/16 13:05:09 14077480132         0:49    48501    143198   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                  1.0,
                                                                                                                                  179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                  1.0]
294    03/19/16 13:07:40 14077480132         2:15   325089    353934   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                  1.0,
                                                                                                                                  181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                  1.0]
295    03/19/16 13:11:48 14077480132         1:33   237740    178355   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470088:701055:-
                                                                                                                                  81.5050306:28.5173889:345:-1.0,
                                                                                                                                  181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                  1.0,
                                                                                                                                  179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                  1.0]
296    03/19/16 13:14:02 14077480132         0:31    23389     73424   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                  1.0]
297    03/19/16 13:14:38 14077480132         2:16   414419    345775   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                  1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                Page 19
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 75 of 184 PageID 16372
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
298    03/19/16 13:16:40 14077480132        13:56   462476 19537927 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179465482:701037:-81.45358:28.55047:0:-1.0,
                                                                      hone                                                           179465480:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                     179465481:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                     179459082:701012:-81.4257:28.56693:240:-1.0,
                                                                                                                                     179459081:701012:-81.4257:28.56693:120:-1.0,
                                                                                                                                     179467786:701046:-81.41132:28.5475:270:-1.0,
                                                                                                                                     179467784:701046:-81.41132:28.5475:30:-1.0,
                                                                                                                                     179459081:701012:-81.4257:28.56693:120:-1.0]
299    03/19/16 13:16:42 14077480132        60:00   124520     113044   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179465482:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                     179465480:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                     179465481:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                     179467786:701046:-81.41132:28.5475:270:-1.0,
                                                                                                                                     179467784:701046:-81.41132:28.5475:30:-1.0,
                                                                                                                                     179459081:701012:-81.4257:28.56693:120:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
300    03/19/16 13:17:09 14077480132         2:06   375586     395163   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179465480:701037:-81.45358:28.55047:0:-1.0]
301    03/19/16 13:19:54 14077480132         0:24    59690      32536   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179465481:701037:-81.45358:28.55047:0:-1.0]
302    03/19/16 13:21:35 14077480132         1:34   263410     232358   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179467786:701046:-81.41132:28.5475:270:-
                                                                                                                                     1.0,
                                                                                                                                     179459081:701012:-81.4257:28.56693:120:-1.0,
                                                                                                                                     179467786:701046:-81.41132:28.5475:270:-1.0]
303    03/19/16 13:26:37 14077480132         0:13      9136     35328   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179459081:701012:-81.4257:28.56693:120:-
                                                                                                                                     1.0]
304    03/19/16 13:26:54 14077480132         0:28    59613      95466   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179459081:701012:-81.4257:28.56693:120:-
                                                                                                                                     1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
305    03/19/16 13:30:36 14077480132         0:04   211971 19788902 nxtgenp     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                      hone                                                           1.0,
                                                                                                                                     179459081:701012:-81.4257:28.56693:120:-1.0]
306    03/19/16 13:30:40 14077480132        60:00   241108    9042975 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                        hone                                                         1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 20
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 76 of 184 PageID 16373
2986012.005                                                               (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes     Apn         IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
307    03/19/16 13:33:07 14077480132         0:13    23281       23553    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
308    03/19/16 13:40:48 14077480132         0:40   124085      116899    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
309    03/19/16 13:53:34 14077480132         0:51   193054      104220    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
310    03/19/16 13:55:00 14077480132         0:02         0        603    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
311    03/19/16 13:55:17 14077480132         0:07      9194      11155    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
312    03/19/16 13:55:33 14077480132         0:07           0      2742   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
313    03/19/16 13:58:26 14077480132         0:13    33848       34752    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
314    03/19/16 14:14:36 14077480132         0:48    78321       25854    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
315    03/19/16 14:15:43 14077480132         0:26      2185      13162    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
316    03/19/16 14:16:31 14077480132         1:48   372005      303677    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
317    03/19/16 14:16:42 14077480132        60:00    84892       68504    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470353:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0]
318    03/19/16 14:26:03 14077480132         0:33    79321       67429    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
319    03/19/16 14:26:54 14077480132         0:31   118795       58931    ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 21
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 77 of 184 PageID 16374
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
320    03/19/16 14:30:40 14077480132        45:30   1237042   5336893 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                        hone                                                         1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0]
321    03/19/16 14:34:24 14077480132         2:27    427113    267940   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
322    03/19/16 14:43:38 14077480132         3:55    577202    619840   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
323    03/19/16 14:56:24 14077480132         0:32     59628     80965   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
324    03/19/16 14:57:02 14077480132         0:32     92475     78866   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
325    03/19/16 15:02:41 14077480132         0:29     38829     79376   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]
326    03/19/16 15:07:44 14077480132         1:31    302575    191749 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
327    03/19/16 15:16:10 14077480132        44:38   4045247   4294741 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                        hone                                                         1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0,
                                                                                                                                     179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                     179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                     1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 22
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                               MOBILITY
                              Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 78 of 184 PageID 16375
2986012.005                                                            (with cell location)
09/26/2020                         AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                   AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                   UTC.


Run Date:                  09/27/2020
Run Time:                  01:16:29
Data Usage For:            (407)748-0132

Item    Conn.      Conn.      Originating    ET      Bytes    Bytes    Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date       Time         Number                Up       Dn
                   (UTC)
328    03/19/16 15:16:42 14077480132         60:00   110920    91808   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0,
                                                                                                                                    179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                    179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0,
                                                                                                                                    179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                    179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0,
                                                                                                                                    179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                    179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0,
                                                                                                                                    179470344:701056:-81.40883:28.57536:0:-1.0]
329    03/19/16 15:30:38 14077480132          0:13     7279    42294   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
330    03/19/16 15:38:40 14077480132          0:37    88539    90268   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0]
331    03/19/16 15:44:55 14077480132          0:25    44029    92028   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0]
332    03/19/16 15:56:11 14077480132          0:51   137436    95924   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0]
333    03/19/16 16:00:15 14077480132          0:20    37033    40980   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0]
334    03/19/16 16:00:48 14077480132         60:00   121491   186092 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                       hone                                                         179470346:701056:-81.40883:28.57536:240:-
                                                                                                                                    1.0,
                                                                                                                                    179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                    179467791:701046:-81.41132:28.5475:30:-1.0,
                                                                                                                                    179465488:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                    179465487:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                    181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                    1.0]
335    03/19/16   16:00:49   14077480132      1:57   349323   394447   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
336    03/19/16   16:03:20   14077480132      0:30    95481   106485   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
337    03/19/16   16:04:05   14077480132      1:54   349085   200048   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
338    03/19/16   16:06:12   14077480132      0:18    66627    38890   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
339    03/19/16   16:06:42   14077480132      0:17    48360    38799   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
340    03/19/16   16:11:19   14077480132      1:26   277138    96460   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]




                                                                              AT&T Proprietary
                                                   The AT&T network constantly communicates with internet enabled devices
                                               when they are powered on. These communications will show as data usage on the
                                            customer records but do not necessarily indicate a customer initiated a transaction.                                 Page 23
                                             AT&T does not retain records that can definitively show whether a transaction was
                                                    customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 79 of 184 PageID 16376
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn         IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
341    03/19/16 16:16:42 14077480132        60:00     79176     70344   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                   179467791:701046:-81.41132:28.5475:30:-1.0,
                                                                                                                                   179465488:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                   181534210:709118:-81.53722:28.54889:120:-
                                                                                                                                   1.0,
                                                                                                                                   179465488:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                   179465487:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                   179478800:701089:-81.47111:28.55139:120:-
                                                                                                                                   1.0,
                                                                                                                                   179478801:701089:-81.47111:28.55139:240:-
                                                                                                                                   1.0,
                                                                                                                                   181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                   1.0,
                                                                                                                                   179460616:701018:-81.53722:28.54889:0:-1.0]
342    03/19/16 16:22:55 14077480132         0:28     34242     71458   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
343    03/19/16 16:23:40 14077480132         3:33    684961    436743   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0]
344    03/19/16 16:31:52 14077480132        11:45   2005871   1110822   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179470344:701056:-81.40883:28.57536:0:-1.0,
                                                                                                                                   179459088:701012:-81.4257:28.56693:120:-1.0,
                                                                                                                                   179467791:701046:-81.41132:28.5475:30:-1.0,
                                                                                                                                   179459088:701012:-81.4257:28.56693:120:-1.0,
                                                                                                                                   179467791:701046:-81.41132:28.5475:30:-1.0,
                                                                                                                                   179459089:701012:-81.4257:28.56693:240:-1.0,
                                                                                                                                   179467793:701046:-81.41132:28.5475:270:-1.0,
                                                                                                                                   179465488:701037:-81.45358:28.55047:0:-1.0]
345    03/19/16 16:45:13 14077480132         0:33     76371    102452   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [181534210:709118:-81.53722:28.54889:120:-
                                                                                                                                   1.0,
                                                                                                                                   179465488:701037:-81.45358:28.55047:0:-1.0]
346    03/19/16 16:46:54 14077480132         0:39     41831     86623   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179465488:701037:-81.45358:28.55047:0:-1.0]
347    03/19/16 16:47:50 14077480132         4:09    784093    509473   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179465487:701037:-81.45358:28.55047:0:-1.0,
                                                                                                                                   179478800:701089:-81.47111:28.55139:120:-
                                                                                                                                   1.0]
348    03/19/16 16:53:34 14077480132         0:53     85626    119391   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                   1.0]
349    03/19/16 16:55:11 14077480132        37:39   7793393   2797563   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                   1.0,
                                                                                                                                   179460616:701018:-81.53722:28.54889:0:-1.0,
                                                                                                                                   179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                   1.0,
                                                                                                                                   181588489:709330:-81.592495:28.516391:130:-
                                                                                                                                   1.0,
                                                                                                                                   179575306:701466:-81.55764:28.53229:240:-
                                                                                                                                   1.0,
                                                                                                                                   179550480:701369:-81.64736:28.54817:120:-
                                                                                                                                   1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                 Page 24
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 80 of 184 PageID 16377
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
350    03/19/16 17:00:48 14077480132        32:06      3185      5188 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179460616:701018:-81.53722:28.54889:0:-1.0,
                                                                        hone                                                         179575313:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0]
351    03/19/16 17:16:42 14077480132        16:12      3776      2768   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575313:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0]
352    03/19/16 17:32:54 14077480132         1:24    16158     16371 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [27384/23301:-81.59254:28.5164:0:-1.0]
353    03/19/16 17:32:54 14077480132         1:24     9748    108783 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [27384/23301:-81.59254:28.5164:0:-1.0]
                                                                       hone
354    03/19/16 17:34:18 14077480132        60:00    50284     42796 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179575313:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0,
                                                                                                                                     181588496:709330:-81.592495:28.516391:130:-
                                                                                                                                     1.0,
                                                                                                                                     181588489:709330:-81.592495:28.516391:130:-
                                                                                                                                     1.0,
                                                                                                                                     179575306:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
355    03/19/16 17:34:18 14077480132        60:00   710825    451912 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575313:701466:-81.55764:28.53229:240:-
                                                                       hone                                                          1.0,
                                                                                                                                     181588496:709330:-81.592495:28.516391:130:-
                                                                                                                                     1.0,
                                                                                                                                     181588489:709330:-81.592495:28.516391:130:-
                                                                                                                                     1.0,
                                                                                                                                     179575306:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0]
356    03/19/16 17:34:27 14077480132         4:53   882166    625317    ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575313:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0,
                                                                                                                                     181588496:709330:-81.592495:28.516391:130:-
                                                                                                                                     1.0,
                                                                                                                                     179575313:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0,
                                                                                                                                     181588496:709330:-81.592495:28.516391:130:-
                                                                                                                                     1.0]
357    03/19/16 17:42:45 14077480132         1:13   218991    112197    ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575306:701466:-81.55764:28.53229:240:-
                                                                                                                                     1.0]
358    03/19/16 17:49:36 14077480132         1:19   239523    150795    ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
359    03/19/16 18:06:27 14077480132         0:57   196213    119959    ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
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                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 25
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 81 of 184 PageID 16378
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn          IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
360    03/19/16 18:13:00 14077480132         3:42    573357   552476    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
361    03/19/16 18:34:18 14077480132        60:00     33052    27892    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
362    03/19/16 18:34:18 14077480132        60:00     76721   223927 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                         1.0,
                                                                                                                                    179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
363    03/19/16 18:37:30 14077480132         0:39    127124   130547    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
364    03/19/16 18:39:53 14077480132         1:04    129260   170430    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
365    03/19/16 19:25:14 14077480132         0:44    124528   117124    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
366    03/19/16 19:34:18 14077480132        60:00     68272    53468    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
367    03/19/16 19:34:18 14077480132        60:00     61481   107650 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                         1.0,
                                                                                                                                    179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
368    03/19/16 19:40:44 14077480132         1:26    244431   162191    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
369    03/19/16 19:42:39 14077480132         1:44    218196   354502    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
370    03/19/16 19:50:02 14077480132         0:02      7109      3193   ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
371    03/19/16 19:51:59 14077480132         1:07    219264   129756    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
372    03/19/16 19:53:21 14077480132         0:32     68783   121593    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
373    03/19/16 19:55:43 14077480132         1:15    207131   169007    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
374    03/19/16 20:08:40 14077480132         5:04   1079575   787776    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                  Page 26
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 82 of 184 PageID 16379
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
375    03/19/16 20:32:34 14077480132        24:28   5382372   2698517   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
376    03/19/16 20:34:18 14077480132        60:00     60568     45316   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
377    03/19/16 20:34:18 14077480132        60:00    649992 13695133 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
378    03/19/16 20:59:46 14077480132         0:20     33170     46000   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
379    03/19/16 21:00:31 14077480132         0:51     84859    109564   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
380    03/19/16 21:05:00 14077480132         0:37    117342     88537   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
381    03/19/16 21:33:24 14077480132        10:09   1683922   1706749   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
382    03/19/16 21:34:18 14077480132        60:00     10788      6160   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0,
                                                                                                                                     179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
383    03/19/16 21:34:18 14077480132        60:00    274935   1234270 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 27
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 83 of 184 PageID 16380
2986012.005                                                                (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes      Apn            IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
384    03/19/16 22:34:18 14077480132        60:00    14756       10800     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                         1.0]
385    03/19/16 22:34:18 14077480132        60:00    97372      235932 nxtgenp      3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                            1.0,
                                                                                                                                         179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                         1.0,
                                                                                                                                         179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                         1.0]
386    03/19/16 22:52:30 14077480132         2:43   518268      371428     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                         1.0]
387    03/19/16 23:34:18 14077480132        60:00    28528       21720     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0]
388    03/19/16 23:34:18 14077480132        60:00   624713      439838 nxtgenp      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                         hone                                                            1.0,
                                                                                                                                         179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0]
389    03/19/16 23:43:44 14077480132         0:06      4125        8615    ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0]
390    03/19/16 23:44:11 14077480132         1:04   204367      148504     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0]
391    03/20/16 00:34:18 14077480132        57:58    26680       21032     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0,
                                                                                                                                         179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0,
                                                                                                                                         179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                         1.0]
392    03/20/16 00:34:18 14077480132        57:58   113169      158475 nxtgenp      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                         hone                                                            1.0,
                                                                                                                                         179460618:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0,
                                                                                                                                         179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                         1.0]
393    03/20/16 00:58:02 14077480132         1:46   295205      266962     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0]
394    03/20/16 01:01:42 14077480132         1:35   294926      157017     ims      3520170716611011   310410878641885   APPLE   IPHONE6 [179460611:701018:-81.53722:28.54889:240:-
                                                                                                                                         1.0]
395    03/20/16 01:32:16 14077480132         0:39         0          0 ims          3520170716611011   310410878641885   APPLE   IPHONE6 [27384/24662:-81.557626:28.532341:120:-1.0]
396    03/20/16 01:32:16 14077480132         0:39      5021      34776 nxtgenp      3520170716611011   310410878641885   APPLE   IPHONE6 [27384/24662:-81.557626:28.532341:120:-1.0]
                                                                         hone
397    03/20/16 01:32:55 14077480132         6:07           0        0 ims          3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                         1.0]
398    03/20/16 01:32:55 14077480132         6:07           0           0 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                            hone                                                         1.0]



                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
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                                           customer records but do not necessarily indicate a customer initiated a transaction.                                       Page 28
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 84 of 184 PageID 16381
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
399    03/20/16 01:39:02 14077480132         1:09         0         0 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [27384/24668:-81.557626:28.532341:120:-1.0]
400    03/20/16 01:39:02 14077480132         1:09      1024      4467 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [27384/24668:-81.557626:28.532341:120:-1.0]
                                                                        hone
401    03/20/16 01:40:11 14077480132        60:00      5640      2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
402    03/20/16 01:40:11 14077480132        60:00    30406     62426 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]
403    03/20/16 02:40:11 14077480132        60:00      8460      4228   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
404    03/20/16 02:40:11 14077480132        60:00      7982      9791 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]
405    03/20/16 03:40:11 14077480132        60:00      8460      4020   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
406    03/20/16 03:40:11 14077480132        60:00      3998    10930 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]
407    03/20/16 04:40:11 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
408    03/20/16 04:40:11 14077480132        60:00      2255      6017 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]
409    03/20/16 05:40:11 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
410    03/20/16 05:40:11 14077480132        60:00      4136    11677 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]
411    03/20/16 06:40:11 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
412    03/20/16 06:40:11 14077480132        60:00      9609    24342 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                          1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]
413    03/20/16 07:40:11 14077480132        60:00    11280       5568   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
414    03/20/16 07:40:11 14077480132        60:00       410       210 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]
415    03/20/16 08:40:11 14077480132        60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
416    03/20/16 08:40:11 14077480132        60:00      7344      8963 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     27384/24668:-81.557626:28.532341:120:-1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
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                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 29
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 85 of 184 PageID 16382
2986012.005                                                               (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
417    03/20/16 09:40:11 14077480132        60:00      5640        2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
418    03/20/16 09:40:11 14077480132        60:00      9968      45411 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                          1.0,
                                                                                                                                       27384/24668:-81.557626:28.532341:120:-1.0]
419    03/20/16 10:40:11 14077480132        60:00      5640        2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
420    03/20/16 10:40:11 14077480132        60:00      1931      12404 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                          1.0,
                                                                                                                                       27384/24668:-81.557626:28.532341:120:-1.0]
421    03/20/16 11:40:11 14077480132        60:00      5640        2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
422    03/20/16 11:40:11 14077480132        60:00       447         694 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0,
                                                                                                                                       27384/24668:-81.557626:28.532341:120:-1.0]
423    03/20/16 12:40:11 14077480132        60:00    20272       12412    ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
424    03/20/16 12:40:11 14077480132        60:00   1128798 11931651 nxtgenp      3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                       hone                                                            1.0,
                                                                                                                                       27384/24668:-81.557626:28.532341:120:-1.0]
425    03/20/16 13:29:17 14077480132         4:03   524163      884388    ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
426    03/20/16 13:40:11 14077480132        56:48      7628        4696   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
427    03/20/16 13:40:11 14077480132        56:48   384736      164059 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                          1.0]
428    03/20/16 14:36:59 14077480132         0:29           0        0 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [27384/09001:-81.5935278:28.5163611:0:-1.0]
429    03/20/16 14:36:59 14077480132         0:29           0        0 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [27384/09001:-81.5935278:28.5163611:0:-1.0]
                                                                         hone
430    03/20/16 14:37:28 14077480132         1:42           0        0 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179550473:701369:-81.64736:28.54817:120:-
                                                                                                                                       1.0]
431    03/20/16 14:37:28 14077480132         1:42           0         0 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179550473:701369:-81.64736:28.54817:120:-
                                                                          hone                                                         1.0]
432    03/20/16 14:39:10 14077480132         0:49           0         0 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [27384/23301:-81.59254:28.5164:0:-1.0]
433    03/20/16 14:39:10 14077480132         0:49           0         0 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [27384/23301:-81.59254:28.5164:0:-1.0]
                                                                          hone
434    03/20/16 14:39:59 14077480132        60:00      5640        2680 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179540495:701330:-81.592495:28.516391:0:-
                                                                                                                                       1.0,
                                                                                                                                       179575313:701466:-81.55764:28.53229:240:-
                                                                                                                                       1.0]
435    03/20/16 14:39:59 14077480132        60:00    24683       38949 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179540495:701330:-81.592495:28.516391:0:-
                                                                         hone                                                          1.0]



                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                     Page 30
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 86 of 184 PageID 16383
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn          IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
436    03/20/16 15:39:59 14077480132        60:00    19928     15268    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575313:701466:-81.55764:28.53229:240:-
                                                                                                                                    1.0,
                                                                                                                                    179575306:701466:-81.55764:28.53229:240:-
                                                                                                                                    1.0,
                                                                                                                                    179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
437    03/20/16 15:39:59 14077480132        60:00   191778    156758 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575313:701466:-81.55764:28.53229:240:-
                                                                       hone                                                         1.0,
                                                                                                                                    181588489:709330:-81.592495:28.516391:130:-
                                                                                                                                    1.0,
                                                                                                                                    179575306:701466:-81.55764:28.53229:240:-
                                                                                                                                    1.0,
                                                                                                                                    179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
438    03/20/16 15:46:24 14077480132         0:29    16857     72880    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575306:701466:-81.55764:28.53229:240:-
                                                                                                                                    1.0]
439    03/20/16 16:39:59 14077480132        60:00    52280     44740    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179470090:701055:-
                                                                                                                                    81.5050306:28.5173889:240:-1.0,
                                                                                                                                    179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
440    03/20/16 16:39:59 14077480132        60:00   160959    114973 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179470090:701055:-
                                                                       hone                                                         81.5050306:28.5173889:240:-1.0,
                                                                                                                                    179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0,
                                                                                                                                    179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
441    03/20/16 16:57:03 14077480132         0:29   128839     69795    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
442    03/20/16 16:58:09 14077480132         0:02      3622      5428   ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
443    03/20/16 16:58:40 14077480132         0:36    53492     35627    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575298:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]
444    03/20/16 17:00:46 14077480132         0:35   122775     75149    ims    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                    1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                  Page 31
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 87 of 184 PageID 16384
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn         IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
445    03/20/16 17:04:15 14077480132        29:05   5260658   4520534   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                   1.0,
                                                                                                                                   179470097:701055:-81.50503:28.51739:240:-
                                                                                                                                   1.0,
                                                                                                                                   179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                   1.0]
446    03/20/16 17:39:59 14077480132        60:00     85176     74092   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                   1.0,
                                                                                                                                   179460625:701018:-81.53722:28.54889:240:-
                                                                                                                                   1.0,
                                                                                                                                   179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                   1.0,
                                                                                                                                   179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                   1.0,
                                                                                                                                   179470090:701055:-
                                                                                                                                   81.5050306:28.5173889:240:-1.0,
                                                                                                                                   181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                   1.0,
                                                                                                                                   179470088:701055:-
                                                                                                                                   81.5050306:28.5173889:345:-1.0,
                                                                                                                                   179513098:701223:-
                                                                                                                                   81.4752777:28.5742222:240:-1.0,
                                                                                                                                   181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                   1.0,
                                                                                                                                   179456264:701001:-81.38378:28.52581:0:-1.0,
                                                                                                                                   179456271:701001:-81.38378:28.52581:0:-1.0,
                                                                                                                                   179456264:701001:-81.38378:28.52581:0:-1.0,
                                                                                                                                   181555977:709203:-81.38349:28.5505:0:-1.0,
                                                                                                                                   179561738:701413:-
                                                                                                                                   81.3746083:28.5780278:240:-1.0,
                                                                                                                                   179516682:701237:-81.36917:28.58972:240:-
                                                                                                                                   1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                 Page 32
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 88 of 184 PageID 16385
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
447    03/20/16 17:39:59 14077480132        60:00    420240    302998 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                        hone                                                         1.0,
                                                                                                                                     179470090:701055:-
                                                                                                                                     81.5050306:28.5173889:240:-1.0,
                                                                                                                                     181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                     1.0,
                                                                                                                                     179470081:701055:-81.50503:28.51739:345:-
                                                                                                                                     1.0,
                                                                                                                                     181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                     1.0,
                                                                                                                                     179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                     1.0,
                                                                                                                                     179487240:701122:-81.39775:28.53367:60:-1.0,
                                                                                                                                     179456264:701001:-81.38378:28.52581:0:-1.0,
                                                                                                                                     181555977:709203:-81.38349:28.5505:0:-1.0,
                                                                                                                                     179516682:701237:-81.36917:28.58972:240:-
                                                                                                                                     1.0]
448    03/20/16 17:44:28 14077480132         5:34   1090155    799617   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
449    03/20/16 17:51:05 14077480132         0:34     20717     70122   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
450    03/20/16 17:53:29 14077480132         6:17   1216929    806180   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
451    03/20/16 18:07:06 14077480132         0:29    129034     36491   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179575312:701466:-81.55764:28.53229:120:-
                                                                                                                                     1.0]
452    03/20/16 18:10:01 14077480132         3:00    614316    191446   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                     1.0]
453    03/20/16 18:14:37 14077480132         0:51    155211    124625   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179513098:701223:-
                                                                                                                                     81.4752777:28.5742222:240:-1.0,
                                                                                                                                     179478794:701089:-81.47111:28.55139:240:-
                                                                                                                                     1.0,
                                                                                                                                     181534217:709118:-81.53722:28.54889:120:-
                                                                                                                                     1.0]
454    03/20/16 18:21:58 14077480132         0:51    175162    171407   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179456264:701001:-81.38378:28.52581:0:-1.0]
455    03/20/16 18:24:50 14077480132        18:53   3715808   2447264   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [181555977:709203:-81.38349:28.5505:0:-1.0,
                                                                                                                                     179482376:701103:-81.38349:28.5505:0:-1.0,
                                                                                                                                     179463690:701030:-81.36611:28.56306:300:-
                                                                                                                                     1.0,
                                                                                                                                     179561738:701413:-
                                                                                                                                     81.3746083:28.5780278:240:-1.0,
                                                                                                                                     179516682:701237:-81.36917:28.58972:240:-
                                                                                                                                     1.0,
                                                                                                                                     181515537:709045:-81.35429:28.59352:240:-
                                                                                                                                     1.0,
                                                                                                                                     179467536:701045:-81.34806:28.59556:120:-
                                                                                                                                     1.0]


                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 33
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 89 of 184 PageID 16386
2986012.005                                                             (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up        Dn
                  (UTC)
456    03/20/16 18:39:59 14077480132        60:00      7456      4080   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179467536:701045:-81.34806:28.59556:120:-
                                                                                                                                     1.0,
                                                                                                                                     179467535:701045:-81.35429:28.59352:0:-1.0,
                                                                                                                                     179467528:701045:-81.35429:28.59352:0:-1.0]
457    03/20/16 18:39:59 14077480132        60:00    32984     253637 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179467536:701045:-81.34806:28.59556:120:-
                                                                        hone                                                         1.0]
458    03/20/16 19:39:59 14077480132        59:17   556392    2374522 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179467528:701045:-81.35429:28.59352:0:-1.0,
                                                                        hone                                                         179516680:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                     1.0,
                                                                                                                                     179490313:701134:-81.38389:28.59417:120:-
                                                                                                                                     1.0,
                                                                                                                                     179516687:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     179490320:701134:-81.38389:28.59417:120:-
                                                                                                                                     1.0,
                                                                                                                                     179516673:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     179516687:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     179516673:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     181590544:709338:-81.392856:28.608668:120:-
                                                                                                                                     1.0,
                                                                                                                                     179516680:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                     1.0,
                                                                                                                                     179516680:701237:-81.36917:28.58972:0:-1.0]
459    03/20/16 19:39:59 14077480132        60:00    46220      38944   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179467528:701045:-81.35429:28.59352:0:-1.0,
                                                                                                                                     179516680:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                     1.0,
                                                                                                                                     179490313:701134:-81.38389:28.59417:120:-
                                                                                                                                     1.0,
                                                                                                                                     179516673:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     179516687:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                     1.0,
                                                                                                                                     179516680:701237:-81.36917:28.58972:0:-1.0]
460    03/20/16 20:00:27 14077480132         0:54   228735     202664   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0]
461    03/20/16 20:04:50 14077480132         0:19    60849      32898   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                     1.0]
462    03/20/16 20:12:53 14077480132         0:01      3128      2543   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                     1.0]
463    03/20/16 20:24:19 14077480132         1:25   281402     198173   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179516673:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                     179490320:701134:-81.38389:28.59417:120:-
                                                                                                                                     1.0,
                                                                                                                                     179516687:701237:-81.36917:28.58972:0:-1.0]
464    03/20/16 20:36:06 14077480132         0:21    38840      73263   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0]



                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 34
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

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                                                               MOBILITY
                              Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 90 of 184 PageID 16387
2986012.005                                                              (with cell location)
09/26/2020                         AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                   AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                   UTC.


Run Date:                  09/27/2020
Run Time:                  01:16:29
Data Usage For:            (407)748-0132

Item    Conn.      Conn.      Originating    ET      Bytes     Bytes     Apn           IMEI              IMSI         MAKE     MODEL   Cell Location
         Date       Time         Number                Up        Dn
                   (UTC)
465    03/20/16 20:39:16 14077480132          0:00       458      1274 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179467528:701045:-81.35429:28.59352:0:-1.0,
                                                                         hone                                                         179516680:701237:-81.36917:28.58972:0:-1.0]
466    03/20/16 20:39:16 14077480132         60:00   1145456   5926449 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [181590537:709338:-81.392856:28.608668:120:-
                                                                         hone                                                         1.0,
                                                                                                                                      179516680:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                      181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0,
                                                                                                                                      179516680:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                      181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0,
                                                                                                                                      181590530:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0]
467    03/20/16 20:39:59 14077480132         60:00     45652     34036   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                      181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0,
                                                                                                                                      181590530:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0]
468    03/20/16   20:41:06   14077480132      0:59    153823    124385 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0]
469    03/20/16   20:42:35   14077480132      0:46    138093     95679 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0]
470    03/20/16   20:45:11   14077480132      0:30    131423     59098 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0]
471    03/20/16   20:49:16   14077480132      1:01    175853    147915 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0]
472    03/20/16   20:50:56   14077480132      0:01         0       745 ims       3520170716611011   310410878641885   APPLE   IPHONE6 [179516680:701237:-81.36917:28.58972:0:-1.0]
473    03/20/16   21:39:16   14077480132     60:00    359020   3704802 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [181590537:709338:-81.392856:28.608668:120:-
                                                                         hone                                                         1.0,
                                                                                                                                      181590530:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0]
474    03/20/16 21:39:59 14077480132         60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0]
475    03/20/16 22:39:16 14077480132         60:00     29124     51589 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [181590537:709338:-81.392856:28.608668:120:-
                                                                         hone                                                         1.0,
                                                                                                                                      179516680:701237:-81.36917:28.58972:0:-1.0,
                                                                                                                                      179561736:701413:-81.3746083:28.5780278:0:-
                                                                                                                                      1.0,
                                                                                                                                      179487242:701122:-81.39775:28.5336694:300:-
                                                                                                                                      1.0]
476    03/20/16 22:39:59 14077480132         60:00      5640      2680   ims     3520170716611011   310410878641885   APPLE   IPHONE6 [181590537:709338:-81.392856:28.608668:120:-
                                                                                                                                      1.0,
                                                                                                                                      179561736:701413:-81.3746083:28.5780278:0:-
                                                                                                                                      1.0,
                                                                                                                                      179487242:701122:-81.39775:28.5336694:300:-
                                                                                                                                      1.0]
477    03/20/16 23:39:16 14077480132         19:14     17185     56533 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                         1.0]




                                                                              AT&T Proprietary
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                                            customer records but do not necessarily indicate a customer initiated a transaction.                                   Page 35
                                             AT&T does not retain records that can definitively show whether a transaction was
                                                    customer initiated or AT&T's network initiated the data transaction.

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                                                              MOBILITY
                             Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 91 of 184 PageID 16388
2986012.005                                                                 (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:                 09/27/2020
Run Time:                 01:16:29
Data Usage For:           (407)748-0132

Item    Conn.     Conn.      Originating    ET      Bytes       Bytes       Apn         IMEI              IMSI         MAKE     MODEL   Cell Location
         Date      Time         Number                Up          Dn
                  (UTC)
478    03/20/16 23:39:59 14077480132        18:31           0           0   ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
479    03/20/16 23:58:30 14077480132         3:14     5640        2872 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [27384/08862:-81.557626:28.532341:120:-1.0]
480    03/20/16 23:58:30 14077480132         3:14   298315      286598 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [27384/08862:-81.557626:28.532341:120:-1.0]
                                                                         hone
481    03/21/16 00:01:44 14077480132        60:00      5640       2788 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
482    03/21/16 00:01:44 14077480132        60:00    52227      154400 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                          1.0,
                                                                                                                                       27384/08862:-81.557626:28.532341:120:-1.0]
483    03/21/16 01:01:44 14077480132        60:00      7456        4700     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
484    03/21/16 01:01:44 14077480132        60:00    17308       20870 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                          1.0,
                                                                                                                                       27384/08862:-81.557626:28.532341:120:-1.0]
485    03/21/16 02:01:44 14077480132        60:00      5640        2680     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
486    03/21/16 02:01:44 14077480132        60:00      8711        8990 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0,
                                                                                                                                       27384/08862:-81.557626:28.532341:120:-1.0]
487    03/21/16 03:01:44 14077480132        60:00      8460        4020     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
488    03/21/16 03:01:44 14077480132        60:00       257         145 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0,
                                                                                                                                       27384/08862:-81.557626:28.532341:120:-1.0]
489    03/21/16 04:01:44 14077480132        60:00      5640        2680     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
490    03/21/16 04:01:44 14077480132        60:00      1471        5411 nxtgenp   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                          hone                                                         1.0,
                                                                                                                                       27384/08862:-81.557626:28.532341:120:-1.0]
491    03/21/16 05:01:44 14077480132        60:00      8460        4212     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
492    03/21/16 05:01:44 14077480132        60:00      9979      46092 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                         hone                                                          1.0,
                                                                                                                                       27384/08862:-81.557626:28.532341:120:-1.0]
493    03/21/16 06:01:44 14077480132        60:00      5640        2680     ims   3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]
494    03/21/16 06:01:44 14077480132        60:00    22975      145141 nxtgenp    3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
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495    03/21/16 07:01:44 14077480132        60:00      5640       2680 ims        3520170716611011   310410878641885   APPLE   IPHONE6 [179575305:701466:-81.55764:28.53229:120:-
                                                                                                                                       1.0]




                                                                             AT&T Proprietary
                                                  The AT&T network constantly communicates with internet enabled devices
                                              when they are powered on. These communications will show as data usage on the
                                           customer records but do not necessarily indicate a customer initiated a transaction.                                     Page 36
                                            AT&T does not retain records that can definitively show whether a transaction was
                                                   customer initiated or AT&T's network initiated the data transaction.

                              The information contained here is for use by authorized persons only and is not for general distribution.
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                     EXHIBIT 8




                     EXHIBIT 8
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                                   MAHAFFEY LAW GROUP
                                          A Professional Corporation

                                       20162 SW BIRCH, SUITE 300
                                   NEWPORT BEACH, CALIFORNIA 92660
                                              (949) 833-1400
                                       FACSIMILE: (949) 263-8736
DOUGLAS L. MAHAFFEY                                                                      OUR FILE NO.
                                                                                            345.02

                                            October 17, 2018

    TRANSMITTED VIA USPS

    Courtney B. Wilson Esq.
    LITTLER MENDELSON, P.C.
    Wells Fargo Center
    333 SE 2nd Avenue, Suite 2700
    Miami, FL 33131

           Re: Classic Soft Trim v. Ross Albert, USDC Case No.: 6:18-cv-1237-Orl-40GJK


    Counsel:

            We consider electronic data to be a valuable and irreplaceable source of discovery and/or
    evidence in this matter. The laws and rules prohibiting destruction of evidence apply to
    electronic data with the same force as they apply to other kinds of evidence. We intend to
    request discovery of access to your clients Katzkin Leather Inc., ClearLight and Ross Albert’s
    computer network, including personal computer(s), any and all video recording devices and
    video and/or audio tapes.

           Pending further discovery concerning the layout and configuration of your computer
    systems and electronic data sets, and pending any further agreement of the parties as to
    preservation of electronic evidence, you must maintain the following safeguards against
    destruction of evidence until the final resolution of this issue.

            Please provide a copy of this letter to your client and the persons whose responsibilities
    cover the matters addressed herein.

    1. Electronic Data to be Preserved

        You must preserve the following types of electronic data in accordance with the steps set
    forth in paragraphs below.

       A. All electronic mail and information about electronic mail (including message contents,
          header information and logs of electronic mail system usage) sent or received by anyone
          and concerning Ross Albert between March 2015 and April 2016.
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      B. All other electronic mail and information about electronic mail (including message
         contents, header information and logs of electronic mail system usage) containing
         information about Ross Albert between March 2015 and April 2016.

      C. All databases including but not limited to records, fields and structural information in
         such databases, containing any reference to and/or information about Ross Albert
         between March 2015 and April 2016.

      D. All logs of activity on computer systems that may have been used to process or store
         electronic data containing information about Ross Albert between March 2015 and April
         2016.

      E. All word processing files and file fragments containing information about Ross Albert
         between March 2015 and April 2016.

      F. With regard to electronic data created by application programs that process financial,
         accounting and billing information, all electronic data files and file fragments containing
         information about Ross Albert between March 2015 and April 2016.


      G. All files and file fragments containing information from electronic calendars and
         scheduling programs regarding Ross Albert from March 2015 and April 2016.

      H. All other electronic data containing information about Ross Albert between March 2015
         and April 2016.

      I. All electronic mail and information about electronic mail (including message contents,
         header information and logs of electronic mail system usage) sent or received by anyone
         and concerning Classic Soft Trim Inc.


      J. All other electronic mail and information about electronic mail (including message
         contents, header information and logs of electronic mail system usage) containing
         information about Classic Soft Trim Inc.

      K. All databases including but not limited to records, fields and structural information in
         such databases, containing any reference to and/or information about Classic Soft Trim
         Inc.
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      L. All logs of activity on computer systems that may have been used to process or store
         electronic data containing information about Classic Soft Trim Inc.

      M. All word processing files and file fragments containing information about Classic Soft
         Trim Inc.

      N. With regard to electronic data created by application programs that process financial,
         accounting and billing information, all electronic data files and file fragments containing
         information about Classic Soft Trim Inc.


      O. All files and file fragments containing information from electronic calendars and
         scheduling programs regarding Classic Soft Trim Inc.

      P. All other electronic data containing information about Classic Soft Trim Inc.


   2. Action Required

      You (and all involved individuals) will need to do the following immediately:

      A. Suspend deletion, overriding, or any other destruction of electronic information
         relevant to the dispute that is u n d e r your control or the control of other
         involved individuals. This includes electronic information wherever it is stored; at
         your workstation, on a laptop, or at home. It includes all forms of electronic
         communications; e.g., e-mail, word processing, calendars, voice messages, videos,
         photographs, information on PDA’s, and any other locations where data may be
         stored.

      B. Search all e mail in your In-Box(es), including all sub-files, Sent Folder(s),
         Deleted items, Archive folders and any other folders that may contain
         communications related to this dispute and preserve all such communications until
         notified. Do this by creating separate mailboxes and files and placing all
         electronically stored information in these separate mailboxes and files. In this case,
         it is recommended that you store all emails that you currently have related to Ross
         Albert and Classic Soft Trim, Inc.

      C. Similarly, you and involved individuals must preserve any new electronic
         information that is generated after you received this letter that is relevant to this
         dispute. Do this in accordance with the same segregation procedure identified
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          above, by placing all future electronically stored information relating to this
          dispute in these separate mailboxes and files. Also preserve any new written
          communications created that relate to the items and topics referenced herein.

      D. The rules concerning preservation of hard copies have not changed. Thus, it remains
         essential that you preserve any hard copies of documents under your control. At this
         point you must take steps to identify all relevant paper files and to ensure the
         retention of such files.

   3. On-Line Data Storage on Mainframes and Minicomputers

       With regard to on-line storage and/or direct access devices attached to your mainframe
   computers and/or minicomputers: do not modify or delete any electronic data files existing at
   the time of this letter’s delivery, which meet criteria set forth in the Paragraphs above, unless a
   true and correct copy of each such electronic data file has been made and steps have been taken
   to assure that such a copy will be preserved and accessible for purposes of this litigation.

   4. Off-Line Data Storage, Backups and Archives, Floppy Diskettes, Tapes and Other
      Removable Electronic Media

       With regard to all electronic media used for off-line storage, including magnetic tapes and
   cartridges and other media, which, at the time of this letter’s delivery, contained any electronic
   data meeting the criteria listed in the Paragraphs above: stop any activity which may result in the
   loss of such electronic data, including rotation, destruction, overwriting and/or erasure of such
   media used for data storage in connection with your computer systems, including magnetic tapes
   and cartridges, magneto-optical disks, floppy diskettes, and all other media, whether used with
   personal computers, minicomputers or mainframes or other computers, and whether containing
   backup and/or archive data sets and other electronic data, for all of your computer systems.


   5. Replacement of Data Storage Devices

       Do not dispose of any electronic data storage devices and/or media which may be replaced
   due to failure and/or upgrade and/or other reasons that may contain electronic data meeting the
   criteria listed in the Paragraphs above.

   6. Fixed Drives on Standalone Personal Computers and Network Workstations

       With regard to electronic data meeting the criteria listed in the Paragraphs above, which
   existed on fixed drives attached to stand-alone microcomputers and/or network workstations at
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   the time of this letter’s delivery: do not alter or erase such electronic data, and do not perform
   other procedures (such as data compression and disk de-fragmentation or optimization routines)
   which may impact such data, unless a true and correct copy has been made of such active files
   and of completely restored versions of such listings (including hidden files) for all directories
   and subdirectories containing such files, and arrangements have been made to preserve copies
   during the pendency of this litigation.

   7. Programs and Utilities

       Preserve copies of all application programs and utilities which may be used to process
   electronic data covered by this letter.

   8. Log of System Modifications

        Maintain an activity log to document modifications made to any electronic data processing
   system that may affect the system’s capability to process any electronic data meeting the criteria
   listed in the Paragraphs above, regardless of whether such modifications were made by
   employees, contractors, vendors and/or any other third-parties.

   9. Personal Computers Used by you or any of your employees, agents, or their Secretaries
      and Assistants:

       The following steps should immediately be taken in regard to all personal computers used by
   these individuals and/or their secretaries and assistants.

          A.      As to fixed drivers attached to such computers:

                  a. A true and correct copy should be made of all electronic data on such fixed
                     drivers relating to Ross Albert and Classic Soft Trim, Inc. including all active
                     files and completely restored versions of all deleted electronic files and file
                     fragments;

                  b. Full directory listings (including hidden files) for all directories and
                     subdirectories (including hidden directories) on such fixed drivers should be
                     written; and

                  c. You must preserve copies and listings until this matter reaches its final
                     resolution.
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          B.      All floppy diskettes, magnetic tapes and cartridges, and other media used in
               connection with such computers prior to the date of delivery of this letter containing
               any electronic data relating to Ross Albert and Classic Soft Trim, Inc.


   10.    Evidence Created Subsequent to this Letter:

           With regard to electronic data created subsequent to the date of delivery of this letter that
   is relevant evidence, do not destroy and take whatever steps are appropriate to avoid destruction
   of evidence.

          Please do not hesitate to contact me if you have any questions.


                                                 Very truly yours,

                                                 MAHAFFEY LAW GROUP, PLC

                                                 /S/ DOUGLAS MAHAFFEY

                                                 DOUGLAS L. MAHAFFEY

   DLM/

   cc:
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                     EXHIBIT 9




                     EXHIBIT 9
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 100 of 184 PageID 16397

                              ORIGINAL                                             1

      1                   UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
      2                         ORLANDO DIVISION

      3                 CASE NO.: 6:18-cv-01237-WWB-GJK

      4

      5        CLASSIC SOFT TRIM, INC.,
               and ROADWIRE, LLC,
      6
                      Plaintiffs,
      7
               vs.
      8
               ROSS ALBERT, KATZKIN LEATHER, INC.,
      9        CLEARLIGHT PARTNERS, LLC.,
               and CLEARLIGHT PARTNERS
     10        MANAGEMENT, LLC,

     11             Defendants.
               __________________________________/
     12

     13                    DEPOSITION OF ROSS ALBERT
                         (via audio-video conference)
     14

     15               Taken on behalf of:       The Plaintiffs

     16               Date:                     June 23, 2020

     17               Time:                     1:42 p.m. - 10:53 p.m. EDT

     18               Location:                 Via audio-video conference
                                                hosted by Diamond Reporting,
     19                                         Florida

     20               Reported before:          Darlene Herndon, RPR, CRC
                                                Registered Professional Reporter
     21

     22

     23
                            Diamond Reporting, Inc.
     24                        8421 Murray Court
                            Sanford, Florida 32771
     25                407.810.0951 * dreporting@aol.com


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                                                                                  2

      1        A P P E A R A N C E S:

      2        DOUGLAS L. MAHAFFEY, ESQUIRE (via audio-video conference)
                    Mahaffey Law Group, P.C.
      3             20162 SW Birch Street
                    Suite 300
      4             Newport Beach, California 92660
                    phone: 949.833.1400
      5             dougm@mahaffeylaw.com

      6              On behalf of the Plaintiffs
                     Also present for the Plaintiffs:
      7                   Aaron Forrister (via audio conference)

      8
               DON HOWARTH, ESQUIRE (via audio-video conference)
      9             Howarth & Smith, LLP
                    523 West 6th Street
     10             Suite 728
                    Los Angeles, California 90014
     11             phone: 213.955-9400
                    dhowarth@howarth-smith.com
     12
                     On behalf of the Defendants, Katzkin Leather, Inc.
     13                   and Clearlight Partners, LLC
                     Also present for the Defendants:
     14                   Timothy Clyde (via audio conference)

     15
               COURTNEY B. WILSON, ESQUIRE (via audio conference)
     16             Littler Mendelson, P.C.
                    333 SE 2nd Avenue
     17             Suite 2700
                    Miami, Florida 33131
     18             phone: 305.400.7500
                    cwilson@littler.com
     19
                     On behalf of the Defendant, Ross Albert
     20

     21

     22

     23

     24

     25


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                                                                                  3

      1                               -    -    -    -

      2                              C O N T E N T S
                                                                           PAGE
      3

      4        TESTIMONY OF ROSS ALBERT                                     6

      5            Direct examination by Mr. Mahaffey                       6

      6        Certificate of Oath                                        320

      7        Reporter's Deposition Certificate                          321

      8        Errata Page                                                322

      9

     10

     11

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     16

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     19

     20

     21

     22                            S T I P U L A T I O N S

     23              It is hereby stipulated and agreed by and between

     24        counsel for the respective parties and the deponent that

     25        the reading and signing of the transcript be reserved.


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                                                                                    11

      1               Q.    Did you ever text before March 16 -- I mean,

      2        March 18, 2016?

      3               A.    If I did, it was very infrequently.          It was

      4        just too cumbersome.

      5               Q.    So yes or no, did you text before March 18,

      6        2016, on your flip phone?

      7               A.    Well, I can't say no for sure.         So I would

      8        have to say probably, but I don't know of a time.

      9               Q.    Did you ever produce any of those text

     10        messages in this litigation or the state litigation?

     11               A.    Again I don't think there were any texts.              So

     12        no.    I don't know any texts that exist.

     13               Q.    Did you ever turn your prior cell phone over

     14        to your attorney?

     15               A.    I didn't have my prior cell phone or an

     16        attorney -- when I had my attorney, I didn't have my

     17        prior cell phone.       I got rid of it when I switched to a

     18        new flip phone and my new smartphone.

     19                     The other phone was obsolete.        It was a

     20        two-way that was not operative.          The two-way radio

     21        didn't work anymore, and the flip phone was obsolete.

     22        It had no value.

     23               Q.    Did you extract text messages from your flip

     24        phone and produce them as part of the litigation?

     25               A.    I didn't have any.


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                                                                                  15

      1        flip phone if it was destroyed?

      2              A.    I don't understand the question.

      3              Q.    How did you get these Exhibit 2 text messages

      4        off of your flip phone when you just testified that you

      5        destroyed it?

      6              A.    I didn't destroy the flip phone until

      7        March 18th when I switched my phones over.           On 3/13 --

      8        or 3/3 and these other dates, I didn't have my new

      9        phones yet.     So that would still be my flip phone.

     10              Q.    When you produced these text messages to your

     11        attorney in the state court litigation, did you have

     12        your flip phone then?

     13              A.    I did not produce these to my attorney,

     14        because I never had these.        So no.

     15              Q.    Who produced these text messages to your

     16        attorney?

     17              A.    I have no idea.

     18                    MR. WILSON:     Object to the form.

     19              Q.    So you have no -- you have no idea how in the

     20        litigation your attorney produced these text messages in

     21        2017?

     22                    MR. WILSON:     Object to the form.

     23              Q.    Is that your testimony?

     24              A.    My attorney objected.       Am I supposed to

     25        answer?


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                                                                                   16

      1                     MR. WILSON:     Yeah.   I'm sorry, Ross.      You can

      2                go ahead and answer unless I tell you otherwise.

      3               A.    Okay.   I don't know how they received them.

      4        No.

      5               Q.    Did you participate in transmitting them?

      6               A.    If they are on --

      7                     MR. WILSON:     Object to the form.      Excuse me.

      8                Object to the form.

      9               Q.    Go ahead.

     10               A.    I'm assuming I did.      I don't have a

     11        recollection of producing them.

     12               Q.    How did you get them off of a flip phone that

     13        you had destroyed in 2016?

     14               A.    Because the flip phone wasn't destroyed until

     15        the 18th of March, and those would be prior to the 18th

     16        of March.

     17               Q.    Did you destroy your flip phone on March 18,

     18        2016?

     19               A.    I think I left it at the phone company to

     20        destroy it when I traded phones at the AT&T store.

     21               Q.    Between March 18, 2016, and the date that you

     22        produced this discovery in the state court litigation,

     23        where was your flip phone during that approximately

     24        18 months?

     25                     MR. WILSON:     Object to the form.


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                                                                                   17

      1              A.    Probably in an incinerator.        I don't know

      2        where it was.     I didn't have it.      I got rid of it.      It

      3        had no value.     It was a $30 eBay purchase, and I didn't

      4        need it anymore.

      5              Q.    In 2017 when you produced discovery in the

      6        state court litigation, where did you retrieve the text

      7        messages from?

      8                    MR. WILSON:     Object to the form.

      9              A.    I have no idea.     I have never seen those -- I

     10        have never seen that before.        So I don't know who got

     11        those or how they got them, but it wasn't from me.             I

     12        don't know.

     13              Q.    Did you verify under penalty of perjury the

     14        discovery that was produced in the state court

     15        litigation?

     16                    MR. WILSON:     Object to the form.

     17              A.    I don't understand your question.

     18              Q.    Did you sign a document in the state court

     19        litigation verifying under penalty of perjury the

     20        information that you were producing?

     21                    MR. WILSON:     Object to the form.

     22              A.    I signed a form saying that I would give over

     23        all the information I had.

     24              Q.    In 2017 did someone else have access to any

     25        backup of your text messages?


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                                                                                  19

      1        flip phone to an iPhone; true?

      2              A.    To an iPhone.     And I also got a separate flip

      3        phone so I can transfer all my phone numbers.            So it's a

      4        temporary thing.      I got a Nokia flip phone to replace my

      5        other flip phone, because my other flip phone was a

      6        Sprint with no cell towers.

      7              Q.    On March 18, 2016, did you have two phones

      8        then, one a Nokia flip phone and one an iPhone?

      9              A.    Yes.

     10              Q.    Did you have the AT&T service assist you in

     11        transferring phone numbers from your prior flip phone to

     12        your Nokia flip phone?

     13              A.    Yes.

     14              Q.    What happened to your Nokia flip phone?

     15              A.    I lost it in a rental car, and I stopped all

     16        service on it -- discontinued it, because I didn't need

     17        it anymore.     I mean, it was just a temporary thing so I

     18        can get all my phone numbers and contacts out of it.

     19                    So somebody at Fox Rent A Car now owns that

     20        phone.

     21              Q.    Did you ever transfer from your Nokia flip

     22        phone your phone numbers and text messages to your

     23        iPhone?

     24                    MR. WILSON:     Object to the form.

     25              A.    There were no text messages to transfer.           I


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                                                                                  20

      1        just transferred the phone numbers and the names.

      2              Q.    And who did that for you?

      3              A.    I think I was doing a lot of it, because I

      4        wanted to delete a lot of numbers anyway.           So I was

      5        doing most of it by hand just to get rid of a lot of old

      6        numbers.

      7              Q.    Did you ever turn your Nokia flip phone over

      8        to your attorneys?

      9              A.    I lost it in a rental car.

     10              Q.    Before you lost it, did you turn it over to

     11        them?

     12              A.    No.   I lost it about a year and a half ago --

     13        no, two years ago.

     14              Q.    So two years ago would have been June of 2018.

     15        Is that your testimony as to when you lost your Nokia

     16        flip phone?

     17              A.    I don't know the exact date.        I can't

     18        remember.     So that's an approximation.

     19              Q.    What phone number was on your Nokia flip

     20        phone?

     21              A.    407-466-8294.

     22              Q.    Which phone company did you get your service

     23        through on that phone number?

     24              A.    That was through Sprint.       Motorola -- that's

     25        who it was from.


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                                                                                  24

      1        me".    But I'm not a texter.

      2               Q.   What efforts have you made, if ever, to review

      3        the text messages that were on the Motorola phone?

      4               A.   Can you repeat that?

      5               Q.   What efforts, if any, have you made to review

      6        and retrieve the text messages that were on your

      7        Motorola phone?

      8               A.   Zero.

      9               Q.   What efforts has any other person in your

     10        world, including but not limited to either Katzkin

     11        employees or your attorneys, to your knowledge, made to

     12        retrieve any text messages on your Motorola phone?

     13               A.   It couldn't have.      When I was -- the day that

     14        I terminated my employment with Classic Soft Trim, I

     15        turned that phone in.       So Katzkin wasn't involved.

     16        There were no attorneys involved.

     17                    It was a transaction of switching to a

     18        smartphone and a Nokia flip phone and getting rid of the

     19        other phone.     So zero.

     20               Q.   What efforts have you made to retrieve your

     21        text messages from your Nokia phone?

     22               A.   Well, it's been gone for a couple of years.

     23        So none.

     24               Q.   What efforts, if any, were made by any person

     25        on your behalf, including a Katzkin employee or an


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                                                                                  25

      1        attorney, to retrieve messages from your Nokia phone,

      2        your text messages?

      3              A.    None that I am aware of.       We don't have -- I

      4        don't have the phone to give to them or I didn't have

      5        the phone to give to them.

      6              Q.    Let me show you this screen again which has on

      7        it Exhibit 2, a series of 1, 2, 3, 4, 5 text messages.

      8        Have you ever seen this document before today?

      9              A.    No.

     10              Q.    At any time between March 16, 2016, and today,

     11        have you ever participated in retrieving text messages,

     12        including these five I'm showing on Exhibit 2?

     13                    MR. WILSON:     Object to the form.

     14        BY MR. MAHAFFEY:

     15              Q.    What's your testimony?

     16              A.    No.

     17              Q.    Between March 16th and today, have you ever

     18        provided the text messages on Exhibit 2 to any attorney?

     19                    MR. WILSON:     Object to the form.

     20              A.    I have never seen -- I have never seen that

     21        before.

     22              Q.    On Exhibit 2 who were you texting?

     23                    MR. WILSON:     Object to the form.

     24              A.    I have no idea.     I have never seen that

     25        before.    So I couldn't even tell you who I was texting.


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      1              Q.    Who were the people that you text between

      2        March 3rd, 2016, and March 16, 2016?

      3              A.    I don't know, because I don't remember sending

      4        those texts out.      So I couldn't tell you.       I mean, who

      5        could it have possibly gone to?         It could have gone to

      6        anybody.    I don't know.

      7                    I put 7,000 minutes a month on my phone

      8        talking to people.      So I don't have any recollection of

      9        five texts from 2016.

     10              Q.    On March 19, 2016, did you text anybody on

     11        your new phone, your iPhone or your Nokia?

     12              A.    Probably.    I was playing with the phone a lot,

     13        because it was like a new toy to me.

     14              Q.    What efforts have you made to retrieve any

     15        text messages off of your iPhone that you obtained on

     16        March 18, 2016?

     17              A.    That would go through Katzkin.         Their IT

     18        department was supposed to do an audit of my iPad, my

     19        computer, and my phone.

     20              Q.    Have you ever seen any production of text

     21        messages from the iPhone for you to review?

     22              A.    No.

     23              Q.    How long ago did you submit your iPhone for

     24        retrievable text messages?

     25              A.    I don't remember the date.


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      1              Q.    What's your best estimate?

      2              A.    I don't remember the date.        I don't want to

      3        guess.     I don't know.

      4              Q.    It could have been more than two years ago?

      5              A.    It could have.

      6              Q.    It might have been more than three years ago?

      7              A.    I don't think so, but not sure.

      8              Q.    And you have no record of that occurring?

      9              A.    No.

     10              Q.    Have you ever participated personally in any

     11        manner in searching for text messages on any of your

     12        devices?

     13              A.    Yeah.    On my iPad my attorney walked me

     14        through -- they asked for documents and for emails.                And

     15        at first I turned in something saying no, because I

     16        couldn't find them.        I wasn't really that computer savvy

     17        to go back to non -- older documents.

     18                    So then I went to old sent documents, and I

     19        found some.       And I sent them to my attorney who

     20        forwarded them to you.

     21              Q.    Did you see those being forwarded to me?

     22              A.    I saw you sent them in the documents to me.

     23        So I know you got them.

     24              Q.    How long ago did you perform that search for

     25        emails and text messages?


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      1        on eBay.

      2                    I wasn't provided one from Classic.          I didn't

      3        want to spend a lot of money on them, and I just use it

      4        for data entry.      So it was a Toughbook Panasonic.

      5              Q.    Prior to March 16, 2016, did you have a

      6        computer?

      7              A.    Yes.   The Panasonic Toughbook was the last one

      8        I had up until the 16th.

      9              Q.    Where was the Panasonic Toughbook in the year

     10        2017?

     11              A.    I threw it away.

     12              Q.    What date did you throw it away?

     13              A.    When Katzkin gave me a new computer.          I think

     14        it took them a couple of weeks after they hired me to

     15        get it to me.      So probably sometime towards the end of

     16        March or the beginning of April.

     17              Q.    What year?

     18              A.    '16.

     19              Q.    What email service did you use on your

     20        Panasonic Toughbook to send and receive emails?

     21              A.    Excuse me.    What did I what?

     22              Q.    What email service did you use --

     23              A.    Oh, Gmail.    Gmail.

     24              Q.    What Gmail email accounts did you have access

     25        to on your Panasonic Toughbook in the year 2016 prior to


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      1        April 1st, 2016?

      2              A.    I had the one that I am on --

      3        theeleatherman@gmail.com.         That's with two e's,

      4        theeleatherman.       And I don't even remember -- I had a

      5        Classic Soft Trim email which I don't even recall.

      6              Q.    What is your password to your

      7        theeleatherman@gmail.com?

      8              A.    I don't even know.      Can I look up a document

      9        here to see if I have it?

     10              Q.    Sure.

     11                    MR. WILSON:     No.   If you don't know, answer

     12              you don't know.

     13              A.    I don't know.

     14              Q.    You have not memorized your sign-on password

     15        to your Gmail account?

     16              A.    No.     Because it comes up automatically.

     17              Q.    Have you ever provided that password access to

     18        any other person as part of this litigation?

     19              A.    For theeleatherman?

     20              Q.    Yes.

     21              A.    I may have supplied it to the people in the

     22        office.    I know they had my Classic Soft Trim email.

     23        Sometimes they wanted my email to do certain processes,

     24        and I may have let them have it, either Danny or one of

     25        the three girls in the office.


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      1               Q.   Other than Danny or one of the three girls in

      2        the Classic Soft Trim office prior to March 18, 2016,

      3        had you provided your password to your Gmail

      4        theeleatherman account to anyone else?

      5               A.   No.

      6               Q.   Have you accessed any other Gmail account for

      7        business purposes that you recall?

      8               A.   No.

      9               Q.   Are you aware of a Gmail account called

     10        classicdesignleather@gmail.com?

     11               A.   No.

     12               Q.   Did you ever text back -- strike that.          Did

     13        you ever email back and forth with Danny Valencia on a

     14        Gmail account called classicdesignleather@gmail.com?

     15               A.   Not that I am aware of, no.

     16               Q.   Are you sure?     You just don't remember as you

     17        sit here or are you testifying --

     18               A.   I don't remember.      I don't remember.

     19               Q.   In order to refresh your memory you would need

     20        to see emails on that account?

     21               A.   Yes.

     22               Q.   Was there a Classic Design at Gmail account

     23        that was set up while you were the general manager at

     24        CST?

     25               A.   I have no idea.     I have no idea.


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      1                      MR. WILSON:     Object to the form.    Lack of

      2                foundation.       You can answer.

      3               A.     Can you repeat the question, please?

      4               Q.     Did you ever object to the content of section

      5        3.1 of the handbook that obligated you to, quote,

      6        protect, and quote, retain, quote, confidentiality of

      7        sensitive or proprietary information about CST, quote?

      8                      MR. WILSON:     Same objection.

      9               A.     No.   No.

     10               Q.     Did you ever object to signing the handbook as

     11        to its content on 3.2 under conflicts of interest that

     12        stated that it would be a conflict of interest for you

     13        to, quote, have employment with the competitor, vendor,

     14        or customer or investment in a competitor's business,

     15        quote?       Did you ever object to that?

     16                      MR. WILSON:     Object to the form.

     17               A.     No.

     18               Q.     How long were you employed with -- strike

     19        that.       How long between the time that you signed your

     20        employment agreement with Katzkin and your last day at

     21        CST?     How long was that?

     22               A.     There were a couple of change of dates.          So I

     23        couldn't even tell you.          Somewhere in the neighborhood

     24        -- it was supposed to be a couple of weeks.           I think it

     25        turned into over a month.


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      1               Q.   And during that approximately one-month time

      2        frame, did you enter into any business transactions with

      3        any competitor of CST?

      4               A.   No.

      5               Q.   Would you agree that had you entered into such

      6        a business transaction with a competitor of CST, that

      7        would be a violation of the plain language of section

      8        3.2?

      9               A.   Yes.

     10                    MR. MAHAFFEY:     We have been going about an

     11               hour here.   Does anybody want a break?

     12                    THE WITNESS:     I'm fine.

     13                    MR. WILSON:     No.

     14        BY MR. MAHAFFEY:

     15               Q.   When did you first initiate contact with

     16        Katzkin to become an employee of theirs?

     17                    MR. WILSON:     Object to the form.

     18               A.   I have known people that work for Katzkin,

     19        like Dave Sheffler, like -- I've known Ron Leslie.             They

     20        contacted me over periods of time, as did other vendors,

     21        because I was in that market.

     22                    So Katzkin contacted me on a couple of

     23        different occasions about possible ventures, and the

     24        contact was on their part to contact me about possibly

     25        carrying their product or doing something with them.


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      1        numbers from all around the country from different

      2        people.

      3                     So I don't think it was something that was a

      4        secret.      I mean, I had sunroof installers that used to

      5        tell me, oh, I hear you're doing really good out here

      6        and give me numbers.        So I think it's pretty common that

      7        I was having strong sales in my market.

      8               Q.    In July of 2015 can you give me a single

      9        individual outside of Classic Soft Trim that knew how

     10        many units were sold for the month of June for Branch

     11        116?

     12               A.    I don't know.

     13               Q.    Can you point to a single written document

     14        that can support your testimony that there was

     15        publication of monthly sales numbers in July of 2015 by

     16        CST?

     17                     MR. HOWARTH:    Object to the form.

     18               A.    To tell you the truth, I deleted everything I

     19        had from Classic Soft Trim, because Katzkin said they

     20        don't want me to take any information with me.            I

     21        deleted everything.      I took out all the emails from

     22        Aaron.      I took out all my numbers.     I deleted

     23        everything.

     24               Q.    When did they tell you to delete your

     25        computer?


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      1              A.    No.    They were telling me before I came on

      2        board they didn't want me to take anything.           They didn't

      3        want me to have any emails from Classic Soft Trim.             They

      4        didn't want any -- I deleted everything.

      5                    I had a lot of different documents and emails

      6        over the years that were in my computer, because I just

      7        never erased them.       And before I came on board, they

      8        said do not take any forms or documents from Classic

      9        Soft Trim.

     10              Q.    Who told you to delete information from your

     11        computer from Katzkin?

     12                    MR. WILSON:     Object to the form.

     13              A.    I think it was -- Ron Leslie was saying he did

     14        not want me to take any proprietary information from

     15        Classic Soft Trim to Katzkin.        So that's what I did.

     16                    He did not say delete your computer.          He said

     17        he did not want me taking any information.           So that's

     18        what I did.       I deleted everything.

     19              Q.    What date did you delete everything?

     20              A.    Probably over the weekend of the 19th, before

     21        my official start date.

     22              Q.    Did you have a conversation with Mr. Leslie

     23        over the weekend of March 19, 2016, about not having any

     24        proprietary information in your possession from Classic

     25        Soft Trim?


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      1                    MR. HOWARTH:     Misstates the evidence.       Object

      2              to the form.

      3                    MR. MAHAFFEY:     Let me rephrase it.

      4        BY MR. MAHAFFEY:

      5              Q.    Did you recommend to Dave Sheffler hiring

      6        ex-CST employees in your June 30, 2015, meeting?

      7              A.    No.

      8              Q.    Did you recommend to Ron Leslie hiring ex-CST

      9        employees for your June 30, 2015, meeting?

     10              A.    No.

     11              Q.    At any time between June 30, 2015 -- or let's

     12        make it June 1st, 2015, to March 18, 2016, did you ever

     13        recommend to Dave Sheffler hiring CST installers?

     14              A.    Between that time frame, what we talked about

     15        is if I leave and the business were to follow me, that

     16        they would not have enough work to keep them busy, and

     17        would be able to acquire them at other trim shops.              Yes.

     18              Q.    Did you tell Dave Sheffler that the CST

     19        installers would leave CST and come to work at CDA as

     20        part of the transition?

     21              A.    No.   I didn't know any of the installers there

     22        pretty much except Danny.       They were Spanish.       They

     23        didn't really talk to me.       So I wasn't sure who would

     24        come, who wouldn't come.

     25                    I thought when the work would tail off, they


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      1        would probably need to have jobs, and they would come

      2        over to any of the other trim shops in the market.

      3              Q.    Did you discuss with Dave Sheffler CST

      4        employees coming over as part of the transition in order

      5        to handle the volume of cars?

      6              A.    That was not part of the plan.         We thought

      7        they would come over on their own fruition.

      8              Q.    Did you ever tell Dave Sheffler the number of

      9        cars that you were turning over a week at CST?

     10              A.    Dave Sheffler was aware of it.         He didn't even

     11        ask me.    He knew the business I was doing there, because

     12        he competed with me for many years.

     13              Q.    Did you ever say to Dave Sheffler that you

     14        could turn over a hundred cars a week like butter?

     15              A.    No.

     16              Q.    Did you ever tell anybody that you could turn

     17        over a hundred cars a week like butter?

     18              A.    No.

     19              Q.    What source of information other than yourself

     20        did Ron Leslie have that relayed -- strike that.            Did

     21        anyone besides yourself communicate your terms to go to

     22        work for Katzkin?

     23                    MR. WILSON:     Object to the form.

     24              A.    Can you repeat that?

     25              Q.    Did anybody besides yourself ever communicate


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      1        certain expectations they wanted.         They wanted me to go

      2        above and beyond what I was doing.

      3                     I wanted a higher salary, because it was all a

      4        crap shoot.      When I went to work for Katzkin, maybe

      5        nobody would have come.        In fact Ron Leslie even told me

      6        later that he was kind of concerned about me coming,

      7        because I didn't really want to be on commission based

      8        on volume.      I wanted a higher salary, and that concerned

      9        him.

     10                     My problem was I didn't know how many dealers

     11        would want to come with me and install Katzkin in their

     12        cars and how many wouldn't.        So, no, I don't remember

     13        wanting high volume, high commission.          I wanted a

     14        salary.

     15               Q.    Did you ever say to any person that you had

     16        spoke to all the dealerships, and they said they were

     17        all going to come with you prior to March 18?

     18               A.    Absolutely not.    It's a crapshoot.      There is

     19        no way you're going to know who's going to come with

     20        you.

     21                     We have dealers that we had, and Classic Soft

     22        Trim would go in there and shoot them some low ball

     23        price.      And they will switch to them.      They may come

     24        with me because they like me.

     25                     This is an open revolving door.        You're


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      1        constantly -- every week you have to show your face to

      2        get the business.      So, no, there is absolutely nothing

      3        that was guaranteed.

      4              Q.    Did you talk to any of the dealerships that

      5        were doing work at CST prior to March 18, 2016, and

      6        discuss with them switching their business at CDA?

      7              A.    Absolutely not.     100% no.

      8              Q.    Did you ever say the words to anybody that you

      9        had talked to all of them, and they say they'll switch

     10        but not if we can't keep up the volume?

     11              A.    No.

     12              Q.    Let me screen share and show you this

     13        Exhibit 4, the one that has the email trail of July 1st.

     14        This document states at the bottom of it, quote, I

     15        realize this proposal is ridiculously aggressive.            It's

     16        consistent with the amount Ross laid out to us which in

     17        his words was $250,000 per year for two years and a

     18        500,000 bonus after two years.

     19                    Did those words come out of your mouth to Dave

     20        Sheffler?

     21              A.    No.

     22              Q.    Did those words come out of your mouth to

     23        Ron Leslie?

     24              A.    I don't recall, but I never made $250,000 a

     25        year with Classic, and I never came -- there was no


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      1              A.    Just prior to that, probably two, three.

      2              Q.    Did you document any of those meetings?

      3              A.    No.

      4              Q.    What was the purpose of you meeting with

      5        Dave Sheffler and CDA prior to March 18, 2016?

      6              A.    He introduced me to John, because I had never

      7        talked to him.      I had never met him.      He said this is

      8        the latest hire with Katzkin, and he was shocked and

      9        pleasantly surprised.

     10                    As many years I have been working that market,

     11        I have never seen him.       Apparently he was their

     12        salesperson.      So I was a little surprised, too.

     13              Q.    Were you hired by Katzkin prior to March 18,

     14        2016?

     15              A.    Yes, I was.

     16              Q.    When were you hired -- when did you start your

     17        employment with them?

     18              A.    On the 21st.

     19              Q.    So were you employed by Katzkin prior to

     20        March 18, 2016?

     21              A.    I signed on to be employed by them, but I

     22        wasn't actively being paid by them.          No.   So I don't

     23        know how that qualifies.

     24              Q.    What steps did you take on behalf of Katzkin

     25        between February 1st, 2016, and March 18, 2016, to set


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      1        up a competing operation to CST?

      2                    MR. HOWARTH:     Object to the form.

      3               A.   I didn't set up a competing -- what are you

      4        asking me?    Did I set up for a what?        A competing --

      5               Q.   Yeah.     What steps did you take on behalf of

      6        Katzkin to assist Classic Design to expand their

      7        operation to compete with CST?

      8                    MR. HOWARTH:     Object to the form.

      9                    MR. WILSON:     Same objection.

     10               A.   I didn't.     I didn't set up anything to compete

     11        with them before I started -- I didn't help them out.              I

     12        mean, I don't understand what you're saying.           Did I

     13        start any business?       I didn't start a business with them

     14        before I started with Katzkin.

     15               Q.   You did meet with Dave Sheffler and John Held

     16        at least two or three times prior to March 18, 2016;

     17        true?

     18               A.   That's true.     That was after hours on my time.

     19        Yes.

     20               Q.   And in those discussions with John Held, you

     21        did discuss with him expanding his volume; true?

     22               A.   Yes.

     23               Q.   He did very little leather interiors at that

     24        time; true?

     25               A.   No.     He did -- he did an okay amount.       He


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      1        with my employees at the time.         Even though I was

      2        leaving, I didn't want to take part in it.

      3              Q.    Wasn't it your plan to have all the employees

      4        come over on March 21st in their entirety to be able to

      5        handle the increased volume from all the dealerships

      6        that you spoke to?

      7              A.    No, it was not.

      8              Q.    Looking at our Exhibit 5 declaration from

      9        Danny Valencia, it states in paragraph five that, quote,

     10        I attended in person at least four meetings at Classic

     11        Design Automotive, quote.

     12                    Do you remember Danny Valencia attending with

     13        you four meetings at CDA?

     14              A.    No.

     15              Q.    Did you invite Danny Valencia to attend

     16        meetings at CDA with you and Dave Sheffler?

     17              A.    No.

     18              Q.    Did Danny Valencia attend any meetings with

     19        you and Dave Sheffler?

     20              A.    To the best of my recollection, after the

     21        21st, Dave Sheffler met me there every day, and Danny

     22        was there.    So maybe that's what he was thinking of when

     23        Dave Sheffler and me met there, but that was after the

     24        21st -- or as of the 21st.

     25              Q.    How many meetings did you and Dave Sheffler


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      1        flip phone from five years ago.

      2              Q.     And you never went online to see if you could

      3        get them; correct?

      4              A.     I wouldn't even know how to do it.

      5              Q.     So between nine -- around 10:00 a.m., you

      6        called Dave Sheffler.        How many times did you call him

      7        between then and when you resigned at one?

      8              A.     How many times on that Friday did I call him?

      9              Q.     Correct.

     10              A.     The one time.

     11              Q.     And did you ever call mistakenly

     12        Dave Edmondson's phone?

     13              A.     Probably around -- when I was at the AT&T

     14        store and they switched the phone numbers over.

     15              Q.     Are you saying that's the next day?

     16              A.     No.     That was that Friday, the 18th.

     17              Q.     Okay.     So on the 18th, when did you go to the

     18        AT&T store to switch the phone records over?

     19              A.     Between 3 and 4 maybe, 3 and 4:30.        I'm not

     20        sure.      2 and 4.

     21              Q.     By then your testimony is you resigned?

     22              A.     Yes.

     23              Q.     And you had called Dave Sheffler in the

     24        morning, and he told you to just go in and resign?

     25              A.     Yes.


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      1        to Aaron Forrister?

      2              A.    No.    I can't recognize it from the computer.

      3              Q.    So you could not identify that as your voice?

      4        Is that your testimony?

      5              A.    Yes.

      6                    MR. WILSON:     That's what he just said.

      7              Q.    Are you denying that you made the statement to

      8        Aaron Forrister that you had talked to dealers?

      9              A.    I did not talk to dealers while I was working

     10        for Classic Soft Trim.

     11              Q.    No.    Did you tell Aaron Forrister that in the

     12        recording I just played for you?

     13                    MR. WILSON:     Object to the form of the

     14              question.     Nobody can understand your recording, if

     15              it is a recording.

     16              A.    I didn't hear them say one thing about

     17        dealers.

     18                    MR. MAHAFFEY:     Darlene, can you read back what

     19              you transcribed from the recording so far?

     20                    THE REPORTER:     I'm not -- I'm not transcribing

     21              the recording.      I can't understand it.      It sounds

     22              like garble.

     23                    MR. WILSON:     Darlene, can you make a note in

     24              the record that you couldn't understand it either.

     25                    THE REPORTER:     Yes.


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                                                                                  320

      1                             *   *   *   *   *

      2                          CERTIFICATE OF OATH

      3

      4        STATE OF CALIFORNIA )

      5        COUNTY OF NAPA )

      6

      7              I, Darlene Herndon, Registered Professional Reporter

      8        and Notary Public, State of Florida, certify that

      9        ROSS ALBERT produced identification and appeared before me

     10        via audio-video conference and was duly sworn on the 23rd

     11        day of June 2020.

     12              Witness my hand and official seal this 10th day of

     13        July 2020.

     14

     15

     16              _____________________________________

     17                     Darlene Herndon, RPR, CRC

     18                    Notary Public - State of Florida

     19                    My Commission No.: GG 914499

     20                    Expires:     November 20, 2023

     21

     22

     23

     24

     25


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                                                                                  321

      1                          *   *   *   *   *

      2              REPORTER'S DEPOSITION CERTIFICATE

      3

      4        STATE OF FLORIDA )

      5        COUNTY OF SEMINOLE )

      6

      7              I, Darlene Herndon, stenographic court reporter and

      8        Registered Professional Reporter, certify that I was

      9        authorized to and did stenographically report via

     10        audio-video conference the deposition of ROSS ALBERT; that

     11        a review of the transcript, pages 1 through 322, was

     12        requested; and that the transcript is a true and complete

     13        record of my stenographic notes.

     14              I further certify that I am not a relative,

     15        employee, or counsel of any of the parties, nor am I a

     16        relative or employee of any of the parties' counsel

     17        connected with the action, nor am I financially

     18        interested in the action.

     19              Dated this 10th day of July 2020.

     20

     21

     22              _____________________________________

     23                    Darlene Herndon, RPR, CRC

     24

     25


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                    EXHIBIT 10




                    EXHIBIT 10
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                            Roadwire, et al. v Katzkin, et al.

                                 Declaration of Brian Chase

         1.     My name is Brian Chase. I am a computer and mobile forensic expert, and
     director of digital forensics with ArcherHall. I have been doing digital forensics for
     over seven years. I have received certifications for computer and mobile forensics
     from AccessData, a leading vendor of forensic examination software. I am certified
     in mobile forensics by, and a member of, the International Association of Computer
     Investigative Specialists (IACIS). I received computer forensics training from the
     International Society of Forensic Computer Examiners. I have received, and
     continue to receive, training in the areas of digital evidence, computer forensics, and
     mobile forensics from a variety of companies specializing in the development of
     forensic software. For a complete list of my training, see the attached CV.

         2.     I earned an undergraduate degree in Management and Information
     Systems (MIS) from the University of Arizona Eller College of Business, one of the
     top five MIS programs in the country. In addition to my training and experience in
     forensics, I have a law degree from the University of Arizona James E. Rogers
     College of Law and have an active bar license in the State of Arizona. During my
     time at the University of Arizona, I worked for four years in the IT department of
     the College of Engineering, providing desktop, server, hardware, and networking
     support.

         3.    I have testified in approximately twelve matters, including civil and
     criminal jury trials and evidentiary hearings. I have been retained as a forensic
     expert on over 100 matters ranging from misdemeanor cases, to murder, to medical
     malpractice.

          4.    I am a frequent speaker at conferences and events on the topics of
     computer forensics, cell phone forensics, eDiscovery, and search and seizure law
     related to digital evidence.
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Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 137 of 184 PageID 16434
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 138 of 184 PageID 16435
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                                                                                          6




         32. Like the iCloud account, in order to download the data from the Google
     account, we would need Mr. Albert’s username, password, and second factor
     authentication. We would then be able to download the contents of his account and
     seach for any relevant ESI data.

          33. Google accounts can contain emails (GMail), documents (i.e., Google Docs
     and Sheets), contacts, location history, search history, calendar entries, photos, tasks,
     and more. Other disclosures in this matter have established that defendants use
     Google products to track orders and customers. Based on the data contained within
     this computer and related iPhone, it is more likely than not that there is relevant ESI
     contained in the Google account of theeleatherman@gmail.com.

         34. I was asked to also determine if Mr. Albert used during the relevant time
     frame a Gmail account named theeleatherman@gmail.com and to produce any
     emails from that account.

          35.   Mr. Albert did use the GMail account theeleatherman@gmail.com during
     the relevant time frame, as evidenced by numerous emails on Mr. Albert’s computer
     that are from “Ross Albert <theleatherman@gmail.com>” to Ross Albert’s
     katzkin.com address. These emails contain a signature line of “Sent from my iPad.”

          36.   This email indicates that Mr. Albert had an iPad that was connected to
     his theleatherman@gmail.com account and was using it to email himself.

          37. However all of the emails that were sent from theleatherman@gmail.com
     to other email addresses during the relevant time frame, are not on this laptop. To
     potentially recover those emails, I need the username and password to Mr. Albert’s
     Google account.

         38.    I was asked if any text messages were sent from Albert’s iPhone 6 during
     the time frame of January 15, 2015 to January 1, 2017, and if so if those can be
     recovered.

         39. I reviewed phone records from AT&T and concluded that SMS text
     messages were sent from Albert’s 2016 iPhone 6 commencing on March 18, 2016 and
     continuing past January 1, 2017. ( See Exhibit “A”) attached hereto.

         40. Those phone records show that text messages were sent to numerous
     phone numbers that I am informed are at issue including to an individual identified
     as “Edel” at W. Col Kia, sent on 3/19/16, to Dave Sheffler on 3/19/16, to John Held
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                                                      subject date ranges on the
    AT&T SMS bills
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                     EXHIBIT A




                     EXHIBIT A
         Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 142 of 184 PageID 16439



Item   Date            Time     Originating Number         Terminating Number          Location
1             03/14/16 22:06:08                14077480132                    94183566          [180033545:703256:-80.69117:28.35883:120:-1.0]


2             03/14/16 22:06:09                                           14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


3             03/14/16 22:06:22                         02                14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


4             03/14/16 22:06:23               11113271912                 14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


5             03/14/16 22:06:24               11113271912                 14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


6             03/14/16 22:06:35               14077480132                  1111340002


7             03/14/16 22:06:56               11113271912                 14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


8             03/14/16 22:06:58               11113271912                 14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


9             03/14/16 22:06:59               11113271912                 14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


10            03/14/16 22:07:01               11113271912                 14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


11            03/14/16 22:07:02               11113271912                 14077480132           [180033545:703256:-80.69117:28.35883:120:-1.0]


12            03/14/16 22:07:23               11113271912                 14077480132           [180033538:703256:-80.69117:28.35883:120:-1.0]


13            03/14/16 22:07:24               11113271912                 14077480132           [180033538:703256:-80.69117:28.35883:120:-1.0]


14            03/15/16 15:07:14                      35440                14077480132


15            03/17/16 14:02:40                      35440                14077480132


16            03/17/16 18:37:28               14077480132                        35440


17            03/17/16 18:37:33                      35440                14077480132
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18    03/18/16 21:55:29     14077480132


19    03/18/16 21:55:29     14077480132


20    03/18/16 21:58:40     14077480132        14076946133


21    03/18/16 21:58:40     14077480132        14076946133


22    03/18/16 22:09:47     14077480132        14076946133


23    03/18/16 22:09:47     14077480132        14076946133


24    03/18/16 22:13:23     14076946133        14077480132


25    03/18/16 22:13:23     14076946133        14077480132


26    03/18/16 23:03:31     14077480132        14076946133


27    03/18/16 23:03:31     14077480132        14076946133


28    03/18/16 23:08:00     14076946133        14077480132


29    03/18/16 23:08:00     14076946133        14077480132


30    03/18/16 23:21:45     14077480132        14076946133


31    03/18/16 23:21:45     14077480132        14076946133


32    03/19/16   0:21:33                       14077480132     [179575305:701466:-81.55764:28.53229:120:-1.0]


33    03/19/16   0:21:57                       14077480132     [179575305:701466:-81.55764:28.53229:120:-1.0]


34    03/19/16   0:23:53                       14077480132     [179575305:701466:-81.55764:28.53229:120:-1.0]
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35    03/19/16   0:23:54                            14077480132              [179575305:701466:-81.55764:28.53229:120:-1.0]


36    03/19/16   0:23:55                            14077480132              [179575305:701466:-81.55764:28.53229:120:-1.0]


37    03/19/16   0:24:43                            14077480132              [179575305:701466:-81.55764:28.53229:120:-1.0]


38    03/19/16   0:24:44                            14077480132              [179575305:701466:-81.55764:28.53229:120:-1.0]


39    03/19/16   0:24:45                            14077480132              [179575305:701466:-81.55764:28.53229:120:-1.0]


40    03/19/16   0:25:35                            14077480132              [179575305:701466:-81.55764:28.53229:120:-1.0]


41    03/19/16   0:25:36              14077480132                            [179575305:701466:-81.55764:28.53229:120:-1.0]


42    03/19/16   0:25:37              14077480132


43    03/19/16 12:48:57 14076946133   14077480132


44    03/19/16 12:48:57 14076946133   14077480132


45    03/19/16 12:49:04 14076946133   14077480132


46    03/19/16 12:49:04 14076946133   14077480132


47    03/19/16 14:57:55 14077480132   14074092282
                                                                  W. Col Kia Edel
48    03/19/16 14:57:58 14077480132   14074092282
                                                                  W. Col Kia Edel
49    03/19/16 15:02:59 14047977920   14077480132
                                                                  sheffler
50    03/19/16 16:29:30 13525616322   14077480132


51    03/19/16 16:29:30 13525616322   14077480132
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52    03/19/16 16:38:46 13525616322    14077480132


53    03/19/16 16:38:46 13525616322    14077480132


54    03/19/16 16:46:21 14077480132    13524287524
                                                         Held
55    03/19/16 17:58:03 14077480132    13524287524
                                                         Held
56    03/19/16 17:58:04 14077480132    13524287524
                                                         Held
57    03/19/16 21:02:32 14077480132    13524287524
                                                         Held
58    03/20/16 14:29:30 14077480132    15127445523
                                                         Cynthia Cantu
59    03/20/16 17:01:42 14077480132    14047977920
                                                         Sheffler
60    03/20/16 17:50:30 15127445523    14077480132
                                                         Cynthis Cantu
61    03/20/16 17:52:08 14077480132    15127445523
                                                         Cynthia Cantu
62    03/20/16 17:56:57 15127445523    14077480132
                                                         Cynthia Cantu
63    03/20/16 17:57:38 15127445523    14077480132
                                                         Cynthia Cantu
64    03/20/16 18:01:24 14077480132    15127445523
                                                         Cynthia Cantu
65    03/20/16 18:02:20 14077480132    15127445523
                                                         Cynthia Cantu
66    03/21/16   1:54:20 14074315909   14077480132                [179486474:701119:-81.59389:28.55861:240:-1.0]


67    03/21/16 12:34:42 02             14077480132                  [179486474:701119:-81.59389:28.55861:240:-1.0]


68    03/21/16 12:34:43 02             14077480132                  [181593111:709348:-81.71889:28.54694:120:-1.0]
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69    03/21/16 12:42:06 02            14077480132              [179519512:701248:-81.71889:28.54694:240:-1.0]


70    03/21/16 12:53:01               14077480132              [179519512:701248:-81.71889:28.54694:240:-1.0]


71    03/21/16 12:53:27               14077480132              [179519512:701248:-81.71889:28.54694:240:-1.0]


72    03/21/16 12:54:21               14077480132              [179519512:701248:-81.71889:28.54694:240:-1.0]


73    03/21/16 12:57:15               14077480132              [179519512:701248:-81.71889:28.54694:240:-1.0]


74    03/21/16 12:57:16               14077480132              [179519512:701248:-81.71889:28.54694:240:-1.0]


75    03/21/16 12:57:16 02            14077480132              [179464465:701033:-81.46111:28.64389:300:-1.0]


76    03/21/16 15:14:57 02            14077480132              [179464465:701033:-81.46111:28.64389:300:-1.0]


77    03/21/16 15:14:58 02            14077480132              [179473424:701068:-81.51278:28.67556:120:-1.0]


78    03/21/16 15:25:35               14077480132              [179473424:701068:-81.51278:28.67556:120:-1.0]


79    03/21/16 15:25:36 02            14077480132


80    03/21/16 15:51:51 19542895569   14077480132              [181545993:709164:-81.32981:28.58292:120:-1.0]


81    03/21/16 16:29:36 02            14077480132              [181545993:709164:-81.32981:28.58292:120:-1.0]


82    03/21/16 16:29:37 02            14077480132              [181545993:709164:-81.32981:28.58292:120:-1.0]


83    03/21/16 16:33:56 02            14077480132              [181545993:709164:-81.32981:28.58292:120:-1.0]


84    03/21/16 16:33:57 02            14077480132              [181545993:709164:-81.32981:28.58292:120:-1.0]


85    03/21/16 16:49:46 02            14077480132
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86     03/21/16 16:56:23 14013388671   14077480132
                                                          Audry Claremont Ford
87     03/21/16 16:56:23 14013388671   14077480132
                                                          Audry Claremont Ford
88     03/21/16 16:59:15 14077480132   14013388671
                                                          Audry Claremont Ford
89     03/21/16 16:59:15 14077480132   14013388671
                                                          Audry Claremont Ford
90     03/21/16 16:59:30 14013388671   14077480132
                                                          Audry Claremont Ford
91     03/21/16 16:59:31 14013388671   14077480132
                                                          Audry Claremont Ford
92     03/21/16 17:40:56 14077480132   14013388671
                                                          Audry Claremont Ford
93     03/21/16 17:41:06 14077480132   14013388671
                                                          Audry Claremont Ford
94     03/21/16 17:41:06 14077480132   14013388671
                                                          Audry Claremont Ford
95     03/21/16 17:41:09 14077480132   14013388671
                                                          Audry Claremont Ford
96     03/21/16 17:41:09 14077480132   14013388671
                                                          Audry Claremont Ford
97     03/21/16 17:41:09 14077480132   14013388671
                                                          Audry Claremont Ford
98     03/21/16 17:41:37 14013388671   14077480132
                                                          Audry Claremont Ford
99     03/21/16 17:41:37 14013388671   14077480132
                                                          Audry Claremont Ford
100    03/21/16 17:44:05 14077480132   14013388671
                                                          Audry Claremont Ford
101    03/21/16 17:44:15 14077480132   14013388671
                                                          Audry Claremont Ford
102    03/21/16 17:44:15 14077480132   14013388671
                                                          Audry Claremont Ford
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103    03/21/16 17:44:18 14077480132   14013388671
                                                          Audry Claremont Ford
104    03/21/16 17:44:18 14077480132   14013388671
                                                          Audry Claremont Ford
105    03/21/16 17:44:18 14077480132   14013388671
                                                          Audry Claremont Ford
106    03/21/16 17:44:43 14013388671   14077480132
                                                          Audry Claremont Ford
107    03/21/16 17:44:44 14013388671   14077480132
                                                          Audry Claremont Ford
108    03/21/16 17:44:49 14013388671   14077480132
                                                          Audry Claremont Ford
109    03/21/16 17:44:49 14013388671   14077480132
                                                          Audry Claremont Ford
110    03/21/16 17:52:46 14013388671   14077480132
                                                          Audry Claremont Ford
111    03/21/16 17:52:47 14013388671   14077480132
                                                          Audry Claremont Ford
112    03/21/16 17:54:57 14013388671   14077480132
                                                          Audry Claremont Ford
113    03/21/16 17:54:58 14013388671   14077480132                  [179472138:701063:-81.30756:28.47828:240:-1.0]


114    03/21/16 18:10:38 02            14077480132                 [179472138:701063:-81.30756:28.47828:240:-1.0]


115    03/21/16 18:10:39 02            14077480132                 [179472138:701063:-81.30756:28.47828:240:-1.0]


116    03/21/16 18:11:26               14077480132                 [179472138:701063:-81.30756:28.47828:240:-1.0]


117    03/21/16 18:11:27 02            14077480132                 [179472138:701063:-81.30756:28.47828:240:-1.0]


118    03/21/16 18:11:45               14077480132                 [179472138:701063:-81.30756:28.47828:240:-1.0]


119    03/21/16 18:32:08 02            14077480132                 [179472138:701063:-81.30756:28.47828:240:-1.0]
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120    03/21/16 18:32:09 02             14077480132                  [179472138:701063:-81.30756:28.47828:240:-1.0]


121    03/21/16 18:32:21                14077480132                  [179472138:701063:-81.30756:28.47828:240:-1.0]


122    03/21/16 18:32:22 02             14077480132                  [179478793:701089:-81.47111:28.55139:120:-1.0]


123    03/21/16 22:25:08 02             14077480132                  [179478793:701089:-81.47111:28.55139:120:-1.0]


124    03/21/16 22:25:09 02             14077480132                  [179478793:701089:-81.47111:28.55139:120:-1.0]


125    03/21/16 22:25:31                14077480132                  [179478793:701089:-81.47111:28.55139:120:-1.0]


126    03/21/16 22:25:31 02             14077480132                  [179478793:701089:-81.47111:28.55139:120:-1.0]


127    03/21/16 22:25:43                14077480132


128    03/21/16 23:04:58 14077480132    14047977920
                                                          Sheffler
129    03/21/16 23:30:18 13053386199    14077480132


130    03/21/16 23:30:18 13053386199    14077480132


131    03/22/16   0:54:27 14047977920   14077480132
                                                          Sheffler
132    03/22/16   0:57:44 14077480132   14047977920
                                                          sheffler
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                    EXHIBIT 11




                    EXHIBIT 11
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 151 of 184 PageID 16448




 From: Kathryn Greer <kathryn@mahaﬀeylaw.com>
 Sent: Tuesday, September 15, 2020 6:57 PM
 To: Wilson, Courtney B. <CWilson@liXler.com>; Doug Mahaﬀey <Dougm@mahaﬀeylaw.com>; Shaughnessy,
 Kevin W. <kshaughnessy@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>; Stephen Rapaport <stephen@mahaﬀeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>
 Subject: Re: Order for producaon of Albert devices #366

 Mr. Wilson,

 Only Kevin Foster can be present at the imaging. Even if a second person were possible with social
 distancing restricaons, we would never agree to Peter Kim, Ross Albert, Ron Leslie, Dave Sheﬄer or
 any other Katzkin employee inamately involved with the facts of this case to be present. Mr. Foster is
 certainly capable of providing access to the device. I'm not sure what you mean by "custodian" is Mr.
 Kim the custodian of the laptop or of the records? Regardless, Mr. Kim can present the laptop to
 Archer Hall with Mr. Foster who may maintain custody.

 We've already negoaated and agreed to an NDA for experts, Exhibit A to our conﬁdenaality
 agreement, and the NDA you provided is duplicaave. However, in the spirit of cooperaaon we will
 agree to have Archer Hall sign the NDA you provided with the small modiﬁcaaon, aXached here in
 redline.

 We expect for the imaging to proceed tomorrow, as required by the Court Order, at Archer Hall.

 Thank you.




 Kathryn Greer, ESQ

 Mahaffey Law Group, PC

 20162 SW Birch St, Ste 300



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 Newport Beach, CA 92660

 (949)-833-1400

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 From: Wilson, Courtney B. <CWilson@liXler.com>
 Sent: Tuesday, September 15, 2020 1:03 PM
 To: Kathryn Greer <kathryn@mahaﬀeylaw.com>; Doug Mahaﬀey <Dougm@mahaﬀeylaw.com>; Shaughnessy,
 Kevin W. <kshaughnessy@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>; Stephen Rapaport <stephen@mahaﬀeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>
 Subject: RE: Order for producaon of Albert devices #366


 Ms. Greer,



 We really need to have the custodian and the IT consultant present. And this is, at least in part, to assure
 they can provide your consultants with access to the data on the device at the ame of producaon. This will
 eliminate any need to exchange or disclose any passwords, keys or the like. They will both have masks and
 should be able to socially distance from your consultant in almost any sized room. Peter Kim from Katzkin
 and Kevin Foster from AllSafeIT will aXend.


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 A copy of our Privilege Log is aXached.



 I will forward the NDA separately as we are very short on ame and wanted to see if we can resolve these
 other last two items.




 Courtney B. Wilson
 Shareholder
 305.400.7565 direct, 305.489.6375 fax
 CWilson@LiXler.com




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 Wells Fargo Center, 333 SE 2nd Avenue, Suite 2700, Miami, FL 33131


 From: Kathryn Greer <kathryn@mahaﬀeylaw.com>
 Sent: Tuesday, September 15, 2020 1:55 PM
 To: Wilson, Courtney B. <CWilson@liXler.com>; Doug Mahaﬀey <Dougm@mahaﬀeylaw.com>; Shaughnessy,
 Kevin W. <kshaughnessy@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>; Stephen Rapaport <stephen@mahaﬀeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>; Alter, Lindsay <LAlter@liXler.com>; Tapia, Barbie <BTapia@liXler.com>; Gilbride,
 James F. <JGilbride@liXler.com>
 Subject: Re: Order for producaon of Albert devices #366



 Hello Mr. Wilson,




                                                                                                       Page 3 of 14
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 Thank you for your response. We are conﬁrmed for 10:00 am PST, tomorrow Wednesday September
 16 for imaging at Archer Hall 633 West Fifth Street, Suite 2600 Los Angeles, CA 90071. The
 examiner will need the password for the Lenovo device and the BitLocker recovery key. Due to
 COVID restricaons only one Katzkin representaave can be present during imaging. If you have a
 Katzkin representaave delivering the device and then an IT professional that will sit in on the imaging
 process that should be ﬁne, however, due to social distancing requirements only one person,
 presumably your IT professional, will be allowed to observe the actual imagining with the Archer Hall
 technician which will take several hours. We agree no counsel or other individuals will be present.



 I need the name of the IT professional or Katzkin representaave that will sit in on the imaging and that
 person will need to bring idenaﬁcaaon tomorrow. Face masks covering the nose and mouth will be
 required at all ames.



 Please send me a copy of the NDA and we will forward to the examiner.



 Regarding the potenaally privileged and protected informaaon, please forward the privilege log and I
 will review your proposal with Doug and Kevin and get back to you today.



 Thank you.



 Kathryn




 Kathryn Greer, ESQ

 Mahaffey Law Group, PC

 20162 SW Birch St, Ste 300


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 mail to dougm@mahaﬀeylaw.com and destroy this communicaVon and all copies thereof, including all
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 From: Wilson, Courtney B. <CWilson@liXler.com>
 Sent: Monday, September 14, 2020 3:52 PM
 To: Kathryn Greer <kathryn@mahaﬀeylaw.com>; Doug Mahaﬀey <Dougm@mahaﬀeylaw.com>; Shaughnessy,
 Kevin W. <kshaughnessy@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>; Stephen Rapaport <stephen@mahaﬀeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>; Alter, Lindsay <LAlter@liXler.com>; Tapia, Barbie <BTapia@liXler.com>; Gilbride,
 James F. <JGilbride@liXler.com>
 Subject: RE: Order for producaon of Albert devices #366




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 Good apernoon Ms. Greer,

 Thank you for your thoughqul response and proposals.

 Regarding the aming, we have arranged to move the producaon up to 10:00 A.M. PDT so that the imaging
 may be completed on Wednesday. Please conﬁrm this is agreeable.

 We will further agree to produce the device at the Archer Hall lab in Los Angeles as you propose, so long as
 the producaon is aXended only by the representaaves of Archer Hall you have designated. On our behalf, a
 representaave of Katzkin will produce the laptop accompanied by an IT consultant to assist as necessary and
 monitor the process. Counsel for the paraes will not aXend but may be consulted as necessary.

 The laptop is a Lenovo Yoga 2.13. We expect it can be easily imaged in a few hours but agree to start earlier
 as you proposed to avoid any diﬃculaes.

 The Katzkin representaave will be able to provide your consultants with access to the data on the device at
 the ame of producaon.

 As I have stated previously, Mr. Albert has no other devices that he used during the applicable ame frame.

 Pursuant to the paraes' Conﬁdenaality Agreement & Protecave Order and Judge Kelly’s Standing Order
 Regarding Conﬁdenaal Informaaon, the Consultants must execute a Nondisclosure Agreement prior to
 imaging the laptop because we have necessarily designated the hard drive as containing Highly
 Conﬁdenaal/AXorney’s Eyes Only informaaon. As previously oﬀered, we will re-designate individual
 documents if and as they are provided to us for that purpose.

 Finally, you have not responded to our proposal for handling aXorney-client privileged communicaaons that
 may be included on the laptop’s hard drive. However, because we have previously searched the same laptop
 for documents within the same ame frame, we can be reasonably conﬁdent that the documents to be
 idenaﬁed (and there are only about 20) on our privilege log should be the only privileged documents on the
 image within the permiXed search ame frame. Therefore, we can resolve this issue if you will agree that the
 Examiner will promptly search for, sequester, and not use or disclose the documents on our privilege log and
 any copies of them, unless and unal our claim of privilege is challenged and that challenge resolved by the
 Court (or by agreement). Please conﬁrm this is agreeable. If not, there are very strict protocols dictaang our
 ‘meet and confer’ requirements under Judge Kelly’s Standing Order Regarding Privileged And Protected
 Informaaon.

 I look forward to hearing from you.

 Courtney B. Wilson
 Shareholder
 305.400.7565 direct, 305.489.6375 fax
 CWilson@LiXler.com

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 From: Kathryn Greer <kathryn@mahaﬀeylaw.com>
 Sent: Monday, September 14, 2020 2:30 PM
 To: Wilson, Courtney B. <CWilson@liXler.com>; Doug Mahaﬀey <Dougm@mahaﬀeylaw.com>; Shaughnessy,
 Kevin W. <kshaughnessy@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>; Stephen Rapaport <stephen@mahaﬀeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>; Alter, Lindsay <LAlter@liXler.com>; Tapia, Barbie <BTapia@liXler.com>; Gilbride,
 James F. <JGilbride@liXler.com>
 Subject: Re: Order for producaon of Albert devices #366


 Hello Mr. Wilson,
       We agree to the production date of Wednesday September 16 at 2 pm.
       The location for imaging is controlled by the Rule 34 requests, which designates Mahaffey
       Law Group in Newport Beach. We have retained Archer Hall to perform the imaging of Mr.
       Albert's devices. I've attached the CV of both their director Brian Chase as well as their
       technician Brady Morgan who will perform the imaging. It is significantly less expensive to
       have the imaging performed at Archer Hall's Los Angeles lab rather than offsite, therefore we
       propose as a compromise that Mr. Albert deliver his devices to Archer Hall at the address
       below:
                     633 West Fifth Street, Suite 2600
                     Los Angeles, CA 90071
       Timing, we have inquired and been informed that it is impossible to know how long the
       imagining will take without more information about the device. We will need the
       make/model/year of the devices. Your proposed time of 2pm makes it unlikely that the
       imagining would be completed the same day. We will work with you on an earlier time frame
       Wednesday to have the imagining completed earlier if that is what Mr. Albert prefers.
       Mr. Albert's passwords are required to access data on the device and there is no reason to
       withhold the passwords. If he has security concerns because he uses the same password for
       personal accounts, he can simply change the password before turning over the device and
       provide the new password.
       The Court's Order granted our request for any devices Mr. Albert “used” during the subject
       timeframe (January 1, 2015 through January 1, 2018). Accordingly, Mr. Albert's ipad that he
       purchased prior to January 2018, his iphone purchased on March 18, 2016, his current
       telephone, his Nokia phone or any flip phone or other laptop that he used during the subject
       time frame must be produced. I understand that Mr. Albert testified that he lost several cell
       phones and lap tops after receiving a notice to preserve evidence, however if any of those
       devices have been retrieved or discovered since the deposition they must be produced for
       imaging.
       We have already provided Archer Hall with the documents you proposed:
              a) Judge Kelly’s Order (#366) and specifically the limitation to the time period ending




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               a) Judge Kelly’s Order (#366) and specifically the limitation to the time period ending
               January 1, 2018 for any searches of the image;
               b) the parties' Confidentiality Agreement & Protective Order;
               c) Judge Kelly’s Standing Order
         Finally, thank you for producing the "all business related non-privileged records" from Mr. Albert's
         laptop. Are you producing a privilege log or were there no privileged documents located on the laptop?

 Logistically, I think the primary issue we need to agree on is the location for the imaging. I'll let you look
 into Archer Hall, www.archerhall.com, they are a well-known and respected digital forensic and E-discovery
 firm in Los Angeles and are regularly used by national firms.

 Best,

 Kathryn




 Kathryn Greer, ESQ

 Mahaffey Law Group, PC

 20162 SW Birch St, Ste 300

 Newport Beach, CA 92660

 (949)-833-1400

 fax: 949-263-8736




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 mail to dougm@mahaﬀeylaw.com and destroy this communicaVon and all copies thereof, including all
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 From: Wilson, Courtney B. <CWilson@liXler.com>
 Sent: Friday, September 11, 2020 12:00 PM
 To: Doug Mahaﬀey <Dougm@mahaﬀeylaw.com>; Shaughnessy, Kevin W. <kshaughnessy@bakerlaw.com>;
 Kathryn Greer <kathryn@mahaﬀeylaw.com>; Quimby, P. Alex <aquimby@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>
 Subject: RE: Order for producaon of Albert devices #366

 Doug,

 To be clear, your request for production expressly incorporated references to certain vague protocols
 which you have now repeatedly refused to identify, discuss or ‘meet and confer’ to define. And you
 have failed to offer any reason that any terms of our proposed protocol is unreasonable or inconsistent
 with your requests and/or the Court’s Order.

 Nor do I understand what “delay” you are referring to as the production is not due until next
 Wednesday, September 16, 2020. We proposed three alternative dates a week ago and you still have not
 selected any of them. Accordingly, we will produce the laptop for imaging on September 16, 2020 at
 2:00 PDT at Katzkin’s offices. However, because of the arrangements that need to be made for such
 production, we need you to confirm that date/time no later than COB Monday September 14, 2020.

 Finally, this will also confirm that we have recently produced all business related, non-privileged
 documents during the pre- 2018 time frame, that reside on Mr. Albert’s laptop, as part of our broader
 production in response to prior requests and the Court’s Order concerning those prior requests. So you
 do not actually need, and will not get, any documents from a search of the laptop that you do not
 already have in your possession from our recent production.

 Courtney B. Wilson
 Shareholder
 305.400.7565 direct, 305.489.6375 fax
 CWilson@Littler.com

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 Wells Fargo Center, 333 SE 2nd Avenue, Suite 2700, Miami, FL 33131
 From: Doug Mahaffey <Dougm@mahaffeylaw.com>


                                                                                                                 Page 9 of 14
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 160 of 184 PageID 16457


 Sent: Wednesday, September 9, 2020 9:51 AM
 To: Wilson, Courtney B. <CWilson@littler.com>; Shaughnessy, Kevin W.
 <kshaughnessy@bakerlaw.com>; Kathryn Greer <kathryn@mahaffeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>
 Subject: RE: Order for production of Albert devices #366


 [EXTERNAL E-MAIL]


 Courtney,

 The Court orders are both being violated by your clients refusal to comply. Further delays are causing
 severe prejudice to the Plaintiffs. I have no authority to delay by more meet and confers or engage a
 facilitator. We will be preparing and filing a motion for expedited ruling compelling your client to
 forthwith cooperate in the forensic examination, including providing all passwords to the locations of
 ESI that exist.

 We ask again for Mr. Albert to fully comply with the Court’s orders.



 Image




 Douglas L. Mahaffey, Esq,
 20162 SW Birch Street, Ste 300
 Newport Beach, CA 92660
 Work 949-833-1400
 Cell 949-463-7994
 dougm@mahaffeylaw.com
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 From: Wilson, Courtney B. <CWilson@littler.com>
 Sent: Wednesday, September 9, 2020 5:48 AM
 To: Doug Mahaffey <Dougm@mahaffeylaw.com>; Shaughnessy, Kevin W.
 <kshaughnessy@bakerlaw.com>; Kathryn Greer <kathryn@mahaffeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>
 Subject: RE: Order for production of Albert devices #366

 Following up as no one responded.

 To recap, I responded that I was available almost anytime this week to ‘meet and confer’ and I
 suggested we utilize the Facilitator.

 Courtney B. Wilson
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 CWilson@Littler.com

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 From: Wilson, Courtney B.
 Sent: Friday, September 4, 2020 5:50 PM
 To: 'Doug Mahaffey' <Dougm@mahaffeylaw.com>; Shaughnessy, Kevin W.
 <kshaughnessy@bakerlaw.com>; Kathryn Greer <kathryn@mahaffeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>
 Subject: RE: Order for production of Albert devices #366

 Doug,

 We obviously need to confer and I would suggest we employ the same Facilitator you previously used
 with success as she is familiar with the case and some of these similar e-discovery issues. I am pretty
 open any day next week and can reach out for her availability if you, Kevin and Kate can let me know
 your availability.

 Without inviting further unproductive email exchanges, I can assure you that I have reviewed your two
 requests and Magistrate Kelly’s Order limiting the time frame of those two requests. Your request was
 for “cell phone(s), laptop(s), tablet(s), and desktops” Mr. Albert used during the specified time frames,
 now limited by Judge Kelly’s Order to January 1, 2015 through January 1, 2018. The only such device
 Mr. Albert currently possesses that he used during that time frame is his Katzkin issued laptop which
 we are prepared to produce.

 Neither your two requests, your motion to compel, nor Judge Kelly’s Order make any reference to any
 other devices, passwords, or “Google drives.”

 Courtney B. Wilson
 Shareholder

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 From: Doug Mahaffey <Dougm@mahaffeylaw.com>
 Sent: Friday, September 4, 2020 1:00 PM
 To: Wilson, Courtney B. <CWilson@littler.com>; Shaughnessy, Kevin W.
 <kshaughnessy@bakerlaw.com>; Kathryn Greer <kathryn@mahaffeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>
 Subject: RE: Order for production of Albert devices #366


 [EXTERNAL E-MAIL]


 Courtney,

 These demands are not acceptable. You do not have any Court order that allows for these parameters.
  You waived any arguments you had to define these parameters. You are to deliver to our designated
 IT personnel Mr. Alberts desktop, cell phone, lap top and tablets, including any older hardrives, jump
 drives, any other devices. You must also deliver the passwords to all Google accounts of Mr. Albert.
 Your failure to do so will be included as further support for our motion to strike Mr. Albert’s answer.

 Kindly read the demand that was granted and the order carefully to be sure you comply. The name and
 address of the IT specialist is”

 Mark Nunes PO BOX 516 Yorba Linda, CA 92885.

 Because the devices are in California, Mr. Nunes is who we are using. You must give him the Google
 account password today and he is happy to work with your IT specialist who can monitor the Google
 Take Out procedure. Be sure Mr. Albert provides all Google accounts he used in the past. His willful
 failure to do so will be an additional basis for our sanctions motion.

 Should you desire to meet and confer on this, please provide a time for the discussion for both Kevin,
 Kate and my calendar.




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 Kate and my calendar.

 Your delay is causing further prejudice to Plaintiffs ability to address recent orders.


 Image




 Douglas L. Mahaffey, Esq,
 20162 SW Birch Street, Ste 300
 Newport Beach, CA 92660
 Work 949-833-1400
 Cell 949-463-7994
 dougm@mahaffeylaw.com
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 by return e-mail or by e-mail to dougm@mahaffeylaw.com and destroy this communication and
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 From: Wilson, Courtney B. <CWilson@littler.com>
 Sent: Friday, September 4, 2020 9:15 AM
 To: Doug Mahaffey <Dougm@mahaffeylaw.com>; Shaughnessy, Kevin W.
 <kshaughnessy@bakerlaw.com>; Kathryn Greer <kathryn@mahaffeylaw.com>; Quimby, P. Alex
 <aquimby@bakerlaw.com>
 Cc: Don Howarth (DHowarth@howarth-smith.com) <DHowarth@howarth-smith.com>; Tomas Glaspy
 <TGlaspy@howarth-smith.com>
 Subject: Order for production of Albert devices #366

 Doug & Kevin,

 Pursuant to Magistrate Judge Kelly’s Order (#366), Mr. Albert can make his laptop computer available
 for imaging, at Katzkin’s Los Angeles offices, on September 14, 15 or 16, 2020. Mr. Albert will be




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 accompanied by an IT consultant to monitor the process, along with a representative of Katzkin. To
 limit the number of persons for social distancing counsel we propose that counsel will attend, if at all,
 only by telephone.

 Mr. Albert has no other devices responsive to your requests as modified by Judge Kelly’s Order.

 In preparation for this process, please provide the following:

 1.      The name and address of the forensic IT company/person (“Examiner”) that will perform the
 imaging.

 2.      Any particular requirements that the examiner will have to conduct the imaging including the
 expected duration of the imaging process.

 3.        Written confirmation from the Examiner that in creating the image and maintaining custody of
 it, the Examiner has carefully read and agreed to abide by:

        a) Judge Kelly’s Order (#366) and specifically the limitation to the time period ending January
        1, 2018 for any searches of the image;

        b) the parties’ Confidentiality Agreement & Protective Order (see below);

        c) Judge Kelly’s Standing Order referenced in your request [please provide copies]; and

        d) the applicable Federal Rules of Civil Procedure referenced in your request [please provide
        copies].


 With respect to privileged communications that may be included in the image, the Examiner will agree
 to provide us copies of any search results prior to any review or other disclosure to you so that we may
 identify any search results that contain privileged information. In that event, we will provide a
 privilege log and the Examiner must promptly return, sequester, or destroy the specified information
 and any copies of it, and must not use or disclose the information unless and until the claim of privilege
 is challenged and that challenge resolved.

 With respect to the parties’ Confidentiality Agreement & Protective Order, we must designate the image
 as Highly Confidential/Attorney’s Eyes Only as it clearly contains such information and an image of the
 computer’s entire hard drive precludes segregated designations. However, when the Examiner provides
 us search results consisting of separate documents, we will specifically re-designate each document in
 accordance with the Protective Order at the same time we conduct the privilege review.

 Please let me know if these terms are acceptable and which date we can reserve for the imaging
 process.

 Courtney B. Wilson




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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

                                   CASE NO. 6:18-cv-01237-WWB-GJK

    CLASSIC SOFT TRIM, INC.,
    and ROADWIRE, LLC,

             Plaintiffs,

    v.

    ROSS ALBERT and
    KATZKIN LEATHER, INC.,

             Defendants.
                                        /

                             ARCHER HALL NONDISCLOSURE AGREEMENT

             Our Firm, Archer Hall, has been retained by counsel for the Plaintiffs, Mahaffey Law

    Group P.C., to create an image of electronic device produced by Defendant, Ross Albert, and

    thereafter conduct certain searches of that image limited by Court Order to documents existing

    prior to January 1, 2018.

             I have been informed that the image has been designated as “Highly Confidential/Attorneys

    Eyes Only” pursuant to the parties' Confidentiality Agreement & Protective Order and Magistrate

    Judge Kelly’s Standing Order Regarding Confidential Information. The Mahaffey Firm has

    provided us with copies of both the Confidentiality Agreement & Protective Order and Judge

    Kelly’s Standing Order Regarding Confidential Information, and we have reviewed those Orders

    and agreed to comply with their terms in maintaining the confidentiality of the image of the device

    and the results of any searches on the image.

             Accordingly, on behalf of Archer Hall, I hereby agree that we will not disclose any

    information contained on the image or the results of any search of the image, except to the


    4843-4933-1147.1 049386.1006
    DRAFT 9/15/20
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 167 of 184 PageID 16464




    Mahaffey Firm and only in accordance with the Confidentiality Agreement & Protective Order

    and Magistrate Judge Kelly’s Standing Order Regarding Confidential Information.


    __________________________________________
    Print Name


    __________________________________________                      _______________________
    Signature                                                       Date


    Signed in the presence of:         _______________________________________________
                                       (Witness)




    4843-4933-1147.1 049386.1006
    DRAFT 9/15/20
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 168 of 184 PageID 16465



                    EXHIBIT 12




                    EXHIBIT 12
Case 6:18-cv-01237-WWB-GJK Document 395 Filed 11/02/20 Page 169 of 184 PageID 16466




 From: Wilson, Courtney B. <CWilson@liMler.com>
 Sent: Thursday, October 15, 2020 6:43 PM
 To: Doug Mahaﬀey <Dougm@mahaﬀeylaw.com>
 Cc: Shaughnessy, Kevin W. <kshaughnessy@bakerlaw.com>
 Subject: Re: Conference on Pre Trial

 Doug
 I was in a meeXng most of the day but I have some Xme tomorrow aYernoon.
 However you have cited several emails we exchanged concerning our compliance with the prior orders. If
 nothing has changed since then, I would agree that we conferred regarding those issues at that Xme.
 I do not think your “cerXﬁcate of counsel” accurately reﬂects what occurred in that meet and confer, but I
 would not take the posiXon that it did not occur.

       Courtney B. Wilson
       305.400.7565 direct CWilson@LiMler.com




       On Oct 15, 2020, at 12:59 PM, Doug Mahaﬀey <Dougm@mahaﬀeylaw.com> wrote:

       [EXTERNAL E-MAIL]



       Courtney, this is the 4th email I sent that schedule a meet and confer that you failed to aMend.
       You need to call me to discuss. Four separate emails have asked for you to produce the
       missing devices and passwords.




                                                                                                          Page 1 of 3
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      From: Doug Mahaﬀey
      Sent: Wednesday, October 14, 2020 3:19 PM
      To: Don Howarth <DHowarth@howarth-smith.com>; Wilson, Courtney B.
      <CWilson@liMler.com>
      Cc: Shaughnessy, Kevin W. <kshaughnessy@bakerlaw.com>
      Subject: Conference on Pre Trial

      I will be able to join at 4:PST. I will send a zoom invite to this list, and anyone else Don your or
      Courtney would like.

      We will be requesXng your posiXon on the following in this conference.

         1. We are ﬁling today the MoXon to Strike Albert’s answer for violaXon of Dkt 350 and Dkt
            366 and for his spoliaXon of evidence, including but not limited to, his destrucXon of 3
            cell phones, 1 lap top, three cloud accounts, and thousands of text messages. We again
            request that he provide us all passwords to his cloud accounts, iCloud and Google, and
            his iPhone 8 and iPad Pro.
         2. We are ﬁling a Rule 59 moXon to add back claims against CLP and Katzkin for Ohio law
            violaXons involving Vogel, and inserXon of facts on CLP’s control of torXous conduct. This
            moXon is based on ESI produced in the last 90 days that was not available when the
            acXon was ﬁrst alleged.
         3. We request a 90 day enlargement of all dates, including all Pretrial deadlines so that if
            some of these moXons are granted, the witnesses and exhbits will be included as
            appropriate. This includes our requests for a 90 day extension on witness list, list of
            moXons is limine, and sXpulated facts. These items will be impacted by the Court’s ruling
            on the Albert sancXon moXon, the rule 59 moXon and the Katzkin sancXon moXon. The
            deposiXon of Jones will also impact the requirements of the pre trial documents. If this
            request is not sXpulated to, we will ﬁle that moXon for enlargement.
         4. We are ﬁling a moXon to strike Katzkin’s answer based on the substanXal new evidence
            from the CDA image, the lap top data and the phone records which support a substanXal
            failure to produce ESI in violaXon of the court’s order. AlternaXvely we are requesXng the
            Court turn over all devices of Katzkin and passwords to various cloud accounts with an
            enlargement of the discovery cut oﬀ dates for PlainXﬀ to re take mulXple Katzkin
            deposiXons once these ESI items are produced. This is based in part on phone records
            that reveal numerous text messages and phone calls that we had no knowledge of and
            that were denied by Katzkin’s employees.
         5. We are asking the Court to expedite a ruling on our requests that a evidenXary hearing
            occur with albert and our IT expert Brian Chase, and if that is granted and that hearing
            scheduled, then the impact on the Pre trial deadlines will be substanXal.

      Please be prepared to discuss your posiXon on these topics.




                                                                                                             Page 2 of 3
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       <image001.png>
       Douglas L. Mahaffey, Esq.
       20162 SW Birch Street, Ste 300
       Newport Beach, CA 92660
       Work 949-833-1400
       Facsimile: 949.263.8736
       Email: dougm@mahaffeylaw.com

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                    EXHIBIT 13




                    EXHIBIT 13
                       sms   leslie to albert
                        Case 6:18-cv-01237-WWB-GJK DocumentMOBILITY
                                                            395 Filed 11/02/20 Page 173 of 184 PageID 16470
2986012                                            (with cell location)
06/01/2020                     AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                               AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                               UTC.


Run Date:              06/02/2020
Run Time:              06:34:04
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.     Originating      Terminating         IMEI              IMSI         Desc   Feature   Cell Location
        Date        Time        Number           Number
                   (UTC)
2745   07/13/15   21:46:13 14043863609     14047977920      3544110679565706   310410755704353   SMSO             [197488143:771438:-80.8762833:35.4422417::-1.0]
                                                                  APPLE
                                                                 IPHONE6
2746   07/13/15   21:50:07 14047977920     14043863609                         310410755704353   SMST
2747   07/13/15   21:50:09 14047977920     14043863609      3544110679565706   310410755704353   SMST             [197376785:771003:-80.873253:35.46241:270:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2748   07/14/15   13:25:26 17045770823     14043863609                         310410755704353   SMST
2749   07/14/15   13:27:50 17045770823     14043863609      3544110679565706   310410755704353   SMST             [208975376:816310:-74.8444722:40.3942222:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2750   07/14/15   13:45:13 14043863609     17045770823      3544110679565706   310410755704353   SMSO             [208327439:813779:-74.1658888:40.6805555:50:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2751   07/14/15   13:47:48 14074668294     14043863609                         310410755704353   SMST
2752   07/14/15   13:47:50 14074668294     14043863609      3544110679565706   310410755704353   SMST             [03919/17462:-74.193499:40.68667:150:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2753   07/14/15   13:48:48 17045770823     14043863609                         310410755704353   SMST
2754   07/14/15   13:48:50 17045770823     14043863609      3544110679565706   310410755704353   SMST             [03919/17462:-74.193499:40.68667:150:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2755   07/14/15   15:40:00 14047977920     14043863609                         310410755704353   SMST
2756   07/14/15   15:40:03 14047977920     14043863609      3544110679565706   310410755704353   SMST             [208157193:813114:-74.1812777:40.6629444:150:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2757   07/14/15   16:06:41 14043863609     14047977920      3544110679565706   310410755704353   SMSO             [208157193:813114:-74.1812777:40.6629444:150:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2758   07/15/15   18:13:58 14047977920     14043863609                         310410755704353   SMST
2759   07/15/15   18:14:00 14047977920     14043863609      3544110679565706   310410755704353   SMST             [008525841:33304:-74.97453:40.00947:270:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2760   07/15/15   18:14:20 14043863609     14047977920      3544110679565706   310410755704353   SMSO             [008525841:33304:-74.97453:40.00947:270:-1.0]
                                                                  APPLE
                                                                 IPHONE6
2761   07/15/15   18:18:35 14047977920     14043863609                         310410755704353   SMST
2762   07/15/15   18:18:36 14047977920     14043863609      3544110679565706   310410755704353   SMST             [008525841:33304:-74.97453:40.00947:270:-1.0]
                                                                  APPLE
                                                                 IPHONE6




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                                                               395 Filed 11/02/20 Page 174 of 184 PageID 16471
2986012                                                        (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:06
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating     IMEI               IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
3889   11/11/15   16:49:41   19493555667    14043863609                                        SMSO
3890   11/11/15   16:49:41   19493555667    14043863609                                        SMST
3891   11/11/15   16:50:15   14043863609    19493555667                                        SMSO
3892   11/11/15   16:50:15   14043863609    19493555667                                        SMST
3893   11/11/15   17:26:28   17046742885    14043863609                                        SMST
3894   11/11/15   17:27:40   14043863609    17046742885                                        SMSO
3895   11/11/15   17:31:52   17046742885    14043863609                                        SMST
3896   11/11/15   17:31:53   17046742885    14043863609                                        SMST
3897   11/11/15   19:31:25   14043863609    14047977920                                        SMSO
3898   11/11/15   21:45:25   17607996150    14043863609                                        SMSO
3899   11/11/15   21:45:25   17607996150    14043863609                                        SMST
3900   11/11/15   23:59:09   17607996150    14043863609                                        SMSO
3901   11/11/15   23:59:09   17607996150    14043863609                                        SMST
3902   11/12/15   00:49:11   14043863609    17607996150                                        SMSO
3903   11/12/15   00:49:13   14043863609    17607996150                                        SMST
3904   11/12/15   00:50:28   17607996150    14043863609                                        SMSO
3905   11/12/15   00:50:28   17607996150    14043863609                                        SMST
3906   11/12/15   00:54:19   14043863609    17607996150                                        SMSO
3907   11/12/15   00:54:21   14043863609    17607996150                                        SMST
3908   11/12/15   14:50:08   17607996150    14043863609                                        SMSO
3909   11/12/15   14:50:08   17607996150    14043863609                      310410755704353   SMST
3910   11/13/15   14:46:49   17607996150    14043863609                                        SMSO
3911   11/13/15   14:46:49   17607996150    14043863609                      310410755704353   SMST
3912   11/15/15   18:08:33   14043863609    16082893704                                        SMSO
3913   11/15/15   19:00:25   18173685075    14043863609                                        SMSO
3914   11/15/15   19:00:25   18173685075    14043863609                      310410755704353   SMST
3915   11/16/15   15:03:58   17607996150    14043863609                                        SMSO
3916   11/16/15   15:03:58   17607996150    14043863609                                        SMST
3917   11/16/15   15:06:48   14043863609    17607996150                                        SMSO
3918   11/16/15   15:06:50   14043863609    17607996150                                        SMST
3919   11/16/15   18:35:51   15147727921    14043863609                                        SMST
3920   11/16/15   23:24:19   14047977920    14043863609                                        SMST
3921   11/18/15   13:56:09   17607996150    14043863609                                        SMSO
3922   11/18/15   13:56:09   17607996150    14043863609                                        SMST
3923   11/18/15   16:23:16   14074668294    14043863609                                        SMST
3924   11/18/15   16:24:46   14043863609    14074668294                                        SMSO




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                                                               395 Filed 11/02/20 Page 175 of 184 PageID 16472
2986012                                                        (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:06
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating     IMEI               IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
3925   11/18/15   22:51:40   14043863609    14074668294                                        SMSO
3926   11/18/15   23:34:49   14074668294    14043863609                                        SMST
3927   11/18/15   23:53:46   17607996150    14043863609                                        SMSO
3928   11/18/15   23:53:47   17607996150    14043863609                                        SMSO
3929   11/18/15   23:53:48   17607996150    14043863609                                        SMST
3930   11/18/15   23:53:48   17607996150    14043863609                                        SMST
3931   11/19/15   00:25:32   14043863609    17607996150                                        SMST
3932   11/19/15   00:27:19   17046742885    14043863609                                        SMST
3933   11/19/15   00:30:11   14043863609    17046742885                                        SMSO
3934   11/19/15   00:32:27   17046742885    14043863609                                        SMST
3935   11/19/15   00:33:48   14043863609    17046742885                                        SMSO
3936   11/19/15   00:49:29   14043863609    14074668294                                        SMSO
3937   11/19/15   00:52:35   14074668294    14043863609                                        SMST
3938   11/19/15   00:52:58   14043863609    14074668294                                        SMSO
3939   11/19/15   00:53:02   17046742885    14043863609                                        SMST
3940   11/19/15   16:11:21   17046742885    14043863609                                        SMST
3941   11/19/15   16:37:37   17046742885    14043863609                                        SMST
3942   11/19/15   17:18:53   17607996150    14043863609                                        SMSO
3943   11/19/15   17:18:53   17607996150    14043863609                                        SMST
3944   11/19/15   19:10:58   17607996150    14043863609                                        SMSO
3945   11/19/15   19:10:58   17607996150    14043863609                                        SMST
3946   11/19/15   19:11:38   14043863609    17607996150                                        SMSO
3947   11/19/15   19:11:39   14043863609    17607996150                                        SMST
3948   11/19/15   19:19:38   17046742885    14043863609                                        SMST
3949   11/19/15   20:26:25   14043863609    17046742885                                        SMSO
3950   11/19/15   21:21:58   14043863609    15862191066                      310410755704353   SMSO
3951   11/19/15   21:21:58   14043863609    15862191066                                        SMST
3952   11/19/15   21:21:58   14043863609    15864842199                      310410755704353   SMSO
3953   11/19/15   21:21:58   14043863609    15864842199                                        SMST
3954   11/19/15   21:24:03   15862191066    14043863609                                        SMSO
3955   11/19/15   21:24:03   15862191066    14043863609                      310410755704353   SMST
3956   11/19/15   21:24:04   1111301000     14043863609                                        SMST
3957   11/19/15   21:24:04   1111301000     14043863609                                        SMST
3958   11/19/15   22:22:38   15864842199    14043863609                                        SMSO
3959   11/19/15   22:22:38   15864842199    14043863609                      310410755704353   SMST
3960   11/19/15   22:22:39   1111301000     14043863609                                        SMST




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2986012                                                        (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:07
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating     IMEI               IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
4141   12/02/15   20:46:21   12882564782    14043863609                                        SMST
4142   12/02/15   20:46:21   12882564782    14043863609                                        SMST
4143   12/02/15   21:12:16   17602188583    14043863609                      310410755704353   SMST
4144   12/02/15   22:26:14   14043863609    17607996150                                        SMST
4145   12/02/15   22:36:51   17607996150    14043863609                                        SMSO
4146   12/02/15   22:36:51   17607996150    14043863609                                        SMST
4147   12/03/15   16:20:59   14043863609    17607996150                                        SMSO
4148   12/03/15   16:20:59   14043863609    17607996150                                        SMST
4149   12/03/15   16:21:11   17607996150    14043863609                                        SMSO
4150   12/03/15   16:21:11   17607996150    14043863609                                        SMST
4151   12/03/15   20:25:41   15624517807    14043863609                                        SMST
4152   12/03/15   22:40:56   14054083937    14043863609                                        SMSO
4153   12/03/15   22:40:56   14054083937    14043863609                      310410755704353   SMST
4154   12/03/15   22:40:58   1111301000     14043863609                                        SMST
4155   12/03/15   22:40:58   1111301000     14043863609                                        SMST
4156   12/03/15   22:41:14   1111301000     14043863609                                        SMST
4157   12/03/15   22:41:14   1111301000     14043863609                                        SMST
4158   12/03/15   22:41:14   14054083937    14043863609                                        SMSO
4159   12/03/15   22:41:14   14054083937    14043863609                      310410755704353   SMST
4160   12/03/15   22:41:24   1111301000     14043863609                                        SMST
4161   12/03/15   22:41:24   1111301000     14043863609                                        SMST
4162   12/03/15   22:41:24   14054083937    14043863609                                        SMSO
4163   12/03/15   22:41:24   14054083937    14043863609                      310410755704353   SMST
4164   12/03/15   22:43:39   14054083937    14043863609                                        SMST
4165   12/03/15   22:44:44   14054083937    14043863609                                        SMSO
4166   12/03/15   22:44:44   14054083937    14043863609                      310410755704353   SMST
4167   12/03/15   22:44:46   1111301000     14043863609                                        SMST
4168   12/03/15   22:44:46   1111301000     14043863609                                        SMST
4169   12/03/15   22:45:37   14054083937    14043863609                                        SMST
4170   12/04/15   21:29:03   14043863609    14074668294                                        SMSO
4171   12/05/15   00:14:56   17607996150    14043863609                                        SMSO
4172   12/05/15   00:14:58   17607996150    14043863609                                        SMST
4173   12/05/15   00:14:58   17607996150    14043863609                                        SMST
4174   12/05/15   04:33:04   13236403124    14043863609                                        SMSO
4175   12/05/15   04:33:04   13236403124    14043863609                      310410755704353   SMST
4176   12/05/15   04:33:05   1111301000     14043863609                                        SMST




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                                                               395 Filed 11/02/20 Page 177 of 184 PageID 16474
2986012                                                        (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:07
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating     IMEI               IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
4177   12/05/15   04:33:05   1111301000     14043863609                                        SMST
4178   12/05/15   04:33:26   13236403124    14043863609                                        SMSO
4179   12/05/15   04:33:26   13236403124    14043863609                      310410755704353   SMST
4180   12/05/15   04:33:27   1111301000     14043863609                                        SMST
4181   12/05/15   04:33:27   1111301000     14043863609                                        SMST
4182   12/05/15   09:05:56   12145572513    14043863609                                        SMSO
4183   12/05/15   14:26:43   7535           14043863609                                        SMST
4184   12/06/15   08:18:32   12145572513    14043863609                                        SMSO
4185   12/06/15   08:49:32   12489306268    14043863609                                        SMSO
4186   12/07/15   14:34:23   14043863609    14074668294                                        SMSO
4187   12/07/15   15:56:48   17607996150    14043863609                                        SMSO
4188   12/07/15   15:56:48   17607996150    14043863609                                        SMST
4189   12/07/15   18:10:15   14043863609    17046742885                      310410755704353   SMSO
4190   12/07/15   18:10:15   14043863609    17046742885                                        SMST
4191   12/07/15   18:42:12   17046742885    14043863609                                        SMST
4192   12/07/15   18:42:53   14043863609    17046742885                                        SMSO
4193   12/07/15   18:43:34   17046742885    14043863609                                        SMST
4194   12/07/15   18:51:27   17046742885    14043863609                                        SMST
4195   12/07/15   18:54:09   14043863609    17046742885                                        SMSO
4196   12/07/15   18:55:57   14043863609    17046742885                                        SMSO
4197   12/07/15   18:57:57   14043863609    17046742885                                        SMSO
4198   12/08/15   18:54:45   17607996150    14043863609                                        SMSO
4199   12/08/15   18:54:45   17607996150    14043863609                      310410755704353   SMST
4200   12/08/15   18:54:48   1111301000     14043863609                                        SMST
4201   12/08/15   18:54:48   1111301000     14043863609                                        SMST
4202   12/08/15   20:38:30   17607996150    14043863609                                        SMSO
4203   12/08/15   20:38:30   17607996150    14043863609                                        SMST
4204   12/09/15   00:35:11   15862191066    14043863609                                        SMST
4205   12/09/15   00:36:04   14043863609    15862191066                                        SMSO
4206   12/09/15   12:23:51   17607996150    14043863609                                        SMSO
4207   12/09/15   12:23:51   17607996150    14043863609                      310410755704353   SMST
4208   12/09/15   12:23:52   1111301000     14043863609                                        SMST
4209   12/09/15   12:23:52   1111301000     14043863609                                        SMST
4210   12/09/15   23:55:24   14047977920    14043863609                                        SMST
4211   12/10/15   02:10:10   14043863609    14047977920                                        SMSO
4212   12/10/15   02:10:42   14043863609    14047977920                                        SMSO




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                                                               395 Filed 11/02/20 Page 178 of 184 PageID 16475
2986012                                                        (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:08
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating     IMEI               IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
4701   01/17/16   16:55:34   12489306268    14043863609                                        SMST
4702   01/18/16   19:08:20   19493555667    14043863609                                        SMSO
4703   01/18/16   19:08:21   19493555667    14043863609                                        SMST
4704   01/18/16   19:10:35   19493555667    14043863609                                        SMSO
4705   01/18/16   19:10:36   19493555667    14043863609                                        SMST
4706   01/18/16   19:12:29   14043863609    19493555667                                        SMSO
4707   01/18/16   19:12:29   14043863609    19493555667                                        SMST
4708   01/18/16   19:14:55   19493555667    14043863609                                        SMSO
4709   01/18/16   19:14:55   19493555667    14043863609                                        SMST
4710   01/18/16   21:05:26   15864842199    14043863609                                        SMST
4711   01/18/16   21:06:29   14043863609    15864842199                                        SMSO
4712   01/18/16   21:12:49   15864842199    14043863609                                        SMST
4713   01/18/16   21:13:28   14043863609    15864842199                                        SMSO
4714   01/19/16   17:21:26   12815419531    14043863609                                        SMSO
4715   01/19/16   17:21:26   12815419531    14043863609                                        SMST
4716   01/19/16   17:27:02   19802412129    14043863609                                        SMST
4717   01/19/16   19:45:22   14043863609    19802412129                                        SMSO
4718   01/19/16   19:45:22   14043863609    19802412129                                        SMSO
4719   01/19/16   20:27:01   17046742885    14043863609                                        SMST
4720   01/19/16   20:29:16   14043863609    17046742885                                        SMSO
4721   01/19/16   20:30:29   17046742885    14043863609                                        SMST
4722   01/19/16   21:38:59   19802412129    14043863609                                        SMST
4723   01/19/16   21:48:30   14043863609    19802412129                                        SMSO
4724   01/19/16   22:20:50   17607996150    14043863609                                        SMSO
4725   01/19/16   22:20:50   17607996150    14043863609                                        SMST
4726   01/20/16   14:18:01   14074668294    14043863609                                        SMST
4727   01/20/16   14:35:31   1111301000     14043863609                                        SMST
4728   01/20/16   14:35:31   1111301000     14043863609                                        SMST
4729   01/20/16   14:35:31   17607996150    14043863609                                        SMSO
4730   01/20/16   14:35:31   17607996150    14043863609                      310410755704353   SMST
4731   01/20/16   15:20:13   19493555667    14043863609                                        SMSO
4732   01/20/16   15:20:13   19493555667    14043863609                                        SMST
4733   01/20/16   15:30:53   14043863609    14074668294                                        SMSO
4734   01/20/16   17:56:25   19493555667    14043863609                                        SMSO
4735   01/20/16   17:56:25   19493555667    14043863609                                        SMST
4736   01/20/16   18:12:05   14043863609    19493555667                                        SMSO




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2986012                                                            (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:09
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating         IMEI              IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
4737   01/20/16   18:12:05   14043863609    19493555667                                           SMST
4738   01/20/16   18:43:48   19493555667    14043863609                                           SMSO
4739   01/20/16   18:43:49   19493555667    14043863609                                           SMST
4740   01/20/16   18:45:47   14043863609    19493555667                                           SMSO
4741   01/20/16   18:45:47   14043863609    19493555667                                           SMST
4742   01/20/16   22:05:09   19802412129    14043863609                                           SMST
4743   01/20/16   22:05:09   19802412129    14043863609                                           SMST
4744   01/20/16   22:05:59   14043863609    19802412129                                           SMSO
4745   01/20/16   22:11:36   17607996150    14043863609                                           SMSO
4746   01/20/16   22:11:36   17607996150    14043863609                                           SMST
4747   01/20/16   23:16:37   14043863609    14074668294                                           SMSO
4748   01/20/16   23:34:04   14074668294    14043863609                                           SMST
4749   01/21/16   00:37:54   19802412129    14043863609                                           SMST
4750   01/21/16   00:43:19   14043863609    19802412129                                           SMSO
4751   01/21/16   16:34:23   19802412129    14043863609                                           SMSO
4752   01/21/16   16:34:23   19802412129    14043863609                         310410755704353   SMST
4753   01/21/16   16:34:24   1111301000     14043863609                                           SMST
4754   01/21/16   16:34:24   1111301000     14043863609                                           SMST
4755   01/21/16   16:53:12   14043863609    19802412129                                           SMSO
4756   01/21/16   17:14:47   17046742885    14043863609                                           SMST
4757   01/21/16   17:24:35   14043863609    17046742885                                           SMSO
4758   01/21/16   17:25:33   14043863609    17046742885                                           SMSO
4759   01/21/16   17:26:02   14043863609    17046742885                                           SMSO
4760   01/21/16   23:02:09   1111301000     14043863609                         310410755704353   SMST
4761   01/21/16   23:02:09   1111301000     14043863609                         310410755704353   SMST
4762   01/21/16   23:02:09   15862191066    14043863609                                           SMSO
4763   01/21/16   23:02:09   15862191066    14043863609                         310410755704353   SMST
4764   01/21/16   23:02:13                  14043863609                         310410755704353   SMST
4765   01/21/16   23:10:14   1111301000     14043863609      3544110679565711   310410755704353   SMST             [197532687:771612:-80.917355:35.416816:340:-1.0]
                                                                   APPLE
                                                                  IPHONE6
4766   01/22/16   22:19:50   14043863609    14088922316                                           SMSO
4767   01/22/16   22:20:38   14088922316    14043863609                                           SMST
4768   01/23/16   02:42:31   17602188583    14043863609                         310410755704353   SMST
4769   01/23/16   02:42:32   17602188583    14043863609                                           SMST




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2986012                                                            (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:09
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating         IMEI              IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
4770   01/23/16   02:42:33 17602188583      14043863609      3544110679565711   310410755704353   SMST             [197591652:771842:-80.917351:35.416771::-1.0]
                                                                   APPLE
                                                                  IPHONE6
4771   01/23/16   04:42:13   14043863609    15862191066                         310410755704353   SMSO
4772   01/23/16   04:42:13   14043863609    15862191066                                           SMST
4773   01/23/16   13:30:54   14074668294    14043863609                                           SMST
4774   01/23/16   20:34:16   12489306268    14043863609                                           SMSO
4775   01/23/16   20:34:16   12489306268    14043863609                         310410755704353   SMST
4776   01/23/16   20:34:17   1111301000     14043863609                                           SMST
4777   01/23/16   20:34:17   1111301000     14043863609                                           SMST
4778   01/23/16   21:03:27   14043863609    12489306268                                           SMSO
4779   01/23/16   21:04:15   12489306268    14043863609                                           SMST
4780   01/25/16   14:39:14   15864842199    14043863609                                           SMST
4781   01/25/16   14:39:39   14043863609    15864842199                                           SMSO
4782   01/25/16   18:51:12   19493555667    14043863609                                           SMSO
4783   01/25/16   18:51:12   19493555667    14043863609                         310410755704353   SMST
4784   01/25/16   18:51:13   1111301000     14043863609                                           SMST
4785   01/25/16   18:51:13   1111301000     14043863609                                           SMST
4786   01/25/16   18:51:24   19493555667    14043863609                                           SMSO
4787   01/25/16   18:51:24   19493555667    14043863609                                           SMST
4788   01/25/16   18:57:22   14043863609    19493555667                                           SMSO
4789   01/25/16   18:57:22   14043863609    19493555667                                           SMST
4790   01/26/16   15:38:46   17046742885    14043863609                                           SMST
4791   01/26/16   22:08:10   14043863609    18185121070                                           SMSO
4792   01/26/16   22:08:11   14043863609    18185121070                                           SMST
4793   01/26/16   22:22:29   12489306268    14043863609                                           SMST
4794   01/27/16   00:54:02   13238442880    14043863609                                           SMST
4795   01/29/16   01:30:23   52477          14043863609                                           SMST
4796   01/29/16   04:14:03   13232157828    14043863609                                           SMSO
4797   01/29/16   04:14:36   13232157828    14043863609                                           SMSO
4798   01/29/16   15:12:38   13232157828    14043863609                                           SMSO
4799   01/29/16   15:12:38   13232157828    14043863609                                           SMSO
4800   01/29/16   15:12:38   13232157828    14043863609                                           SMST
4801   01/29/16   15:13:40   14043863609    13232157828                                           SMSO
4802   01/29/16   15:13:41   14043863609    13232157828                                           SMST
4803   01/29/16   15:14:03   13232157828    14043863609                                           SMSO
4804   01/29/16   15:14:03   13232157828    14043863609                                           SMST



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2986012                                                        (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:09
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating     IMEI               IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
4877   02/11/16   14:37:19   14043863609    17046742885                                        SMSO
4878   02/11/16   14:38:35   17046742885    14043863609                                        SMST
4879   02/11/16   14:39:28   14043863609    17046742885                                        SMSO
4880   02/11/16   14:59:08   17146730369    14043863609                                        SMSO
4881   02/11/16   14:59:08   17146730369    14043863609                      310410755704353   SMST
4882   02/11/16   14:59:09   1111301000     14043863609                                        SMST
4883   02/11/16   14:59:09   1111301000     14043863609                                        SMST
4884   02/11/16   15:06:19   14047977920    14043863609                                        SMST
4885   02/11/16   17:44:00   14047977920    14043863609                                        SMST
4886   02/11/16   17:53:20   14043863609    14047977920                                        SMSO
4887   02/11/16   17:53:51   14047977920    14043863609                                        SMST
4888   02/11/16   23:11:13   17603009438    14043863609                                        SMST
4889   02/11/16   23:36:37   14047977920    14043863609                                        SMST
4890   02/12/16   02:30:52   14043863609    14047977920                                        SMSO
4891   02/12/16   02:31:01   14043863609    14047977920                                        SMSO
4892   02/12/16   02:57:22   14043863609    14047977920                                        SMSO
4893   02/12/16   03:22:31   14043863609    14047977920                                        SMSO
4894   02/12/16   14:04:19   14043863609    14047977920                                        SMSO
4895   02/12/16   17:44:57   1111301000     14043863609                                        SMST
4896   02/12/16   17:44:57   1111301000     14043863609                                        SMST
4897   02/12/16   17:44:57   18185121224    14043863609                                        SMSO
4898   02/12/16   17:44:57   18185121224    14043863609                      310410755704353   SMST
4899   02/13/16   06:38:27   17602188583    14043863609                                        SMSO
4900   02/13/16   06:38:27   17602188583    14043863609                      310410755704353   SMST
4901   02/13/16   06:38:30   1111301000     14043863609                                        SMST
4902   02/13/16   06:38:30   1111301000     14043863609                                        SMST
4903   02/13/16   16:35:46   17046742885    14043863609                                        SMST
4904   02/13/16   16:36:00   14043863609    17046742885                                        SMSO
4905   02/14/16   14:15:50   14074668294    14043863609                                        SMST
4906   02/14/16   15:59:58   12489306268    14043863609                                        SMSO
4907   02/14/16   15:59:58   12489306268    14043863609                      310410755704353   SMST
4908   02/14/16   16:00:00   1111301000     14043863609                                        SMST
4909   02/14/16   16:00:00   1111301000     14043863609                                        SMST
4910   02/14/16   19:23:05   14043863609    12489306268                                        SMSO
4911   02/14/16   19:31:36   12489306268    14043863609                                        SMST
4912   02/14/16   19:45:38   12489306268    14043863609                                        SMST




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2986012                                                            (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:09
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating         IMEI              IMSI         Desc   Feature   Cell Location
        Date        Time         Number           Number
                   (UTC)
4949   02/23/16   01:32:24   14054083937    14043863609                                           SMST
4950   02/23/16   01:33:12   14043863609    14054083937                                           SMSO
4951   02/23/16   01:34:29   14054083937    14043863609                                           SMST
4952   02/23/16   01:35:06   14043863609    14054083937                                           SMSO
4953   02/23/16   01:42:54   14054083937    14043863609                                           SMST
4954   02/23/16   13:55:59   14074668294    14043863609                                           SMST
4955   02/23/16   20:48:51   14047977920    14043863609                                           SMSO
4956   02/23/16   20:48:51   14047977920    14043863609                         310410755704353   SMST
4957   02/23/16   20:48:52   1111301000     14043863609                                           SMST
4958   02/23/16   20:48:52   1111301000     14043863609                                           SMST
4959   02/24/16   17:33:25   14043863609    17046742885                                           SMSO
4960   02/24/16   17:43:24   17046742885    14043863609                                           SMST
4961   02/24/16   17:47:45   14043863609    17046742885                                           SMSO
4962   02/24/16   17:47:45   14043863609    17046742885                                           SMSO
4963   02/25/16   12:00:54   14074668294    14043863609                                           SMST
4964   02/25/16   13:39:25   14043863609    17046742885                                           SMSO
4965   02/25/16   13:52:53   17046742885    14043863609                                           SMST
4966   02/25/16   13:53:24   14043863609    17046742885                                           SMSO
4967   02/26/16   17:30:39   18186323018    14043863609      3544110679565711   310410755704353   SMST             [197376785:771003:-80.873253:35.46241:270:-1.0]
                                                                   APPLE
                                                                  IPHONE6
4968   02/26/16   19:05:28   14043863609    18186323018                                           SMSO
4969   02/26/16   19:05:29   14043863609    18186323018                                           SMSO
4970   02/26/16   19:05:29   14043863609    18186323018                                           SMSO
4971   02/26/16   21:51:34   18186323018    14043863609                                           SMST
4972   02/26/16   21:51:42   18186323018    14043863609                                           SMST
4973   02/26/16   21:52:16   18186323018    14043863609      3544110679565711   310410755704353   SMST             [197488143:771438:-80.8762833:35.4422417::-1.0]
                                                                   APPLE
                                                                  IPHONE6
4974   02/26/16   21:52:38   18186323018    14043863609                                           SMST
4975   02/27/16   02:03:30   14043863609    12489306268                         310410755704353   SMSO
4976   02/27/16   02:03:30   14043863609    12489306268                                           SMST
4977   02/27/16   02:22:14   12489306268    14043863609                                           SMST
4978   02/28/16   21:13:03   14043863609    12489306268                         310410755704353   SMSO
4979   02/28/16   21:13:03   14043863609    12489306268                                           SMST
4980   02/28/16   21:15:36   12489306268    14043863609                                           SMST
4981   02/28/16   21:15:57   14043863609    12489306268                                           SMSO




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2986012                                                        (with cell location)
06/01/2020                      AT&T has queried for records from 01/01/2015 12:00:00am to 12/31/2016 11:59:59pm
                                AT&T has queried for records using Eastern Time Zone. AT&T's records are stored and provided in
                                UTC.


Run Date:              06/02/2020
Run Time:              06:34:09
SMS Usage For:         (404)386-3609

Item    Conn.      Conn.      Originating      Terminating     IMEI               IMSI         Desc   Feature   Cell Location
         Date      Time          Number           Number
                   (UTC)
5018   03/05/16   14:15:09   7535           14043863609                                        SMST
5019   03/07/16   00:16:48   14043863609    15864842199                                        SMSO
5020   03/07/16   00:17:44   15864842199    14043863609                                        SMST
5021   03/07/16   03:09:52   14043863609    18185121224                      310410755704353   SMSO
5022   03/07/16   03:09:52   14043863609    18185121224                                        SMST
5023   03/07/16   19:35:32   17046742885    14043863609                                        SMST
5024   03/07/16   19:36:08   14043863609    17046742885                                        SMSO
5025   03/07/16   20:09:22   14047977920    14043863609                                        SMST
5026   03/07/16   20:35:23   14043863609    19168250644                                        SMSO
5027   03/07/16   20:37:31   19168250644    14043863609                                        SMST
5028   03/07/16   20:40:38   14043863609    16176506236                                        SMSO
5029   03/08/16   01:43:12   17046742885    14043863609                                        SMST
5030   03/08/16   01:47:27   14043863609    17046742885                                        SMSO
5031   03/08/16   01:47:28   14043863609    17046742885                                        SMSO
5032   03/08/16   01:48:18   17046742885    14043863609                                        SMST
5033   03/08/16   01:48:40   14043863609    17046742885                                        SMSO
5034   03/08/16   01:49:19   17046742885    14043863609                                        SMST
5035   03/08/16   18:06:06   14043863609                                     310410755704353   SMSO
5036   03/08/16   18:06:06   14043863609                                                       MMST
5037   03/08/16   20:00:24   14047977920    14043863609                                        SMST
5038   03/08/16   22:12:08   12489306268    14043863609                                        SMST
5039   03/09/16   13:13:02   14043863609    14047977920                                        SMSO
5040   03/09/16   13:16:14   14043863609    14047977920                                        SMSO
5041   03/09/16   14:24:28   14074668294    14043863609                                        SMST
5042   03/09/16   19:35:57   14043863609    14074668294                                        SMSO
5043   03/09/16   20:27:52   1410100002     14043863609                                        SMST
5044   03/09/16   20:28:59   14043863609    17046742885                                        SMSO
5045   03/09/16   20:30:11   17046742885    14043863609                                        SMST
5046   03/09/16   20:32:38   17046742885    14043863609                                        SMST
5047   03/09/16   20:34:47   14043863609    15864842199                                        SMSO
5048   03/09/16   20:34:47   14043863609    15864842199                                        SMSO
5049   03/09/16   20:36:07   15864842199    14043863609                                        SMST
5050   03/09/16   21:45:36   15864842199    14043863609                                        SMST
5051   03/09/16   21:46:58   14043863609    15864842199                                        SMSO
5052   03/09/16   21:47:39   15864842199    14043863609                                        SMST
5053   03/09/16   21:55:33   15864842199    14043863609                                        SMST




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                                   CERTIFICATE OF SERVICE

           I certify that on November 2, 2020 I electronically filed a copy of the foregoing with the

    Clerk of the Court by using the CM/ECF system which will send a notice of the electronic filing

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